          Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 1 of 161




                         UNITED STATES DISTRICT COURT NORTH DAKOTA
                                      WESTERN DIVISION

    Howard J. Miller, et al.                        ) Civil Action No. 1:20-cv-00132-DMT-CRH
                                                    )
                                                    )
                                                    )
           Plaintiffs,                              )
                                                    )

                    v.                              )
                                                    )
    Juárez Cartel, a/k/a Vicente Carrillo
                                                    )
    Fuentes Organization (a/k/a “CFO”),
                                                    )
    a/k/a La Línea.
                                                    )
                                                    )
           Defendant.                               )

                                        FINDINGS OF FACT
                                     AND CONCLUSIONS OF LAW

                                                  Background

         On November 4, 2019, members of the Juárez Cartel (“Defendant” or “Cartel”) and its

violent armed wing, La Línea (“The Line”), ambushed three women and fourteen children,

murdering six of the children and their mothers in the Sierra Alta in Sonora, Mexico. All of the

individuals who were ambushed were United States citizens at the time of the attacks.

         These calculated assaults occurred “approximately 90 miles”1 south of the United States-

Mexico border between the Mexican states of Sonora and Chihuahua.2 “Cartel assassins killed

Maria Rhonita LeBaron (“Rhonita” and/or “Nita”) and her four children, twelve-year-old [H.M.

Jr.], ten-year-old [K.B.M.], and eight-month-old twins [T.A.M.] and [T.G.M.]”3 Rhonita and her




1
  Testimony of Kenneth Miller, Trial Transcript (“Tr.”) 37:3.
2
  Testimony of Dayer LeBaron, Tr. 80:4-5.
3
  Testimony of Enrique Baeza, Tr. 113:13-24.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 2 of 161




four children were “alive and conscious”4 when their vehicle was “most definitely intentionally

set on fire.”5

        “The Cartel also killed Christina Langford (“Christina”) and Dawna Ray (“Dawna”) and

her two children – eleven-year-old [T.L.] and two-year-old [R.L.]”6 Those injured in the attack

include F.M.J., K.L., D.L., M.L., C.L., J.L., X.L., and B.L.7

        This action has been brought—by the family members, legal guardians of the injured

minors, legal guardians of the surviving minor children and siblings of the victims, and legal

representatives of the estates of the nine victims killed in the November 4, 2019, attacks—under

the civil-damages provision of the Anti-Terrorism Act, 18 U.S.C. § 2333(a).

                                            Procedural History

        On July 23, 2020, the first case (the “Miller” case) arising out of the massacre was filed by

Howard Miller (on his own behalf, on behalf of his wife Rhonita’s estate, on behalf of the estates

of his four children who were murdered, and on behalf of his three surviving minor children),

additional members of the Miller/LeBaron family, Tyler Johnson (on his own behalf, on behalf of

his wife Christina’s estate, and on behalf of his six surviving minor children), additional members

of the Johnson/Langford family, and members of Dawna Ray’s family.8

        On August 25, 2020, the second case (the “Langford” case) arising out of the November 4,

2019 attack was filed asserting claims by David Langford (on his own behalf, on behalf of the

estates of his two children who were murdered, and on behalf of his seven surviving minor children

who were also present during the attack – five of whom sustained gunshot wounds in the attack),




4
  Testimony of Dr. Sebastian Schubl, Tr. 158:17 (emphasis added).
5
  Id. at Tr. 156:9 (emphasis added).
6
  Testimony of Enrique Baeza, Tr. 113:13-24.
7
  Testimony of K.L., Tr. 293:19-25; Testimony of Tyler Johnson, Tr. 372:1-7.
8
  See ECF No. 1 (Complaint in the Miller action).


                                                        2
           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 3 of 161




the estate of Dawna Ray and four adult children of Dawna Ray who assert solatium claims arising

from the attack in which their mother and nine of their siblings were involved.9

           On October 16, 2020, the Court entered an Order consolidating the Miller and Langford

cases.10

           After being served by publication pursuant to this Court’s prior order, the Cartel failed to

serve a responsive pleading within the time period allotted by the Federal Rules of Civil Procedure,

and an Entry of Default was entered in the Miller case on December 7, 2020 (ECF No. 22) and in

the Langford case on December 31, 2020 (ECF No. 25).

           The Court presided over a four-day bench trial that commenced on February 7, 2022,

wherein the Miller and Langford Plaintiffs presented evidence that the Defendant was responsible

for inflicting injury and killing the occupants of the three vehicles. The attacks were conducted to

intimidate and coerce civilians and the government, and the acts took place outside the territorial

boundaries of the United States. Evidence was presented as to the pain, suffering, and damages

suffered by each Plaintiff as a result of the Defendant’s acts.

           Evidence was admitted from 1) Plaintiffs, including survivors of the attacks and family

members of the victims; 2) expert witnesses written reports and some of whom provided live

testimony concerning causes of death, pain and suffering damages, psychological injuries,

economic and pecuniary losses; 3) third-party witnesses including eyewitnesses to the attacks and

behaviors of the Plaintiffs; and 4) the prosecutor overseeing the Mexican Government’s criminal

investigation into the November 4, 2019 attacks. In addition, the Court accepted into evidence

sworn affidavits from Plaintiffs and fact witnesses.

           Plaintiffs submit and propose the following findings of fact and conclusions of law:


9
    See Complaint in the Langford action, Case No. 20-cv-00159.
10
     See ECF No. 17.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 4 of 161




I.      FINDINGS OF FACT

        A. Defendant

     1. The Miller Complaint sets forth the history and violent activities of the Defendant from its

        origins in the 1980s (Miller Compl. at ¶40) to the attack on November 4, 2019. The

        Complaint also includes quotes and citations to indictments and confessions of known

        members of the Defendant Cartel.

     2. The U.S. government in 2000 designated Vicente Carrillo Fuentes as a significant foreign

        narcotics trafficker under the Foreign Narcotics Kingpin Act.11

     3. On June 1, 2004, the Carrillo Fuentes Organization (a/k/a CFO; a/k/a Juárez Cartel) was

        listed as a significant foreign narcotics trafficker under the Foreign Narcotics Kingpin

        Designation Act. 12

     4. On December 15, 2021, the U.S. Department of the Treasury further clarified the scope of

        designations against the Cartel to expressly incorporate an additional alias of the Juárez

        Cartel, “La Línea”.13

     5. “Throughout history we [the Mexican Government] have had several events where La

        Línea has attacked civilians like [in] this case. Public servants, former police, prosecutors,

        former politicians. And … it is their signature or their habit[] to burn vehicles”.14

     6. The Cartel’s actions are intended “to intimidate civilians so that they don’t testify against

        them. And also they intimidate public servants so that they don’t investigate” the Cartel for

        its criminal activities.15


11
   See U.S. Dep’t of the Treasury, Sanctions Pursuant to the Foreign Narcotics Kingpin Designation Act (Last
Updated February 14, 2022), available at: https://home.treasury.gov/system/files/126/narco_sanctions_kingpin.pdf.
12
   Recent OFAC Actions, Department of Treasury, June 1, 2004, Ex. 2.
13
   Dep’t of the Treasury, Office of Foreign Assets Control; Notice of OFAC Sanctions Actions, 86 Fed. Reg. 72,307
(Dec. 21, 2021).
14
   Testimony of Enrique Baeza, Tr. 114:8-12.
15
   Id. at Tr. 114:18-21.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 5 of 161




     7. The Defendant’s objective “is to cause terror in people.”16

        B. The November 4, 2019 Attack

     8. The evidence shows that “100 heavily armed individuals had a meeting on November 3,

        2019, at the ranch belonging to the leader of the criminal organization known as La Línea

        or the Juárez Cartel.”17

     9. “The main objective of this criminal organization was to take back the territory of Agua

        Prieta which at that time belonged to the Sinaloa Cartel.”18

     10. “[A]ll 100 men were divided up into two groups – one group of approximately 60 was led

        by GIL and a second group of approximately 40 was led by Tolteca.”19 “And this group of

        about 40 individuals placed themselves in two strategic points: The first strategic point was

        where the attack against Rhonita and her four minor children occurred, that was the vehicle

        that was later set on fire and burnt; and the other strategic point was whe[re] the attack to

        the other two vehicles occurred.”20 During th[e] planning process, “[t]he order was [given]

        to shoot ... at anyone, be it a civilian, police officer, just anyone.”21

     11. The next day, November 4, Rhonita, Christina, Dawna, and their children created a three-

        car caravan to travel the road from La Mora to their separate destinations.22

     12. Rhonita and four of her children were traveling to Phoenix, Arizona to pick up her husband,

        Howard Miller, at the airport.23 Howard had finished a month of work in the oil fields of




16
   Id. at Tr. 115:11-12.
17
   Id. at, Tr. 106:21-24.
18
   Id. at Tr. 107:22-24.
19
   Mexican Government Apostille 2, Ex. 4, at 000702.
20
   Testimony of Enrique Baeza, Tr. 107:8-18.
21
   Id. at Tr. 108:1-4.
22
   Testimony of Kenneth Miller, Tr. 41:19-42:2.
23
   Id. at Tr. 41:19-20; Testimony of Howard Miller, Tr. 180:21.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 6 of 161




        North Dakota and was traveling to Arizona to meet his wife and their four children to go

        shopping and spend time together before returning to work in North Dakota.24

     13. Christina Langford, with her seven-month-old daughter F.M.J., traveled from Colonia

        LeBaron to La Mora on November 2, 2019 to collect their passports to travel to the United

        States.25 On November 4, 2019, Christina and F.M.J. were returning to Colonia LeBaron.

        She planned to accompany Rhonita LeBaron to the main highway and then head to Colonia

        LeBaron in Chihuahua, Mexico to meet her husband Tyler Johnson and their five other

        children.26 Christina and Tyler planned to leave Colonia LeBaron with their six children

        the following day and begin their family’s permanent move back to North Dakota.27

     14. Dawna Ray also planned to accompany Rhonita to the main highway and then split off to

        attend a family wedding in Colonia LeBaron.28

     15. The caravan of vehicles began traveling from La Mora at approximately 9:30 a.m. on

        November 4, 2019.29

     16. In the first vehicle, a white 2014 Chevrolet Suburban LT30, was Christina Langford and

        her seven-month-old infant F.M.J.31

     17. In the second vehicle, also a white Chevrolet Suburban32, was Dawna Ray and nine of her

        children – D.L., T.L., R.L., K.L., M.L., C.L., X.L., B.L., and J.L.33




24
   Testimony of Howard Miller, Tr. 181:2-9.
25
   Testimony of Tyler Johnson, Tr. 363:5-11.
26
   Testimony of Kenneth Miller, Tr. 41:25 – 42:2.
27
   Testimony of Tyler Johnson, Tr. 365:12-15.
28
   Testimony of Kenneth Miller, Tr. 41:24; Testimony of K.L., Tr. 293:11-12.
29
   Testimony of K.L. Tr. 294:4-6.
30
   Mexican Government Apostille 2, Ex. 4 T_000154.
31
   Testimony of Tyler Johnosn, Tr. 363:21.
32
   Mexican Government Apostille 2, Ex. 4 T_000154.
33
   Testimony of K.L., Tr. 293:23-24


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 7 of 161




     18. In the third car, a black Chevrolet Suburban, was Maria Rhonita LeBaron and four of her

        children – H.M. Jr., K.B.M, T.A.M, and T.G.M.34

     19. Soon after departing, Rhonita’s vehicle broke down.35 Dawna helped get Rhonita and her

        children back to La Mora, but Christina continued driving.36

     20. After dropping Rhonita and the children back at La Mora, Dawna and her children got back

        on the road to continue their journey to Colonia LeBaron.37

     21. Rhonita spoke with Loretta Miller, her mother-in-law, who loaned Rhonita her Suburban

        to continue her journey.38 She also asked her brother-in-law, Andre Miller, to assist her in

        transferring the broken down vehicle back to La Mora.

     22. Rhonita then returned to the broken-down vehicle to collect her belongings. Andre went

        to pick up a trailer and find someone who could help him tow the broken-down vehicle

        back to town.39

     23. Rhonita was driving the vehicle, H.M., Jr. was seated in the front passenger seat, the twins

        T.A.M. and T.G.M. were in the second row of seats, and it appears that K.B.M. was seated

        in the third row of seats in the back of the vehicle.40

        C. Attack on Rhonita LeBaron and her Children

     24. A few minutes up the road, Rhonita’s vehicle came under heavy gunfire from the first hit

        team. For at least five to ten (5-10) minutes,41 assailants fired automatic and belt-fed

        machine gun rounds into Rhonita and her children’s vehicle.42


34
   Id.
35
   Declaration of Andre Miller, Ex. 55, at ¶ 7.
36
   Id. at ¶ 5; Testimony of K.L., Tr. 294:9-12.
37
   Testimony of K.L., Tr. 294:14-16.
38
   Declaration of Andre Miller, Ex. 55, ¶ 8.
39
   Id. at ¶ 11.
40
   Testimony of Kenneth Miller, Tr. 47:24-48:6.
41
   Mexican Government Apostille 2, Ex. 4 T_000186.
42
   See Mexican Government Apostilles 1 and 2, Exhibits 3B, 3C, 3D, 3E, 4B and 4C.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 8 of 161




     25. Specifically, the Mexican Government catalogued 923 spent shell casings43—including

        .223 caliber, 7.62x39 mm, .308 caliber and 50 mm shell casings44—in the vicinity of where

        Rhonita and her children were ambushed.

     26. Casings were found “200 meters from the rear part [of Rhonita’s] vehicle and at the top of

        the hill region”45 with the nearest point being “114.89 meters away.”46 These casings,

        relative to the vehicle, were located “behind and to the left and right.”47

     27. These casings were shot by at least 23 different assault rifles48 and nine (9) of these

        weapons have been linked by the Mexican Government to prior homicides and complex

        assaults in Mexico.49

     28. According to the Mexican Government’s forensic analysis, Rhonita’s vehicle was

        impacted by 321 bullets.50

     29. Dr. Sebastian Schubl, a trauma surgeon, burn fellow, and the Director of Medical

        Operations for the University of California-Irvine Health Administration, testified that he

        was “convinced … all four of the children and Rhonita probably survived the initial

        assault.”51 When asked whether this was more probable than not, Dr. Schubl responded,

        “Absolutely”, and he testified that he held this opinion to a reasonable degree of medical

        certainty.52



43
   Mexican Government Apostille 2, Ex. 4 T_000153.
44
   Id.
45
   Mexican Government Apostille 1, Ex. 3 T_000133.
46
   Mexican Government Apostille 1, Ex. 3 T_000135.
47
   Mexican Government Apostille 1, Ex. 3 T_000221; see Ex. 3 T_000224 for illustrative purposes; Christina Langford
1006 Summary Chart, Ex. 12; Rhonita LeBaron 1006 Summary Chart, Ex. 13; Dawna Langford 1006 Summary Chart,
Ex. 14.
48
   Mexican Government Apostille 2, Ex. 4 T_000039-40, 49-63.
49
   Mexican Government Apostille 2, Ex. 4 T_000063.
50
   Mexican Government Apostille 1, Ex. 3 T_000226-233; Rhonita LeBaron 1006 Summary Chart, Ex. 13_000001-
2.
51
   Testimony of Dr. Schubl, Tr. 154:14-17; see also Expert Report of Dr. Sebastian Schubl, Ex. 25_000023.
52
   Testimony of Dr. Schubl, Tr. 154:18-23.


                                                        8
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 9 of 161




     30. At some point during the attack, H.M., Jr. tried to escape the vehicle. His car door was

        found open, and his legs hung half-inside and half-outside of the passenger door.53

     31. The evidence further bolsters Dr. Schubl’s opinion as it shows that H.M. Jr.’s sister,

        K.B.M.’s remains were found in the rear of the vehicle in the fetal position; a position she

        would not have been able to achieve had she been immediately incapacitated by the

        fusillade of bullets.54

     32. Cartel members proceeded to approach the vehicle and shoot at it from closer proximity as

        evidenced by the bullet casings located near and around the vehicle.55

     33. Mexican authorities created still images of a video taken by the Cartel during the attack

        and transcribed the video56 wherein members of the Cartel could be heard saying:

                                                       “(…)
                                                      Ah no
                                   They already messed it/him up, for real, man
                                      They're gonna finish it/him off, dude
                                              No, man, they stayed
                                                   Look at him.
                                         No, he's not gonna see anything
                                                  (unintelligible)
                                            Shoot him, don’t assume
                                                    Burn it/her
                                                  (unintelligible)
                                         Hey, don’t surround it/him, stop
                                                     OK, OK
                                                  (unintelligible)
                                             This is really fucked up
                                                  (unintelligible)
                                                      Oh, shit


53
   Testimony of Adrian LeBaron-Soto, Tr. 221:4-6; Ex. 25_000012; Declaration of Bathsheba Shalom Tucker, Ex.
37_000007, ¶ 43; Family Photos of Miller Family Remains, Ex. 17_000004,000012-14; Declaration of Andre Miller,
Ex. 55_000003, ¶ 14; Photos of Miller Family Remains taken by Douglas Johnson, Ex. 73_000005-8.
54
   Testimony of Adrian LeBaron-Soto, Tr. 222:11-12; Testimony of Dr. Schubl, Tr. 154:11-12; Declaration of Adriana
Jones, Ex. 46_000005, ¶ 27; Family Photos of Miller Remains, Ex. 17_000003, 6, 7, 15; Family Photos of Miller
Family Remains, taken by Douglas Johnson, Ex. 73_000010-11.
55
   Mexican Government Apostille 2, Ex. 4G; Declaration of Andre Miller, Ex. 55_000003, ¶ 14.
56
   Testimony of Enrique Baeza, Tr. 109:3-8, 110:12-18; Mexican Government Apostille 2, Ex. 4_000535; Ex.
4_000594; Mexican Government Apostille 3, Ex. 5_000035.


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        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 10 of 161




                                               END OF AUDIO…”57

     34. Dr. Schubl offered his analysis of the still images and transcript of the video: “[T]here’s a

        lot of information here that’s really relevant to the case at hand… [Y]ou can see that

        downward angle. You can see the distance to the vehicle. You can see there’s a lot of cactus

        and shrubbery in the way. So while there’s several attackers around the car, it would have

        taken them quite some time to work their way down this steep incline and around this

        greenery to get to where they’re standing. You can also, most importantly see that the

        vehicle is intact. … [D]amaged severely, but it’s not on fire for sure. Several of the

        attackers are standing right next to it. Many of them are carrying weapons; they’re

        surrounding the vehicle, if you will. So this gives [an] understanding of both the time of

        what happened when and also how long this entire attack took.”58

     35. The Cartel proceeded to “most definitely intentionally set [Rhonita’s vehicle] on fire.”59

     36. “[T]here’s three potential ways the car could have been set on fire… [T]here’s the fuel tank

        in the back; there’s the engine in the front. Both of those have combustible elements to

        them and then there’s obviously the third way which is someone intentionally douses the

        vehicle in gasoline or kerosene and lights it on fire.”60

     37. Plaintiffs also provided the expert testimony of Dayer LeBaron, Rhonita’s brother and also

        a certified automotive technician with sufficient qualifications to render an opinion

        regarding the source of the fire to Rhonita’s vehicle. His opinion was based on his years

        of experience in diagnosing and determining the cause of fires to various vehicles. He



57
    Mexican Government Apostille, Ex. 5 T_000035; see also Mexican Government Apostille 2, Ex. 4-G (still
photographs from video).
58
   Testimony of Dr. Schubl, Tr. 155:9-23.
59
   Testimony of Dr. Schubl, Tr. 156:9; Testimony of Enrique Baeza, Tr. 110:4-5 (“it was concluded [by the Mexican
Government] that the vehicle was [] burnt by the assassins.”).
60
   Id. at 156:11-18.


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        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 11 of 161




        performed a visual inspection of the vehicle and the area surrounding the vehicle at the site

        of the attack on November 5, 2019 while the vehicle remained where it had been ambused

        the day before.61

     38. Visual inspection of the engine compartment by Mr. LeBaron revealed “unburnt cardboard

        on the air filter”, the “serpentine belt” wasn’t “completely burnt” and the “AC compressor,

        the alternator, various components of the – that are aluminum similar to the rim[]s of

        vehicle were still intact.”62

     39. Mr. LeBaron concluded that “the fire did not originate from the engine compartment”, to

        a “reasonable degree of technical certainty.”63

     40. Based on his examination under the vehicle where the fuel tank should have been located,

        Mr. LeBaron also testified that while “[t]he fuel tank itself had melted away. … [T]he

        straps [to hold the fuel tank in place] were still intact as if it was holding it [the fuel tank]

        and the tank just melted away. … [T]he body above the fuel tank [also] didn’t receive any

        damage.”64

     41. The video taken by Cartel members also demonstrates that as they approached the vehicle

        following the hail of bullets, the vehicle was not on fire.65

     42. Additionally, “you’re able to hear some voices saying ‘burn it’ and from the evidence

        obtained, it was concluded that the vehicle was later burnt by the assassins.”66 This was

        “not the first time that they [the Defendant] burn[ed] a vehicle because that is a signature

        move from that criminal organization … La Línea.”67


61
   Testimony of Dayer LeBaron, Tr. 83:23-84:4; Declaration of Dayer LeBaron, Ex. 29_000002, ¶¶10, 11.
62
   Id. at Tr. 84:14-15-19.
63
   Id. at Tr. 85:2-6.
64
   Id. at 86:21-24, see also Declaration of Dayer LeBaron, Ex. 29_000003, ¶15.
65
   Id. at Tr. 86:23-87:-2.
66
   Testimony of Enrique Baeza, Tr. 110:3-5.
67
   Id. at Tr. 110:5-10.


                                                      11
           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 12 of 161




       43. Rhonita, H.M. Jr., K.B.M., T.A.M., and T.G.M., “to a reasonable degree of medical

           certainty”, “were all alive and conscious” when their vehicle was intentionally set on fire.68

       44. Dr. Schubl testified that this is “arguably [] the worst way you can die.”69 He testified that

           being just burned alive does not provide a:

                    real summary of what the terror these inhabitants of this car had to deal with
                    on that day. You have to look at it from the start to the finish of the entire
                    assault. So these assailants discharged 900-and-some rounds at the car.
                    Even if there were 20 or 30 of them, they were reloading multiple times and
                    emptying their weapons and reloading again. This stretched on for minutes,
                    many minutes. That … covers the car in bullet holes. The car can’t move
                    any more, the inhabitants are inside. They have total panic. They can’t get
                    out of the car because the attackers are right outside.

                    Then this group decides to wander down this hill, training their weapons at
                    the vehicle, shooting a video, surrounding the car, possibly shooting more.
                    That takes time just to get the 200 meters from the top of this steep incline
                    all the way down to the car. The family’s sitting there. They see these people
                    coming; they’re all carrying weapons. They know what’s going to happen.

                    After they surround the car …[t]hey get on the car. They douse the car….
                    [T]hey actually opened the door and threw the gasoline into the car. But,
                    again, you can’t escape because they’re surrounding your car and they have
                    guns, so stretching on for even longer. Think about as a parent what th[at]
                    feels like when your kids are in the back of this car. They’re hurt; they’re
                    scared. You’re hurt; you’re terrified, and there’s nothing you can do.

                    And then they set the car on fire. You’re talking about extreme heat. The
                    human body, unfortunately, is actually fairly resistant to burns. … [P]atients
                    sometimes [] have 90 or nearly 100 percent of their bodies burnt and they
                    still manage to make to the hospital and some of them still manage to make
                    it through months in the burn ICU and survive. But that doesn’t mean its
                    painless. Certainly not. And in an enclosed space, if you can’t get the person
                    out, it’s even worse because the air becomes super heated and now you’re
                    breathing in fire. So not only are you burning from the outside, you’re
                    burning from the inside. The oxygen gets completely consumed. So not only
                    are you burning to death after being shot, but you’re also suffocating.
                    You’re asphyxiating because there’s no oxygen left in the air. It’s just fire.




68
     Testimony of Dr. Schubl, Tr. 158:13-17; see also Expert Report of Dr. Schubl, Ex. 25_000023.
69
     Id. at. Tr. 158:22.


                                                         12
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 13 of 161




                So your sensation is intact. There’s nothing you can do. You just hear and
                feel what’s going on around you.”70

     45. Dr. Schubl testified that, “if you start when the first bullet was shot until the last person in

        that car took their last breath, that must have been close to an hour, maybe, 45 minutes of

        just total terror. And as they’re sitting in that car burning to death, watching their siblings,

        their family members burn to death, it’s – it must be the most frightening thing that anyone

        has ever experienced.”71

        D. Attack on Christina Langford and her Daughter

     46. “14 kilometers and 700 meters north” of the attack on Rhonita’s vehicle,72 Christina’s

        vehicle was attacked by a separate group of members of the Cartel.

     47. Mexican authorities located 327 spent shell casings73—including .223 caliber and 7.62x39

        mm caliber shell casings74—136-139 meters75 “ahead and to the right”76 of Christina’s

        vehicle.

     48. However, the number of casings shot, as reported by Mexican authorities, does not

        encapsulate the true and total number as family members have reported that they continue,

        to this day, to find spent shell casings on the mountainside.77

     49. Christina’s vehicle was impacted by 41 bullets78 shot from a “leftward, downward, and

        backward”79 angle.




70
   Id. at Tr. 158:23 -160:16 (emphasis added).
71
   Id. at Tr. 160:22-161:3; see also Expert Report of Dr. Schubl Ex. 25_000024.
72
   Mexican Government Apostille 1, Ex. 3 T_000133.
73
   Mexican Government Apostille 2, Ex. 4 T_000155; Christina Langford 1006 Summary Chart, Ex. 12_000001-2.
74
   Mexican Government Apostille 2, Ex. 4 T_000155; Christina Langford 1006 Summary Chart, Ex. 12_000001-2.
75
   Mexican Government Apostille 1, Ex. 3 T_000136; Christina Langford 1006 Summary Chart, Ex. 12_000001-2.
76
   Mexican Government Apostille 1, Ex. 3 T_000220; Christina Langford 1006 Summary Chart, Ex. 12_000001-2.
77
   Testimony of Tyler Johnson, Tr. 374:5-7; Christina Langford 1006 Summary Chart, Exhibit 12_000001-2; Dawna
Ray 1006 Summary Chart, Ex. 13_000001-2; Rhonita LeBaron 1006 Summary Chart, Ex. 14_000001-2.
78
   Mexican Government Apostille 1, Ex. 3 T_000227-28.
79
   Id. at 000215.


                                                     13
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 14 of 161




     50. In spite of the heavy gunfire, Dr. Schubl testified there is “no doubt whatsoever that

        Christina survived th[is] initial hail of bullets, the hundreds of rounds that were discharged

        at her vehicle.”80

     51. At this point, according to Mr. Baeza—the lead Mexican prosecutor—the Defendant could

        tell it was attacking innocent women and children because Christina “stepped out of her

        vehicle with her hands up in the air saying that there [sic] were women and children and

        asking for them not to shoot, but still the assassins shot and killed her.”81

     52. Additionally, Plaintiff Adrian LeBaron-Soto testified that he had walked up to the place

        where the shots were fired, and one could “unmistakabl[y]” tell from the Cartel’s firing

        positions that it was 1) firing upon women and children and 2) could even see Christina’s

        hair color.82

     53. Christina sustained four gunshot wounds.83 One of those shots was “in the right pectoral

        of 2x2cm with exit in posterior face of the back of .5x1cm”84, which ultimately caused her

        death, but the shot was not “immediately lethal.”85

     54. Dr. Schubl testified that Christina “probably laid down or crawled for some minutes after

        that and then was probably conscious for at least 10 or 15 minutes more, if not longer.”86

     55. Dr. Schubl further testified that one must:

                put the timeline together again. It takes a long time to fire that many rounds
                even from a large group; so the terror must have set in instantaneously.
                Compounding that, of course, is the fact that her 7-month-old child is right



80
   Testimony of Dr. Schubl, Tr. 148:8-10; see also Expert Report of Dr. Schubl, Ex. 25_000007.
81
   Testimony of Enrique Baeza, Tr. 112:11-21.
82
   Testimony of Adrian LeBaron-Soto, Tr. 228:16 – 229:3.
83
   Testimony of Dr. Schubl, Tr. 146:20-25; Mexican Government Apostille 1, Ex. 3 T_000009-10.
84
    Mexican Government Apostille 4, Ex. 70 T_000010. See also Expert Report of Dr. Schubl, Ex. 25_000007
(photograph of Christina’s body at scene).
85
   Testimony of Dr. Schubl, Tr. 148:14; see also Family Photos of Christina Langford Attack Scene, Ex. 20.
86
   Id. at Tr. 148:14-17.


                                                   14
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 15 of 161




                 behind her, subject to the same assault. People when they’re shot, obviously
                 it’s incredibly painful.

                 There’s this concept of the “thousand-yard stare,” sort of this concept of
                 doom[.] … It’s almost instinctive panic that sets in because you know that
                 you’ve been lethally or nearly lethally injured. You’re bleeding internally.
                 Your heart’s racing. You’re emotionally overloaded. You’re terrified and
                 then, of course, that then compounds itself over time as it becomes more
                 and more clear that no one’s coming to help.87

     56. Christina was traveling with her 7-month old baby, F.M.J., at the time.88 Photographic

        evidence demonstrated that the base of her car seat sustained three gunshots.89

     57. F.M.J. survived “but barely… [S]he was [found] strapped into a car seat alone with her

        mother dead outside the car[,] … severely dehydrated”90 with “a tiny drop of blood on the

        top of her head … as if one of the bullets or a piece of plastic from the car seat or something

        where the bullet had whizzed past had nicked the very top of her head.”91

        E. Attack on Dawna Ray and her Children

     58. Shortly after the attack on Christina concluded, Dawna and her children reached the

        location of Christina’s bullet-ridden vehicle. They saw Christina lying prone on the

        ground.92 Dawna sped up to assist Christina, but before she could reach Christina, the

        Cartel began firing at Dawna’s vehicle.93 Dawna panicked, yelling to her children to “duck

        down” and to “get low.”94 K.L., who was holding her two-year old baby brother R.L.,




87
   Id. at Tr. 149:1-18.
88
   Testimony of Tyler Johnson, Tr. 363:21.
89
   Testimony of Tyler Johnson, Tr. 371:11-22, Photo of F.M.J. Car Seat, Taken by Tyler Johnson, Ex. 11; Testimony
of Dr. Schubl, Tr. 149:19-25, 150:1-5;.
90
   Testimony of Dr. Schubl, Tr. 150:7-10.
91
   Testimony of Amelia Sedgwick, Tr. 253:9-13.
92
   Testimony of K.L., Tr. 294:22-24.
93
   Testimony of K.L., Tr. 295:11.
94
   Id. at 295:11-12.


                                                       15
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 16 of 161




        attempted to protect him by pushing him underneath the seat.95 D.L. acted to protect his

        siblings, but he could not save T.L.96

     59. Dawna witnessed her son T.L. die from a gunshot wound to his skull.97 Shortly after,

        Dawna was shot and killed by the Cartel.98

     60. After the shooting stopped, men wearing black camouflage suits and carrying guns walked

        down the mountain towards the surviving children—K.L., D.L., M.L., C.L., J.L., X.L., and

        B.L.99 The men opened the vehicle door and pointed a gun at K.L.100 While staring down

        the barrel of a gun, K.L. thought, “this is it.”101 The men ordered the children to exit the

        vehicle despite the fact that many of the children had suffered grievous bullet wounds.102

        A bullet had ripped through K.L.’s foot.103 M.L. suffered a bullet wound to the forearm,

        causing her to lose control of her fingers.104 C.L. suffered a gaping gunshot wound to his

        jaw, exposing the bone, and multiple gunshot wounds in his legs.105 X.L. suffered a large

        exit wound on his shoulder, fracturing his shoulder and exposing muscle.106 B.L. suffered

        a deep laceration across his chest, exposing his muscle, and a wrist fracture.107

     61. When K.L. began gathering her siblings to exit the vehicle, she realized that R.L. had

        succumbed to his gunshot wounds.108 After the cartel members departed, the seven




95
   Id. at Tr. 294:19-20; Expert Report of Dr. Schubl, Ex. 25_000009.
96
   Testimony of D.L., Tr. 307:12-15.
97
   Testimony of K.L., Tr. 295:21-22; Expert Report of Dr. Schubl, Ex. 25_000009, 000794-95
98
   Id.
99
   Testimony of K.L., Tr. 296:6-12.
100
    Testimony of K.L., Tr. 296:14-15; Testimony of D.L., Tr. 308:15-17
101
    Testimony of K.L., Tr. 296:17-18.
102
    Id. at Tr. 296-97:20-7.
103
    Id. at Tr. 297: 3-4.
104
    Id. at Tr. 297:3-4.
105
    Id. at Tr. 297:3-4; Supplemental Declaration of David Langford, Ex. 72, p. 1-6.
106
    Id.
107
    Id. at Tr. 297:3-4; Supplemental Declaration of David Langford, Ex. 72, p. 7-8, 43.
108
    Id. at Tr. 296:23-25.


                                                      16
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 17 of 161




         surviving children attempted to walk down the mountainous and rugged road to La

         Mora.109

      62. None of the children was wearing jackets, and many of the children were barefoot, but it

         was “really cold”.110 Nor did the children have any food or medical supplies to tend to their

         bleeding wounds.111 The children found only a pillow to help stanch the bleeding from the

         gunshot wound to C.L.’s jaw.112

      63. Despite the gunshot wound to her foot, K.L. carried B.L down the mountain, while D.L.

         carried C.L.113 When X.L. could not walk any farther, K.L. carried both X.L. and B.L.114

         After carrying two siblings down the mountain for 20 minutes, K.L. could not continue.115

         D.L. volunteered to trek the remaining eight miles to La Mora to marshal help from his

         family members.116 As D.L. ran down the road, he was forced to dodge shooters who were

         actively firing at him, slowing his progress.117 D.L. followed a wash down the mountain

         and eventually reached a highway near La Mora where a family member spotted him.118

      64. As the sun set and the temperatures dropped, help had not arrived.119 Fearing D.L. dead,

         K.L. allowed M.L. to walk the remaining distance to La Mora for help.120 M.L. lost her

         way in the dark and was later found walking alone in the desert along an old road to

         Bavispe.121



109
    Id. at Tr. 297:13-15; Testimony of Kenneth Miller, Tr. 44:25-45:2.
110
    Testimony of K.L., Tr. 298:7-10.
111
    Id. at 298-99:24-3, 299:10-13.
112
    Testimony of D.L., Tr. 310:16-18.
113
    Testimony of K.L., Tr. 297:13-15.
114
    Id. at 297-98:25-4.
115
    Id. at 298:1-4.
116
    Testimony of D.L., Tr. 310:24-311:2; Testimony of Kenneth Miller, Tr. 59:6-9.
117
    Testimony of D.L., Tr. 312:23-313:8.
118
    Id. at 313:11-23.
119
    Id. at 298:7-20.
120
    Id. at 298:18-23.
121
    Testimony of Kenneth Miller, Tr. 62:10-24.


                                                       17
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 18 of 161




      65. While the children waited for help, they were terrified that the cartel would return to kill

         them.122 All the children were thirsty and hungry, and B.L. cried for his bottle.123

      66. To rescue the children, family members and David Langford convinced the military to

         escort them to the location of the attacks.124 More than ten hours after the attack, the

         military convoy located the children, and ambulances transported the children to a local

         hospital in Bavispe.125 Realizing the children required medical treatment in the United

         States, the military arranged for helicopter transport to the border.126 Three hours later,

         most of the children had arrived at a hospital in Tucson, Arizona, except K.L. who had

         been separated from her family near the border and transported to a different hospital.127

         K.L. was eventually reunited with her family at the hospital in Tucson.128

      67. At the hospital, C.L.’s injuries required seven surgeries to address the reconstruction of his

         jaw, the puncture wound on his left leg, the puncture wound on his right chest, the puncture

         wound on his right forearm, and the 6 x 8 centimeter wound on his right leg.129 C.L.

         remained at the hospital for approximately two months to allow his wounds to heal.130 If

         C.L.’s missing jawbone regrows, C.L. may undergo a future surgery to replace the teeth he

         lost from the gunshot wound.131 Even after his release, C.L. used a wheelchair and attended

         physical therapy to regain his ability to walk, albeit with a limp.132




122
    Testimony of K.L., Tr. 299:16-17.
123
    Id. at Tr. 299:1-2.
124
    Testimony of David Langford, Tr. 332-33:16-5.
125
    Id. at Tr. 334:9-23; 338:25-339:14.
126
    Id. at Tr. 339:14-22.
127
    Id. at Tr. 341:15-342:21.
128
    Id. at Tr. 342: 11-12.
129
    Id. at Tr. 343-44:22-25; Declaration of C.L., Ex. 64; Supplemental Declaration of David Langford, Ex. 72 at ¶70.
130
    Id. at Tr. 347:6-9.
131
    Id. at Tr. 347:10-15.
132
    Id. at Tr. 349:23-25; Declaration of C.L., Ex. 64.


                                                        18
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 19 of 161




      68. X.L. underwent surgery to close the two-inch diameter wound on his left shoulder.133

      69. When B.L. arrived to the hospital, he was diagnosed with anemia due to acute blood loss.134

         To address his bleeding, B.L. received sutures to close the six-centimeter laceration across

         his chest and treatment for his fractured wrist.135

      70. Doctors cleaned and bandaged K.L.’s and M.L.’s gunshot wounds, which have improved

         over time.136

II.      CONCLUSIONS OF LAW

         A. The Court Has Jurisdiction Over Defendants and Claims

      71. The entry of a default judgment is “committed to a district court’s discretion.”137 While

         the Eighth Circuit has determined that “there is a ‘judicial preference for adjudication on

         the merits,’” here the grounds for default are not in doubt.138

      72. As part of the analysis, “a district court has an affirmative duty to assure itself of

         jurisdiction over the case and the defendants” prior to entering a default judgment.139

         Nevertheless, “upon default, the factual allegations of a complaint (except those relating to

         the amount of damages) are taken as true.”140




133
    Id. at Tr. 346:4-18; Supplemental Declaration of David Langford, Ex. 72, p. 211.
134
    Supplemental Declaration of David Langford, Ex. 72, at 29.
135
    Testimony of David Langford, Tr. 346:21-24; Supplemental Declaration of David Langford, Ex. 72, at 26.
136
    Id. at Tr. 345:1-23; Supplemental Declaration of David Langford, Ex. 72, at 147, 158.
137
    Nuevos Destinos, LLC v. Peck, Case No. 3:19-cv-00045, 2020 U.S. Dist. LEXIS 207509, at *2 (D.N.D. Mar. 10,
2020), citing United States ex. rel. Time Equip. Rental & Sales, Inc. v. Harre, 983 F.2d 128, 130 (8th Cir. 1993).
138
    See Belcourt Pub. Sch. Dist. v. Herman, 786 F.3d 653, 661 (8th Cir. 2015), quoting Johnson v. Dayton Electric
Mfg. Co., 140 F.3d 781, 784 (8th Cir. 1998); see also Briarpatch Ltd., L.P. v. Geisler Roberdeau, Inc., 513 F. Supp.
2d 1, 3 (S.D.N.Y. 2007) (quoted in Belcourt for the principle that one of the factors to be considered in entering a
default judgment includes “whether the grounds for default are clearly established or are in doubt”).
139
    Nuevos Destinos, 2020 U.S. Dist. LEXIS 207509, at *2.
140
    Murray v. Lene, 595 F.3d 868, 871 (8th Cir. 2010).


                                                        19
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 20 of 161




      73. “In evaluating plaintiffs’ proofs, a court may accept as true plaintiffs’ uncontroverted

         evidence, which may take the form of sworn affidavits or prior transcripts. Such evidence

         may also include judicial notice of the evidence.”141

             1. Personal Jurisdiction and Venue

      74. The procedural requirement of service of a summons must be satisfied before a federal

         court may exercise personal jurisdiction over a defendant.142

      75. The ATA provides that service of process may be effected “in any district where the

         defendant resides, is found, or has an agent.”143 Given that the Defendant does not reside

         in any district within the United States, the Miller Plaintiffs sought leave to serve Defendant

         by publication under Fed. R. Civ. P. 4(f)(3).144 The Langford Plaintiffs subsequently also

         moved for leave to serve by publication.145

      76. “[T]he personal jurisdiction issue in this case is not novel; several courts have faced similar

         facts.   These courts have held that the Due Process Clause’s ‘minimum contacts’

         requirement for personal jurisdiction is met when terrorists ‘engage[] in unabashedly

         malignant actions directed at [and] felt in’ the forum.”146

      77. The court in Morris v. Khadr held that Fed. R. Civ. P. 4(k)(2) “establishes the court’s

         jurisdiction.”147 Rule 4(k)(2) states:

                  If the exercise of jurisdiction is consistent with the Constitution and laws of
                  the United States, serving a summons or filing a waiver of service is also
                  effective, with respect to claims arising under federal law, to establish


141
    Flanagan v. Islamic Republic of Iran, 87 F.Supp.3d 93, 115 (D.D.C. 2015) (internal citation and quotations
omitted).
142
    Omni Capital Int’l Ltd. V. Rudolf Wolff & Co., Ltd., 484 U.S. 97, 104 (1987).
143
    18 U.S.C. § 2334(a).
144
    See ECF No. 11.
145
    See ECF No. 18.
146
    Morris v. Khadr, 415 F. Supp. 2d 1323, 1334 (D. Utah 2006); see also Mwani v. Bin Laden, 417 F.3d 1, 12-13
(D.C. Cir. 2005).
147
    Morris, 415 F. Supp. 2d at 1334.


                                                     20
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 21 of 161




                 personal jurisdiction over the person of any defendant who is not subject to
                 the jurisdiction of the courts of general jurisdiction of any state.148

      78. The D.C. Circuit in Mwani interpreted Rule 4(k)(2) to “permit[] a federal court to exercise

         personal jurisdiction over a defendant (1) for a claim arising under federal law, (2) where

         a summons has been served, (3) if the defendant is not subject to the jurisdiction of any

         single state court, (4) provided that the exercise of federal jurisdiction is consistent with

         the Constitution (and laws) of the United States.”149

      79. As in this case, the court in Morris determined that in a case arising under the ATA where

         service by publication was authorized and completed under Fed. R. Civ. P. 4(f), then the

         first two prongs in the Mwani analysis of Rule 4(k)(2) have been satisfied.150 Like the

         defendant in Morris, the Defendant here is not subject to the jurisdiction of any single state

         court.151 The Rule allows a court to exercise personal jurisdiction over a defendant with

         sufficient contacts with the United States generally but lacks contacts with any one state.152

         For the Rule to apply, there must be a federal claim, personal jurisdiction must not exist

         over the defendant in any state, and the defendant must have sufficient contacts with the

         United States as a whole so that the exercise of jurisdiction does not violate Fifth

         Amendment due process.153

      80. The question of personal jurisdiction then turns upon whether the exercise of personal

         jurisdiction in these circumstances meets the requirement that the Defendant has sufficient




148
    Fed. R. Civ. P. 4(k)(2).
149
    Mwani, 417 F.3d at 10.
150
    See Morris, 415 F. Supp. 2d at 1335.
151
    See ECF No. 11 at 2 (“The Juárez Cartel has no known address and operates as a clandestine criminal organization
in and around Chihuahua, Mexico”).
152
    F.R.C.P. 4(k)(2) (advisory committee’s note).
153
    Nuevo Destinos, LLC, 2019 U.S. Dist. LEXIS 207313 at *25.


                                                        21
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 22 of 161




         contacts with the United States as a whole to justify the exercise of personal jurisdiction

         under the Due Process Clause of the Fifth Amendment.154

      81. Here, this Court has “a ‘manifest interest’ in providing its residents with a convenient

         forum for redressing injuries inflicted by out-of-state actors.”155

      82. “Because injury in the United States undeniably is a foreseeable effect of a terrorist attack

         purposefully directed at this country’s citizens, terrorism inherently is the sort of ‘conduct

         and connection with’ the United States that should cause a foreign terrorist to ‘reasonably

         anticipate being haled into court’ here.”156

      83. With regard to the instant case, numerous Plaintiffs herein reside in North Dakota, or were

         residing in North Dakota at the time of the massacre, causing the impact of the terrorist

         attack not only to be felt in the United States as a whole, but in North Dakota specifically.157

         For example:

             a. Howard Miller, the husband of Rhonita, currently resides in Williston, North

                 Dakota with his children T.M., A.M., and Z.M.158 He also was working in North

                 Dakota at the time of the attack.159

             b. Estates have been opened in North Dakota for the Estates of Rhonita LeBaron,

                 H.M. Jr., K.B.M., T.G.M., and T.A.M.160               Howard was appointed Personal

                 Representative of all of the estates.161




154
    See Id.
155
    Burger King v. Rudzewicz, 471 U.S. 462, 473 (1985).
156
    Morris, 415 F. Supp. 2d at 1336, quoting World-Wide Volkswagen Corp v. Woodson, 444 U.S. 286, 297 (1980).
157
    See ECF No. 1 at ¶¶ 1, 2, 4-6, 10, 19, 22-27, 29-32.
158
    Testimony of Howard Miller, Tr. 161:25-162:1
159
    Id. at Tr. 180:19-181:4
160
    Declaration of Howard Miller, Ex. 30_000023-27.
161
    Id.


                                                     22
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 23 of 161




             c. Tyler Johnson, the husband of Christina, was preparing to move his entire family

                  to North Dakota at the time of the attack.162 At the time of filing, Tyler and his

                  children F.M.J., C.C.J., J.T.J., T.E.J., H.J.J, and E.D.J. all resided in North

                  Dakota.163

             d.   An estate has also been opened in North Dakota for the Estate of Christina

                  Langford.164 Tyler Johnson was appointed Personal Representative of her estate.165

             e. Additionally, at the time of filing the complaint, Isaac Langford, E.L., Serina

                  Langford and Elizabeth Langford resided in North Dakota.166

             f. Ruthila LeBaron, a sibling of Rhonita, is a resident of North Dakota.167

             g. Estates have been opened for Dawna, T.L., and R.L. in North Dakota.168 Crystal

                  Langford is the Personal Representative of Dawna’s estate, and David Langford is

                  the Personal Representative of T.L.’s and R.L.’s estates.169

             h. Amber Ray, Dawna’s sister, splits her time between Mexico and North Dakota

                  because her husband has worked in Fargo, Williston, Grand Forks, and

                  Dickinson.170

      84. The instant action involves claims arising under federal law and the Juárez Cartel is not

         subject to general jurisdiction of any one state.             As such, Rule 4(k)(2) allows the

         aggregation of nationwide contacts to allow for service of process because the Plaintiffs’




162
    Testimony of Tyler Johnson, Tr. 362:3-14.
163
    Miller Compl. ¶¶ 19, 22-27.
164
    Declaration of Tyler Johnson, Ex. 31_000016.
165
    Id.
166
    Miller Compl. ¶¶ 29-32; Declaration of Isaac Langford, Ex. 35, ¶ 2.
167
    Declaration of Ruthila LeBaron, Ex. 44_000001, ¶ 2.
168
    Supplemental Declaration of David Langford, Ex. 72, at 18-21; ECF No. 40, Ex. 9.
169
    Id.
170
    Declaration of Amber Ray, Ex. 54_000001, ¶ 2.


                                                       23
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 24 of 161




         claims arise under federal law and the assertion of personal jurisdiction by this Court over

         the Defendant comports with the Due Process Clause of the Fifth Amendment.

      85. Based on Plaintiffs’ representations, this Court granted Plaintiffs’ motion for leave to serve

         by publication finding “there is good cause to authorize service by publication given the

         particular circumstances in this case.”171

      86. Plaintiffs served the Defendant by publication in Mexico, serving the Defendant in the

         country where it operates.172

      87. Proof of service by publication was provided to the Court in both cases.173

      88. On motion, the Clerk of the Court entered defaults in each case.174

      89. As set forth above, numerous Plaintiffs reside and work in North Dakota. The venue

         provision of the ATA provides:

                 Any civil action under section 2333 of this title against any person may be
                 instituted in the district court of the United States for any district where any
                 plaintiff resides or where any defendant resides or is served, or has an agent.
                 Process in such a civil action may be served in any district where the
                 defendant resides, is found, or has an agent.175

         Therefore, the United States District Court for the District of North Dakota serves as a

         proper venue for this action.

             2. Subject Matter Jurisdiction

      90. Plaintiffs’ claims arise under both federal law and state law, so subject matter jurisdiction

         is asserted under 28 U.S.C. §§ 1331 (federal-question jurisdiction) and 1367 (supplemental

         jurisdiction). Pursuant to 18 U.S.C. § 2338, the district courts of the United States have




171
    See ECF No. 14 at 2-3 (Miller case); ECF No. 19 (Langford case).
172
    See ECF No. 20 (Miller case); ECF No. 24 (Langford case).
173
    See Id.
174
    See ECF No. 22 (Miller case); ECF No. 25 (Langford case).
175
    18 U.S.C. § 2334(a).


                                                       24
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 25 of 161




         exclusive jurisdiction over actions arising under 18 U.S.C. § 2333(a), the civil-damages

         provision of the Antiterrorism Act.

      91. The ATA grants United States nationals a private right of action for injury caused by an

         act of international terrorism.176

      92. Section 2333(a) states:

                 Any national of the United States injured in his or her person, property, or
                 business by reason of an act of international terrorism, or his or her estate,
                 survivors, or heirs, may sure therefor any appropriate district court of the
                 United States and shall recover threefold the damages he or she sustains and
                 the cost of the suit, including attorney’s fees.177

                 a. Standing

      93. To assert standing under 18 U.S.C. § 2333(a), Plaintiffs must demonstrate that they were

         United States nationals at the time of the injury or that they are the “estate, survivor[], or

         heir[]” of a United States national who was injured by reason of an act of international

         terrorism.

      94. All victims murdered or injured during the November 4, 2019, massacre and their estates,

         survivors, and/or heirs in this case, aside from Plaintiff Adrian LeBaron-Soto, are or were

         United States citizens on November 4, 2019.178


176
    See 18 U.S.C. § 2333(a); Kaplan v. Lebanese Canadian Bank, SAL, 999 F.3d 842, 846 (2d Cir. 2021); see also
Morris, 415 F. Supp. 2d at 1327 (“In 18 U.S.C. § 2333, Congress created a cause of action for United States nationals
who were injured by ‘terrorism that occurred in a foreign country’”).
177
    18 U.S.C. § 2333(a).
178
    Passports of Amelia Sedgwick’s Children, Ex. 15: Isaac Langford (15_000001), Serina Langford (15_000002),
E.L. (15_000003), Elizabeth Langford (15_000004); Passports of Karen Woolley’s Children, Ex. 16: Kerah Ray
(16_000001), James Ray (16_000002), Jaremy Ray (16_000003), Jonathan Ray (16_000004), Amber Ray
(16_000005), Justin Ray (16_000006); Declaration of Howard Miller, Ex. 30: Howard Miller (30_000013), H.M. Jr.
(30_000015), K.B.M. (30_000016), T.M. (30_000017), A.M. (30_000018), Z.M. (30_000019), T.A.M. (30_000020),
T.G.M. (30_000021); Declaration of Tyler Johnson, Ex. 31: Tyler Johnson (31_000011), C.J. (31_000018), J.J.
(31_000019), T.J. (31_000020), H.J. (31_000021), E.J. (Ex. 31_000022), F.M.J. (31_000023); Declaration of Amelia
Sedgwick (Ex. 32_000012); Declaration of Adrian LeBaron-Soto (Ex. 36: Maria Rhonita LeBaron (36_000011));
Declaration of Bathsheba Shalom Tucker (Ex. 37_000011); Declaration of Matthew LeBaron (Ex. 38_000006);
Declaration of Laura Corina LeBaron (Ex. 39_000006); Declaration of Miguel LeBaron (Ex. 40_000007); Declaration
of William LeBaron (Ex. 41_000006); Declaration of Javier LeBaron (Ex. 36_000022); Declaration of Dayer
LeBaron (Ex. 43_000007); Declaration of Ruthila LeBaron (Ex. 44_000006); Declaration of Melissa Conklin


                                                        25
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 26 of 161




    95. Although Plaintiff Adrian LeBaron-Soto is not a United States citizen, he also has standing

         under the ATA because “18 U.S.C. § 2333(a) contains no requirement that the survivors

         or heirs of a United States national killed by an act of international terrorism must

         themselves be citizens of the United States” to hold otherwise “would undermine the

         ATA’s broad remedial purpose to grant a remedy to U.S. nationals and their families who

         suffered from injury to an individual or property as a result of international terrorism.”179

                  b. These Attacks Constituted Acts of International Terrorism

    96. For an act to be considered international terrorism, the event must meet the definition

         provided in 18 U.S.C. § 2331(1). The term “international terrorism” is defined as:

             …activities that--

                      (A) involve violent acts or acts dangerous to human life that are a
                      violation of the criminal laws of the United States or of any State, or
                      that would be a criminal violation if committed within the jurisdiction
                      of the United States or of any State;

                      (B) appear to be intended--

                                (i) to intimidate or coerce a civilian population;

                                (ii) to influence the policy of a government by intimidation or
                                coercion; or

                                (iii) to affect the conduct of a government by mass destruction,
                                assassination, or kidnapping; and

             (C) occur primarily outside the territorial jurisdiction of the United States, or transcend
             national boundaries in terms of the means by which they are accomplished, the persons
             they appear intended to intimidate or coerce, or the locale in which their perpetrators
             operate or seek asylum.




(Ex.45_000006); Declaration of Adriana Jones (Ex. 46_000012); Declaration of Rholena Lian Johnson (Ex.
47_000010); Declaration of Karen Woolley (Ex. 48_000008). See also Testimony of Karen Woolley, Tr. 265:15 (all
of Karen Woolley’s children, Dawna Ray included, are United states citizens); Testimony of Amelia Sedgwick, Tr.
235:16 (all of Amelia Sedgwick’s children, Christina Langford included, are United States citizens.
179
    Estate of Henkin v. Kuveyt Turk Katilim Bankasi, A.S., 495 F. Supp. 3d 144, l53 (E.D.N.Y. 2020) (internal citations
and quotations omitted).


                                                         26
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 27 of 161




      97. Plaintiffs “must prove that the defendant’s act not only violated United States law or a State

         law…, but that the act ‘also involve[d] violence of endanger[ed] human life,’ and “[f]urther

         … appear[ed] to be intended to intimidate or coerce a civilian population or to influence

         or affect a government.”180

      98. When considering whether the Defendant “appeared to have intended its activities to

         intimidate or coerce [it] is not a question of the defendant’s subjective intent but rather a

         question of what its intent objectively appeared to be.”181

                      (1) Violation of the Criminal Laws of the U.S. or of any State

      99. The murders of Christina, Rhonita, Dawna, T.L., R.L., H.M. Jr., K.B.M., T.A.M., and

         T.G.M violate the laws of the United States and of North Dakota.182

      100.       The cause of death for Rhonita, H.M. Jr., K.B.M., T.A.M., and T.G.M. was

         “calcination by direct exposure to fire,”183 or, as explained by Dr. Schubl—they “burn[ed]

         to death, watching their sibling, their family members burn to death” in what “must be the

         most frightening thing that anyone has ever experienced.”184

      101.       Christina’s cause of death was “death caused by wounds from projectiles fired by

         firearms,”185 or, in layman terms, gunshot wounds.

      102.       F.M.J. was also injured in the attack.186 She was present, witnessed the attack, was

         within the zone of danger of the attack, and has suffered emotional injury as a result of the

         attack.187


180
    See Weiss v. Nat’l Westminster Bank, 993 F.3d 144, 160-61 (2d Cir. 2021), quoting Linde v. Arab Bank, PLC, 882
F.3d 314, 326 (2d Cir. 2018).
181
    See Id. at 161 (internal citation and quotation omitted) (emphasis added)
182
    See 18 U.S.C. § 1111; N.D.C.C. 12.1-16-01.
183
    Mexican Government Apostille 4, Ex. 70 T_000002, 4, 6, 8, 16.
184
    Testimony of Dr. Schubl, Tr. 160:25 – 161:3.
185
    Mexican Government Apostille 4, Ex. 70 T_000010.
186
    See Testimoy of Dr. Schubl, Tr. 150:7-10; Testimony of Amelia Sedgwick, Tr. 253:9-13.
187
    Id.; see also Testimony of Dr. Donna Schuurman, Tr. 479:12-480:11.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 28 of 161




      103.       The Cartel engaged in conduct which, in fact, constitutes a substantial step toward

         the murder of F.M.J., K.L. D.L., M.L., C.L., J.L., X.L., and B.L. in violation of the laws of

         the United States and North Dakota.188

      104.       The three attacks violate the laws of the United States and of North Dakota, as well

         as endangered human life.

                     (2) Appears to be Intended to Intimidate, Coerce, Influence, or Affect

      105.       “Whether a defendant ‘appear[ed]’ to have intended its activities to intimidate or

         coerce is not a question of the defendant’s subjective intent but rather a question of what

         its intent objectively appeared to be.”189

      106.       The history of Defendant set forth in the Miller Complaint demonstrates the

         objective intentions of the Defendant.190 The Defendant has engaged in decades-long

         attacks to intimidate civilians and government personnel.               The violent attacks have

         included mass killings.191 Often, Defendant couples its murders with grotesque acts of

         violence such as decapitation and mutilation.192 The Cartel has “bombed police and

         military targets, kidnapped and assassinated political figures, journalists, criminal justice

         advocates, religious figures, doctors.”193 “In many instances, they have placed corpses in

         public places, hanging them from bridges and buildings and displaying them in theatrical

         poses.”194 The Cartel also burns vehicles after assassinations.195




188
    See 18 U.S.C. § 1113; N.D.C.C. 12.1-06-01.
189
    Weiss, 993 F.3d at 161.
190
    See ECF No. 1 at ¶¶51-78.
191
    Miller Compl. ¶60, citing, H Campbell and T Hansen, “Is Narco-Violence in Mexico Terrorism?” 33, No. 2
Bulletin of Latin Am Research, 158, 159 (2014).
192
    Id.
193
    Id.
194
    Id.
195
    Id.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 29 of 161




      107.        The Miller Complaint also sets forth examples of particular attacks carried out by

         Defendant against U.S. and Mexican citizens which fit these descriptions and patterns.196

      108.        These acts have:

                  Political ends rather than simply an individual expression of
                  psychopathology: it is planned and organized, not simply
                  spontaneous and random; it is revenge and retribution-oriented act
                  of violence that responds to perceived social inequality, trauma,
                  abuse, marginalisation, frustration and humiliation; it is dramatic
                  and spectacular and designed to seek publicity, renown, celebrity,
                  recognition, and reaction; and it is violence committed primarily by
                  young males, many of whom are poor and socially deprived
                  (although those ordering narco-terrorism do not necessarily share
                  those characteristics); it is violence that transforms society and
                  instills fear, chaos, alarmism and governmental response.197


      109.        And throughout Mexican history there have been “several events where La Línea

         has attacked civilians like this case. Public servants, former police, prosecutors, former

         politicians.”198

      110.        These attacks against innocent civilians and public officials and prosecutors and

         former police officers are objectively intended to coerce or intimidate civilians and

         government officials from acting.199

      111.        “La Línea’s intention is to intimidate civilians so that they don’t testify against

         them. And also they intimidate public servants so that they don’t investigate them….”200


196
    See, Miller Compl. ¶63-78.
197
    Miller Compl. ¶61, citing H Campbell and T Hansen, “Is Narco-Violence in Mexico Terrorism?” 33, No. 2
Bulletin of Latin Am Research, 158, 159 (2014) at pg. 162.
198
    Testimony of Enrique Baeza, Tr. 114:8-10.
199
    Id. at Tr. 114:14-18.
200
     Id. at Tr. 114:18-20; see also U.S. v. Vicente Carrillo-Fuentes, Case No. 3:97-cr-00665-PRM (W.D. Tex.),
Document 11 (Superseding Indictment), Aug. 16, 2010, at Counts 37-45 (Defendant indicted for “intentionally killed
and counseled, commanded, induced, procured and caused the international killing” of nine separate individuals “with
the intent to prevent the communication” by these individuals “to a law enforcement officer of the United States of
information relating to the commission or possible commission of a federal offense.”; U.S. v. Vicente Carrillo Fuentes,
Case No. 1:09-cr-00522-SJ (E.D.N.Y.), Document 6 (Superseding Indictment), Oct. 2, 2019 (the Juaréz Cartel
“maintained its power in part through the payment of bribes to law enforcement and public officials, and through
numerous acts of violence. [Mr. Carrillo-Fuentes], as a member and leader of the [Juaréz Cartel], employed ‘sicarios,’


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 30 of 161




    112.           In addition, “[b]urning vehicles [such as Rhonita’s] and burning houses down is a

         signature of La Línea’s. The objective is to cause terror in people.”201

    113.           Based on the facts adduced from the evidence provided at trial and significant

         documentation of Defendant’s tactics found in the public record and as set forth in the

         Miller Complaint, the attacks carried out by the Defendant were objectively intended to

         intimidate and coerce the civilian population while also seeking to influence government

         policy.

                      (3) Occurred Primarily Outside the Territorial Jurisdiction of the U.S.

    114.           The November 4, 2019 murder of United States citizens Christina Langford,

         Rhonita LeBaron and her four children, and Dawna Ray and her two children, and

         attempted murders of United States citizens F.M.J. and seven of Dawna’s children occurred

         in the Mexican state of Sonora.202 As documented by the Mexican prosecutorial file, the

         attacks occurred on a road bordering the Mexican states of Sonora and Chihuahua.203

    115.           It is undisputed that the attacks took place outside the territorial jurisdiction of the

         United States.

                   c. By Reason of Act of International Terrorism

    116.           As discussed in detail supra, the November 4, 2019, attack by the Cartel on

         Christina Langford and her daughter, F.M.J.; Rhonita and her four children, H.M. Jr.,




or hitmen, who carried out hundreds of acts of violence, including murders, assaults, kidnappings, assassinations and
acts of torture” at Carrillo-Fuentes’ direction. One of the reasons provided by the Grand Jury for these directions was
to protect “members of the [Juaréz Cartel] from arrest and prosecution by silencing potential witnesses and retaliating
against anyone who provided information or assistance to law enforcement authorities.”).
201
    Id. at Tr. 115:10-12.
202
     Mexican Government Apostille 2, Ex. 4 T_000152-155; see also Mexican Government Apostille 1, Ex. 3
T_000133-37.
203
    Id.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 31 of 161




         K.B.M., T.G.M., and T.A.M.; and Dawna and her nine children was an attack on innocent

         women and children that resulted in the death of three women and six children.204

      117.      “The evidence collected shows that it was members of La Línea criminal

         organization … who carried out these attacks killing these individuals.”205

      118.      The Cartel utilized weapons of mass destruction—.223 caliber, 7.62x39 mm, .308

         caliber and 50 mm rifle ammunition206—during the attacks, in violation of the criminal

         laws pertaining to acts of international terrorism.207

      119.      The Defendant’s “objective was to shoot at anyone who came across th[e] road

         [traveled by Rhonita, Christina, Dawna and their children] be it civilians, assassins from

         an opposing group or police. For example, at Bavispe they shot at the victims then in Agua

         Prieta they killed civilians and several police from that city. Th[is] shows what their

         objective was.”208

      120.      The objective of the Cartel, by burning Rhonita, H.M. Jr., K.B.M. and the twins

         was “to cause terror in people.”209

      121.      The Court finds the affidavits and reports offered by Plaintiffs—Exhibits 25, 26,

         27, 28, and 29—as expert testimony to be admissible pursuant to Fed. R. Evid. 702 and

         703. Each of the proffered witnesses are qualified experts by their knowledge, skill,

         experience, training and/or education on the subject matters of automobile mechanics,

         traumatic and life-threatening injuries, and grief.




204
    Mexican Government Apostille 4, Ex. 70 T.
205
    Testimony of Enrique Baeza, Tr. 113:19-21.
206
    Mexican Government Apostille 2, Ex. 4 T_000153.
207
    18 U.S.C. § 2332(a).
208
    Testimony of Enrique Baeza, Tr. 115:2-6.
209
    Id. at Tr. 115:11-12.


                                                      31
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 32 of 161




                 d. Injured In Person

      122.       The murder of Rhonita, Christina, Dawna and their children, H.M. Jr., K.B.M.,

         T.A.M., T.G.M., T.L. and R.L. and the attempted murder of F.M.J., K.L., D.L., M.L., C.L.,

         J.L., X.L., and B.L. are all the types of injuries to “his or her person” as set forth in 18

         U.S.C. § 2333(a).

      123.       In addition to those who were present during the ambush, courts addressing claims

         under the ATA have almost uniformly allowed “solatium damages in suits brought under

         the ATA regardless of the availability of such damages under the general tort law of the

         state in which the district court sits” as such damages evince the deterrent intent of the

         ATA as a mechanism in the fight against terrorism.210

      124.       The following paragraphs will outline the relationships of the Plaintiffs to the

         victims of this action:

                     (1) Rhonita LeBaron

      125.       Howard Miller is the surviving husband of Rhonita LeBaron, and the surviving

         father of H.M. Jr., K.B.M, T.G.M., and T.A.M.211

      126.       T.M., A.M., and Z.M. are the surviving children of Rhonita and surviving siblings

         of H.M. Jr., K.B.M., T.G.M. and T.A.M.212

      127.       Adrian LeBaron-Soto and Bathsheba Shalom Tucker (hereinafter “Shalom

         Tucker”) are Rhonita’s surviving father and mother.213




210
    See Rosenberg v. Lashkar-e-Taiba, 2016 U.S. Dist. LEXIS 87724, at *75-*76 (E.D.N.Y. July 5, 2016); see also
Miller v. Arab Bank, PLC, 372 F. Supp. 3d 33, 41 (E.D.N.Y. 2019).
211
    Declaration of Howard Miller, Ex. 30 ¶ 3; Civil Registration of Marriage., Ex. 6.
212
    Declaration of Howard Miller, Ex. 30, ¶ 3; Testimony of Howard Miller, Tr. 174:11-18, 174:2-5, 175:4-22.
213
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 2; Testimony of Adrian LeBaron, Tr.194:15-24; Declaration of
Bathsheba Shalom Tucker, Ex. 37, ¶ 3.


                                                      32
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 33 of 161




      128.       Rholena Lian Johnson, Adriana Jones, Melissa Conklin, William LeBaron, Ruthila

         LeBaron, Daver LeBaron, Miguel LeBaron, Javier LeBaron, Laura Corina LeBaron, and

         Matthew LeBaron are Rhonita’s surving siblings.214

                      (2) Christina Langford

      129.       Tyler Johnson is the surviving husband of Christina Langford, and the surviving

         father of F.M.J.215

      130.       Christina and Tyler have six surviving children together, each of whom have a

         solatium claim arising from the death of Christina—C.J., J.J., T.J., H.J., E.J., F.M.J.216

      131.       Amelia Sedgwick is the surviving mother of Christina Langford.217

      132.       Isaac Langford, Serina Langford, Elizabeth Langford, and E.L., a minor under the

         guardianship of Amelia, are Christina’s surviving siblings.218

                      (3) Dawna Ray

      133.       David Langford and Dawna Ray shared 13 children—Crystal Langford, Brandy

         Spenst, Bryce Langford, Joseph Cole Langford, K.L., D.L., T.L., M.L., C.L., J.L., X.L..

         R.L., and B.L.219

      134.       David Langford is the surviving father of T.L. and R.L. who were killed on

         November 4, 2019 with their mother.




214
    Declaration of Rholena Lian Johnson, Ex. 47, ¶ 3; Declaration of Adriana Jones, Ex. 46, ¶ 2; Testimony of Adriana
Jones, Tr. 496:14-17; Declaration of Melissa Conklin, Ex. 45, ¶ 3; Declaration of William LeBaron, Ex. 41, ¶ 3;
Declaration of Ruthila LeBaron, Ex. 44, ¶ 3;Declaration of Dayer LeBaron, Ex. 43, ¶ 3; Testimony of Dayer LeBaron,
Tr. 71:17-22; Declaration of Miguel LeBaron, Ex. 40, ¶ 3; Declaration of Javier LeBaron, Ex. 42, ¶ 3; Declaration of
Laura Corina LeBaron, Ex. 39, ¶ 3; Declaration of Matthew LeBaron, Ex. 38, ¶ 1.
215
    Declaration of Tyler Johnson, Ex. 31, ¶¶ 3, 10; Testimony of Tyler Johnson, Tr. 354:6-11.
216
    Id. at ¶ 10; Testimony of Tyler Johnson, Tr. 358:15-20.
217
    Declaration of Amelia Sedgwick, Ex. 32, ¶ 4; Testimony of Amelia Sedgwick, Tr. 233:25.
218
    Declaration of Isaac Langford, Ex. 35, ¶ 3; Declaration of Serina Langford, Ex. 34, ¶ 1; Declaration of Elizabeth
Langford, Ex. 33, ¶1; Declaration of Amelia Sedgwick, Ex. 32, ¶¶ 3-4.
219
    Testimony of David Langford, Tr. 322:15-16; Declarations of Joseph Cole Langford, Bryce Langford, Crystal
Langford, Brandy Spenst, K.L., M.L., D.L., C.L. J.L., and David Langford, Exs. 57-66.


                                                        33
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 34 of 161




      135.        K.L., D.L., M.L., C.L., J.L., X.L., and B.L. are the surviving children of Dawna

         Ray and the surviving siblings of T.L. and R.L. who were present in the vehicle at the time

         of the attack on November 4, 2019.

      136.        K.L., M.L., C.L., X.L., and B.L. sustained non-fatal gunshot wounds in various

         degrees of severity in the attack on November 4, 2019.

      137.        Karen Woolley is the surviving mother of Dawna Ray.220 Ms. Woolley is also

         Jonathan Ray’s legal guardian.221

      138.        Jaremy Ray, James Ray, Justin Ray, Jonathan Ray, Kerah Ray, and Amber Ray are

         Dawna’s surviving siblings.222

         B. Damages

             1. Damages under the Antiterrorism Act

      139.        While Plaintiffs’ claims are proceeding under both federal law and state statutory

         and common law, it is important to note that “the ATA incorporates ‘general principles of

         tort law.’ … The basic presumption is that Congress creates federal torts against the

         background of general tort law….”223

      140.        The ATA provides “private parties the right to pursue common tort claims against

         terrorist organizations and those that provide material support or financing to terrorist

         organizations.”224

      141.        In fact, when the ATA was initially enacted in 1991, Senator Grassley stated that

         the ATA “removes the jurisdictional hurdles in the courts confronting victims and it


220
    Declaration of Karen Woolley, Ex. 48, ¶ 5; Testimony of Karen Woolley, Tr. 263:16.
221
    Guardianship Documents of Jonathan Ray, Ex. 23.
222
    Declaration of Jaremy Ray, Ex. 49, ¶ 3; Declaration of James Ray, Ex. 52, ¶ 3; Declaration of Justin Ray, Ex. 51,
¶ 3; Declaration of Jonathan Ray, By and Through Legal Guardian Karen Woolley, Ex. 53, ¶4; Declaration of Kerah
Ray, Ex. 50, ¶ 3; Declaration of Amber Ray, Ex. 54, ¶ 3.
223
    See Linde v. Arab Bank, PLC, 97 F. Supp.3d 287, 336 (E.D.N.Y. 2015).
224
    Weiss v. Nat’l Westminster Bank, PLC, 242 F.R.D. 33, 50 (E.D.N.Y. 2007).


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 35 of 161




         empowers victims with all the weapons available in civil litigation …. The [ATA] accords

         victims of terrorism the remedies of American tort law.”225 This language “suggests that

         Congress intended that the full range of damages should be available to persons entitled to

         bring actions pursuant to §2333(a).”226

      142.        In short, because Plaintiffs have satisfied their burden under the ATA, the state-law

         claims are superfluous as Plaintiffs are not seeking to “double dip” regarding damages in

         this case, as the ATA incorporates (and likely exceeds) the damages mechanisms available

         under state common-law remedies.

      143.        The legislative history underpinning 18 U.S.C. § 2333(a) “in combination with the

         language of the statute itself, evidences an intent by Congress to codify general common

         law tort principles and to extend civil liability for acts of international terrorism to the full

         reaches of traditional tort law.”227

      144.        This legislative history also “evinces a clear congressional intent to deter and

         punish acts of international terrorism” and to “hold[] terrorists accountable ‘where it hurts

         them most: at their lifeline, their funds.’”228

      145.        In Ungar, the Magistrate Judge held that “[t]he deterrent effect of [18 U.S.C. §

         2333] will be maximized if it is interpreted to subject terrorists to the broadest possible

         range of damages” including “pecuniary damages … and also for non-economic damages,

         including loss of companionship, society, and mental anguish experienced by the victim’s

         surviving family members, including his siblings.”229


225
    Litle v. Arab Bank, PLC, 611 F. Supp.2d 233, 245 (E.D.N.Y. 2009), quoting 137 Cong. Rec. S4511 (Apr. 16, 1991).
226
    Estates of Ungar v. Palestinian Authority, 304 F. Supp.2d 232, 265 (D.R.I. 2004).
227
    Boim v. Quranic Literacy Institute, 291 F.3d 1000, 1010 (7th Cir. 2002) (citing various provisions of the legislative
history leading to the enactment of the civil damages provision of the Antiterrorism Act).
228
    Estates of Ungar, 304 F. Supp.2d at 238 (citing additional provisions of the legislative history of 18 U.S.C. § 2333).
229
    Ungar, 304 F. Supp.2d at 267 (fully adopted by the District Judge in Ungar); see also Morris, 415 F. Supp. 2d at
1337; Knox v. Palestine Liberation Organization, 442 F. Supp. 2d 62 (S.D.N.Y. 2006).


                                                           35
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 36 of 161




      146.       Based on this precedent, damages in the ATA context apply not only to those who

         were injured and/or killed, but also to their immediate family members who sustained loss

         of their loved ones as a result of the attack.

      147.       In ATA death cases that have reached a judgment, such as this case, courts have

         measured pecuniary economic loss (including loss of income, loss of parental services,

         etc.) and also non-economic loss including conscious pain and suffering (for the decedent’s

         and survivor’s) and mental pain and anguish (solatium) for the family members of the

         decedent(s) falling within the categories of parents, spouses, children, and siblings. In

         many cases, courts have taken guidance from cases arising under an analogous statute, the

         “terrorism exception” to foreign sovereign immunity codified at 28 U.S.C. § 1605A.

                 a. Estate Damages for Pain and Suffering

      148.       Estate Plaintiffs under the ATA are eligible for damages based on the amount of

         pain and suffering endured before death and the amount of time between injury and

         death.230 The Court may also consider any mental anguish caused by observing injured

         relatives present at the scene.231

      149.       In Ungar, decided in 2004, the court determined that the length of the attack was

         between ten seconds and 30 seconds with the court accepting 30 seconds for purposes of

         establishing damages for conscious pain and suffering where the decedent had lost

         consciousness at least by the end of the attack.232 There, the court looked to values for

         conscious pain and suffering generally in cases arising under the “terrorism exception” to




230
     See Mastrantuono v. United States, 163 F. Supp. 2d 244 (S.D.N.Y.2001); see generally Peterson v. Islamic
Republic of Iran, 515 F. Supp. 2d 25, 51 (D.D.C. 2007).
231
    Ungar, 304 F. Supp. 2d at 270.
232
    Id.


                                                     36
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 37 of 161




         determine an appropriate quantum of damages for the decedent’s conscious pain and

         suffering:

                 The physical injuries suffered by [the decedent] prior to his losing
                 consciousness were severe and caused great pain. In addition, he
                 experienced the mental pain resulting from observing that his wife had been
                 horribly wounded and probably killed while seated next to him and knowing
                 that his young son, lying in the back seat, was in danger of being
                 killed. While this physical and mental agony was of mercifully brief
                 duration, a substantial award for pain and suffering is justified.
                 Accordingly, I recommend an award of $500,000 for pain and suffering to
                 the estate. Cf. Smith v. Islamic Emirate of Afghanistan, 262 F. Supp. 2d 217,
                 No. 01 CIV. 10132(HB), 2003 WL 21027170, at *15 (S.D.N.Y. May 16,
                 2003) (awarding $2.5 million for pain and suffering to estate of plaintiff
                 who realized he was trapped and doomed in the North Tower of World
                 Trade Center and likely experienced a very painful death); Weinstein v.
                 Islamic Republic of Iran, 184 F. Supp. 2d 13, 18, 23 (D.D.C.
                 2002) (awarding $10 million for pain and suffering to estate of bombing
                 victim who survived with severe burns for forty-nine days and who suffered
                 a higher level of pain throughout his stay at the hospital than a patient with
                 his injuries otherwise would have endured because usual doses of pain
                 medication could have lowered his blood pressure and killed him); Elahi v.
                 Islamic Republic of Iran, 124 F. Supp. 2d 97, 113 (D.D.C. 2000) (finding
                 $1 million appropriate compensation for pain and suffering of decedent who
                 apparently struggled with his assassin for thirty seconds before being shot
                 eight times); Higgins v. Islamic Republic of Iran, 2000 U.S. Dist. LEXIS
                 22173, No. 1:99CV00377, 2000 WL 33674311, at *8 (D.D.C. Sept. 21,
                 2000) (awarding $30 million for pain and suffering where decedent was
                 held captive for 529 days in primitive conditions and whose body indicated
                 grievous injuries and barbaric mutilations); Eisenfeld v. Islamic Republic of
                 Iran, 172 F. Supp. 2d 1, 5, 8 (D.D.C. 2000) (concluding that $1 million was
                 appropriate to compensate for “several minutes” of pain and suffering of
                 bombing victim who expired on the scene); Flatow v. Islamic Republic of
                 Iran, 999 F. Supp. 1, 29 (D.D.C. 1998) (finding $1 million appropriate to
                 compensate for three to five hours of pain and suffering of bombing
                 victim).233

      150.       More recent precedent validates this approach to damages for conscious pain and

         suffering.234 In Gates, two U.S. civilian contractors were beheaded by al-Qaeda in Iraq


233
   Id.
234
   See Hirshfeld v. Islamic Rep. of Iran, 330 F. Supp. 3d 107, 145 (D.D.C. 2018) (awarding $1 million in “survival
damages” where the decedent was shot, “was conscious, fearful and suffering for at least a few minutes after he was
shot because he was able to run away from the shooter and into a building and then make it to the stairwell, where he


                                                        37
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 38 of 161




        and “suffered unimaginable mental and physical agony” as “[e]ach man was alive

        throughout a significant portion of the beheading and knew his death was upon him, with

        pain and blood and indescribable suffering.”235 The court proceeded to award, to each

        estate, “compensatory damages for pain and suffering in the amount of $50,000,000.00.”236

                      (1) Rhonita LeBaron

    151.         Rhonita LeBaron was “born” and “made” to be a mother.237 “[F]amily was the

        single most important thing in the world to her”.238 “[S]he was like an angel and her life

        was her family, her husband, and her friends.”239

    152.         On November 4, 2019, she was “so excited to be traveling to Phoenix. She was

        looking forward to seeing Howard …. She was also excited to be able to go shopping for

        the kids”, and, according to her older sister Lian Johnson, “[i]t was kind of cute to see her

        so excited about the trip and reuniting with Howard.”240

    153.         Unfortunately, that excitement turned to “just total terror”241 about forty-five

        minutes to an hour after Rhonita and her children left La Mora.

    154.         As stated supra, Rhonita’s vehicle was impacted by 321242 bullets from the

        approximately 923 shots243 fired by the Defendant from .223 caliber, 7.62x39mm, .308




was later found deceased”); Braun v. Islamic Rep. of Iran, 228 F. Supp. 3d 64, 83 (D.D.C. 2017) (awarding $1 million
where evidence showed decedent “suffered being thrown into the air and an impact that caused her head to become
smashed and her to begin vomiting and that she survived for two hours after the Attack, during which time she was
attended to by medical personnel”).
235
    Gates v. Syrian Arab Republic, 580 F.Supp.2d 53, 72-74 (D.D.C. 2008)
236
    Id. at 74.
237
    Testimony of Adriana Jones, Tr. 503:10-11.
238
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 16
239
    Testimony of Kenneth Miller, Tr. 41:4-5.
240
    Declaration of Rholena Lian Johnson, Ex. 47, ¶ 16.
241
    Testimony of Dr. Schubl, Tr. 160:22-25.
242
    Rhonita LeBaron 1006 Summary Chart, Ex. 14; Mexican Government Apostille 1 Ex. 3 T_000226-000233.
243
    Rhonita LeBaron 1006 Summary Chart, Ex. 14; Mexican Government Apostille 2 Ex. 4 T_000153.


                                                        38
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 39 of 161




         caliber and 50mm long-gun rifles244 from approximately 114 – 200 meters away “from the

         rear part of the vehicle.”245

      155.         Dr. Schubl is “convinced” and therefore, it was his “expert opinion that … Rhonita

         probably survived th[is] initial assault.”246

      156.         The evidence substantiates Dr. Schubl’s opinion as Rhonita’s seat was reclined

         towards the back seat.247 The reclining of her seat was a conscious and deliberate attempt

         by Rhonita to shield herself from the onslaught of bullets and not the result of the fire as

         evidenced by the fact that on pages 48, 50, and 57 of Exhibit 36, the other seats in Rhonita’s

         vehicle are shown in their standard upright-position.

      157.         Dr. Schubl testified, to a reasonable degree of medical certainty, that “if you start

         when the first bullet was shot until the last person in [Rhonita’s] car took their last breath,

         that must have been close to an hour, maybe 45 minutes of just total terror.”248

      158.         “Think about as a parent what that feels like when your kids are in the back of this

         car. They’re hurt; they’re scared. You’re hurt; you’re terrified, and there’s nothing you can

         do.”249

      159.         “Just the emotional impact of both physical pain and knowing your life is likely to

         end; and for the mothers, of course, not being able to protect their children. It’s …

         unimaginable.”250

      160.         “And then they set the car on fire.”251



244
    Rhonita LeBaron 1006 Summary Chart, Ex. 14; Mexican Government Apostille 2, Ex. 4 T_000153.
245
    Rhonita LeBaron 1006 Summary Chart, Ex. 14; Mexican Government Apostille 2, Ex. 4 T_000160.
246
    Testimony of Dr. Schubl, Tr. 154:14-17.
247
    See Declaration of Adrian LeBaron-Soto, Ex. 36_000050, 53; Testimony of Adrian LeBaron-Soto, Tr. 220:12-16.
248
    Testimony of Dr. Schubl, Tr. 160:22-25.
249
    Id. at Tr. 159:23-25.
250
    Testimony of Dr. Schuurman, Tr. 481:6-19.
251
    Testimony of Dr. Schubl, Tr. 160:1.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 40 of 161




      161.        The air became “superheated” and Rhonita, H.M. Jr., K.B.M., T.G.M., and T.A.M.

         were then “breathing in fire.”252 So not only were they “burning from the outside, [they

         were] burning from the inside.”253 Then all the oxygen within the vehicle was completely

         consumed by the fire, so not only were Rhonita, H.M. Jr., K.B.M., T.G.M., and T.A.M.

         “burning to death after being shot, but [they were] also suffocating. [They were]

         asphyxiating because there’s no oxygen left in the air.”254

      162.        Even worse, Dr. Schubl testified, to a reasonable degree of medical certainty, that

         Rhonita, H.M. Jr., K.B.M., T.G.M., and T.A.M..’s sensation—their ability to hear, see,

         smell, feel, perceive and fear—remained intact as they sat in their car “burning to death,

         watching their siblings, their family members burn to death.”255

      163.        The abhorrent amount of pain and suffering Rhonita, H.M. Jr., K.B.M., T.G.M.,

         and T.A.M. experienced—and established to a reasonable degree of medical certainty by

         Dr. Schubl—must have been “the most frightening thing that anyone has ever

         experienced.”256

      164.        Human bodies are resilient. Rhonita would have had full sensation intact during

         the fire. She was able to “hear and feel”257 and “watch[]”258 her family, “the single most

         important thing in the world to her,”259 “burn to death.”260

      165.        “It was, quite obviously and scientifically, a very cruel and inhumane … death.”261



252
    Id. at Tr. 160:9-10.
253
    Id. at Tr. 160:10-11
254
    Id. at Tr. 160:11-14.
255
    Id. at Tr. 160:15-161:2.
256
    Id. at Tr. 161:2-3.
257
    Id. at Tr. 160:16.
258
    Id. at Tr. 161:1.
259
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 16
260
    Testimony of Dr. Schubl, Tr. 161:1-2.
261
    Gates, 580 F.Supp.2d at 73 (internal quotations omitted).


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 41 of 161




      166.        The evidence in this case “is fully satisfactory to prove the pain and suffering

         experienced by” Rhonita LeBaron while she “remained conscious before [she] died.”262

      167.        Given the testimony provided by Dr. Schubl along with eyewitness testimony and

         video evidence recorded by the Defendant Juárez Cartel, the attack in which Rhonita

         LeBaron and four of her children were killed was horrific, heinous, and inhuman. The

         Court is tasked with applying a figure to the pain and suffering that was sustained

         assuming—as Dr. Schubl testified—that it was more likely than not that Rhonita and her

         children survived the hail of bullets that were directed at their vehicle and only perished as

         a result of the intentionally set fire on and in the vehicle. The case whose facts most closely

         match the mental anguish and pain suffered by Rhonita is the Gates case in which two U.S.

         civilian contractors were beheaded by al-Qaeda in Iraq and “suffered unimaginable mental

         and physical agony” as “[e]ach man was alive throughout a significant portion of the

         beheading and knew his death was upon him, with pain and blood and indescribable

         suffering.”263 In that case, the court proceeded to award, to each estate, “compensatory

         damages for pain and suffering in the amount of $50,000,000.00.”264

      168.        While the circumstances surrounding the deaths of Rhonita and her four children

         who were killed appears to rival that of the Gates scenario in terms of the actual horror,

         there are two mitigating factors from the Gates case—the individuals had been held hostage

         for multiple days before their executions, and their executions were broadcast for the whole

         world to see265—that support a downward departure from the Gates pain-and-suffering




262
    Id. at 74.
263
    Gates v. Syrian Arab Republic, 580 F.Supp.2d 53, 72-74 (D.D.C. 2008)
264
    Id. at 74.
265
    Id. at 57-58 (setting out the facts regarding the hostage-taking, the announcement of the murders, and the
broadcast on the Internet of the beheadings).


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 42 of 161




         figures here. The Court applies a 30% downward departure here that places the base value

         of pain-and-suffering damages for Rhonita LeBaron and each of her four children at

         $35,000,000.00. The Court has chosen to apply inflationary calculations to these base

         values from the time that Gates was decided on September 26, 2008 and February 2022.266

         Therefore, this Court awards compensatory damages for pain and suffering in the amount

         of $45,390,000.00 (rounding to the nearest ten thousand) to the Estate of Rhonita LeBaron.

                     (2) H.M. Jr., K.B.M., T.A.M., and T.G.M.

      169.       H.M. Jr. was born on July 12, 2007 (twelve (12) years old on November 4, 2019);

         K.B.M. was born on September 25, 2009 (ten (10) years old on November 4, 2019); and

         the twins T.A.M. and T.G.M. were born on March 13, 2019 (seven (7) months old on

         November 4, 2019).267

      170.       H.M. Jr. “loved to play basketball; he played all day, every day, with [his father]

         and with his cousins. He was a huge Kobe Bryant fan. He also enjoyed playing Fortnite

         with his cousins”268 and he loved “Ramen noodles”.269

      171.       Rhonita was “so proud of the man [H.M. Jr.] had become; he would milk the cows

         before school and always be ready to go before it was time to go.”270 And she was excited

         to be going to Phoenix on November 4, 2019, on “a trip to spoil [H.M. Jr.] and [K.B.M].”271




266
    Inflation from September 2008, when Gates was decided, to February 2022, has risen approximately 29.7%. See
https://www.bls.gov/data/inflation_calculator.htm
267
    Declaration of Howard Miller, Ex. 30, ¶ 10.
268
    Id. at ¶ 45.
269
    Testimony of Howard Miller, Tr. 187:15-18.
270
    Declaration of Adriana Jones, Ex. 46, ¶ 15.
271
    Testimony of Howard Miller, Tr. 180:23:24.


                                                      42
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 43 of 161




      172.       K.B.M. was “a great big sister and liked to help Rhonita with her younger siblings.

         The family nicknamed her ‘Momma [K.B.M.]’ because she was such a natural with kids,

         just like her mom.”272

      173.       K.B.M. was also a “fashionista” and took her “pink purse” with her everywhere.273

      174.       The twins—T.A.M. and T.G.M.—were happy, healthy, non-fussy seven-month-old

         twins.274 “T.G.M. never even cried!”275 “They were both just starting to sit up on their own

         and T.A.M. was beginning to crawl” in November 2019.276

      175.       As stated supra, Rhonita’s vehicle was impacted by 321277 bullets from the

         approximately 923 shots278 fired by the Defendant from approximately 114 – 200 meters

         away “from the rear part of the vehicle.”279

      176.       Dr. Schubl is “convinced” and therefore, it is his “expert opinion that … all four of

         the children and Rhonita probably survived th[is] initial assault.”280

      177.       The evidence substantiates Dr. Schubl’s opinion as H.M. Jr.’s remains were “found

         half-in/half-out of the vehicle. He knew they were in trouble and he was trying to flee.”281

      178.       It appears that K.B.M. “knew of and appreciated the danger she and her family

         w[ere] in” as her remains were “found in the back row, curled up in the fetal position trying

         to hide beneath the seat.”282 She was “so tightly curled up [into the fetal position] that … a




272
    Declaration of Howard Miller, Ex. 30, ¶ 46.
273
    Declartion of Adriana Jones, Ex. 46, ¶ 27.
274
    Declaration of Howard Miller, Ex. 30, ¶ 47.
275
    Id.
276
    Id.
277
    Rhonita LeBaron 1006 Summary Chart, Ex. 14; Ex. 3 T_000226-000233.
278
    Rhonita LeBaron 1006 Summary Chart, Ex. 14; Ex. 4 T_000153.
279
    Rhonita LeBaron 1006 Summary Chart, Ex. 14; Ex. 4 T_000160.
280
    Testimony of Dr. Schubl, Tr. 154:14-17.
281
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 43; see also Declaration of Adrian LeBaron-Soto, Ex.
36_000049, 57-59, 77-79.
282
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 44; see also Ex. 37_000053-55.


                                                       43
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 44 of 161




         little pink piece of her leather purse under her arm[]” was found by her aunts and uncles

         while they prepared her remains for burial.283

      179.       This would not have been possible had H.M. Jr. or K.B.M. “been incapacitated by

         the bullets themselves.”284

      180.       Furthermore, because F.M.J.—who was near the same age as the twins when her

         vehicle was assaulted and and survived the shooting attack, it is Dr. Schubl’s expert opinion

         that “it is more likely [than not] that Rhonita Miller’s infant twins who were also in car

         seats survived the gun shot attacks on their vehicle before the fire was set [, and therefore,]

         it is extremely likely that Rhonita, [H.M. Jr., K.B.M., T.A.M. and T.G.M] were conscious,

         receptive, aware and alive when their vehicle was intentionally set on fire.”285

      181.       Death by fire in a confined space, like an automobile, “arguably is the worst way

         you can die”, but according to Dr. Schubl that is not “a real summary” of the “terror” H.M.

         Jr., K.B.M., T.A.M. and T.G.M. “had to deal with on that day.”286

      182.       One has “to look at it from the start to the finish of the entire assault”287:

             a. The Cartel unleashed a hail of gunfire – approximately 923 bullets.288

             b. This required “reloading multiple times, and emptying their weapons and reloading

                 again. This stretched on for minutes, many minutes.”289

             c. Now the “car can’t move anymore,” H.M. Jr., K.B.M., T.A.M. and T.G.M. are in

                 “total panic” but “can’t get out of the car because the attackers are right outside.”290



283
    Declaration of Adriana Jones, Ex. 46, ¶ 27; see also Testimony of Adriana Jones, Tr. 518:11-18.
284
    Testimony of Dr. Schubl, Tr. 154:12-13.
285
    Expert Report of Dr. Schubl, Ex. 25_000025.
286
    Testimony of Dr. Schubl, Tr. 158:19-24.
287
    Id. at Tr. 158:25-159:1.
288
    Rhonita LeBaron 1006 Summary Chart, Ex. 14; Mexican Government Apostille 2 Ex. 4 T_000153.
289
    Testimony of Dr. Schubl, Tr. 159:3-4.
290
    Id. at Tr. 159:6-8.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 45 of 161




                 We know that H.M. Jr. did not try and flee during this point as there is no mention

                 of anyone trying to flee the scene in the transcription from the video taken by the

                 Cartel.291

             d. H.M. Jr., K.B.M., T.A.M. and T.G.M. could see the Cartel coming down the hill,

                 all the assassins were “carrying weapons”, and they “kn[e]w what’s about to

                 happen”—their family was about to be murdered by the Defendant.292

             e. The Cartel then surrounded the vehicle, and in Dayer LeBaron’s expert opinion,

                 they “douse[d] the car” with gasoline, “actually opened [H.M. Jr.’s] door and threw

                 the gasoline into the car.”293 The amount of fear and anxiety H.M. Jr. and the other

                 children must have endured when the Defendant opened his door and poured

                 gasoline on him is unconscionable.

      183.       Applying the same application of Gates as set forth above for their mother, this

         Court awards compensatory damages for pain and suffering in the amount of

         $45,390,000.00 each to the Estates of H.M. Jr., K.B.M., T.A.M. and T.G.M.

                     (3) Christina Langford

      184.       Christina Marie Langford was born November 23, 1987.294

      185.       She was a “fierce, protective” mother and “wanted her children to learn to be

         obedient and to be responsible and love one another and to know God. [She] [w]anted them

         to be good people. She wanted to teach them that. She homeschooled them and didn’t like

         them watching TV.”295




291
    Mexican Government Apostille 3 Ex. 5 T_000035.
292
    Testimony of Dr. Schubl, Tr. 159:14-15.
293
    Testimony of Dayer LeBaron, Tr. 75:21-22; Testimony of Dr. Schubl, Tr. 159:16-20.
294
    Declaration of Amelia Sedgwick, Ex. 32 ¶ 5.
295
    Testimony of Amelia Sedgwick, Tr. 242:10-14.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 46 of 161




      186.       Christina loved Tyler, her husband, and “no matter what” she was going to be with

         her husband, “always be where he [was]” and always “be there for him.”296 And in

         November 2019, that meant moving to North Dakota “to go start a new life”.297

      187.       Serina Langford, Christina’s sister, “had never in [her] life seen Christina so happy.

         She was so excited to be meeting up with Tyler, the kids and to be moving to North Dakota.

         She was so excited to have their entire family together.”298 The entire family would not,

         and never will be, together again.

      188.       “14 kilometers and 700 meters north”299 of where Rhonita and her children were

         murdered, the Cartel ambushed and murdered Christina.

      189.       As stated supra, Christina’s vehicle was impacted by 41 bullets300 from

         approximately 327 shots301 fired by the Defendant from .223 caliber and 7.62x39 mm long-

         gun rifles302 from approximately 136-139 meters303 “ahead and to the right”304 Christina’s

         vehicle.

      190.       According to Mr. Baeza—the prosecutor in-charge of the Mexican criminal

         investigation/prosecution—Christina “stepped out of her vehicle with her hands up in the

         air saying that there were women and children and asking for [the Cartel] not to shoot, but

         still the assassins shot and killed her.”305




296
    Testimony of Douglas Johnson, Tr. 409:1-3.
297
    Testimony of Tyler Johnson, Tr. 361:24.
298
    Declaration of Serina Langford, Ex. 34, ¶ 12.
299
    Mexican Government Apostille 1, Ex. 3 T_000133.
300
    Mexican Government Apostille 1, Ex. 3 T_000227-28.
301
    Mexican Government Apostille 2, Ex. 4 T_000155.
302
    Id.
303
    Mexican Government Apostille 1, Ex. 3 T_000136.
304
    Mexican Government Apostille 1, Ex. 3 T_000220.
305
    Testimony of Enrique Baeza, Tr. 112:18-23.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 47 of 161




      191.       Christina was shot, outside the vehicle, “just below her left shoulder” exiting

         “underneath her right arm” this “was most definitely the fatal shot that killed her.”306 While

         this was ultimately the fatal shot, it was not the only gunshot wounds Christina sustained

         that morning; she sustained three (3) additional gunshot wounds to her right arm, right and

         left thighs.307

      192.       Dr. Schubl has “no doubt whatsoever that Christina survived the initial hail of

         bullets, the hundreds of rounds that were discharged at her vehicle, the 41 that impacted

         her vehicle.”308

      193.       During this time, it is Dr. Schubl’s expert opinion that, Christina would have had

         and experienced the “thousand yard stare” or “this concept of doom” which is an

         “instinctive panic that sets in because you know that you’ve been lethally or nearly lethally

         injured. You’re bleeding internally. Your heart’s racing. You’re emotionally overloaded.

         You’re terrified.”309

      194.       The terror and panic Christina endured during this period of time was

         “compound[ed]” by the fact that 1) “her 7-month-old child is right behind her, subject to

         the same assault” and because 2) over time it became “more and more clear that no one’s

         coming to help” her and her daughter.310

      195.       It is Dr. Schubl’s expert opinion that the gunshot wound to the chest was not

         “immediately lethal” and that Christina as a result “probably laid down or crawled for some




306
    Testimony of Dr. Schubl, Tr. 146:1-5; see also Ex. 20.
307
    Testimony of Dr. Schubl, Tr. 147:2-5; see also Mexican Government Apostille 4, Ex. 70 T_000009-10.
308
    Testimony of Dr. Schubl, Tr. 148:8-10.
309
    Id. at Tr. 149:10-16.
310
    Id. at Tr. 149:4-5, 17-18.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 48 of 161




         minutes after that and then was probably conscious for at least 10 or 15 more minutes, if

         not longer.”311

      196.        As in Smith, where there was direct evidence of the decedent’s surviving the initial

         crash of the plane into the North Tower on 9/11312, here too there is direct evidence from

         both the Mexican authorities313 and Dr. Schubl to substantiate the fact that with “no doubt

         whatsoever [] Christina survived the initial hail of bullets, the hundreds of rounds that were

         discharged at her vehicle, the 41 that impacted her vehicle.”314

      197.        Given that there is clear evidence that Christina survived the initial hail of bullets,

         that the ensuing time must have been emotionally and physically terrorizing, and that her

         death was very painful, the Court awards the Estate of Christina Langford, after accounting

         for inflation and in line with Smith, $11,550,000.00.315

                       (4) Dawna Ray

      198.        Dawna was a beautiful and vivacious woman who made many friends and had no

         enemies.316 Dawna loved caring for her garden and enjoyed drinking coffee each

         morning.317 She loved visiting with friends, but, above all else, she loved her family.318 As

         a mother, she instilled in her children the principles of virtue and love.319 She also ensured




311
    Id. at Tr. 148:14-17.
312
    Smith ex rel Smith v. Islamic Emirate of Afghanistan, 262 F.Supp.2d 217, 238-39 (S.D.N.Y. 2003).
313
    Testimony of Enrique Baeza, Tr. 112:18-23.
314
    Testimony of Dr. Schubl, Tr. 148:8-10.
315
    Inflation has risen approximately 54% since May 2003 when Smith was decided to February 2022.
https://www.bls.gov/data/inflation_calculator.htm; The court in Smith awarded the estate $7.5 million dollars for
pain and suffering ($2.5 million “for which all the defendant [were] jointly and severally liable. In addition, pursuant
to § 2333, the al Qaeda defendants” were liable “for an additional $5 million”). Smith, 262 F.Supp.2d at 239.
316
    Testimony of David Langford, Tr. 322:5-9.
317
    Id. at Tr. 322:9-10.
318
    Id. at Tr. 322:10-12.
319
    Id. at Tr. 322:17-19.


                                                          48
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 49 of 161




         that each of her children felt individualized attention and love by preparing beautifully

         decorated cakes and planning special celebrations on their birthdays.320

      199.        On November 4, 2019, Dawna was traveling to a family wedding where her nine

         children, including T.L. and R.L., could play and celebrate with their cousins.321 Near the

         location of Christina’s vehicle, the Cartel disabled Dawna’s vehicle by firing at least 72

         rounds.322

      200.        As eyewitness testimony from two of her children attested, Dawna survived the

         initial gunshots, yelling for her children to “[g]et down” and praying to God for the safety

         of her family.323 Not only did she survive to experience the panic and fear of a lethal attack

         on her children, she also witnessed the top of her son’s (T.L.’s) skull blown off by a

         gunshot.324

      201.        Because evidence establishes that Dawna survived the initial attack, experienced

         emotional and physical terror, and witnessed the brutal murder of her son, T.L., the Court

         awards an upward departure from the damages in Smith based on the additional factor of

         witnessing one of her minor children being brutally killed. Whereas the judgment in Smith

         was $7,500,000.00, the Court awards a 33% upward departure to this baseline award, after

         accounting for inflation325, raising the award to the Estate of Dawna Ray to $15,440,000.00

         for pain and suffering damages.




320
    Id. at Tr. 324:10-20.
321
    Testimony of K.L., Tr. 293:11-16, Testimony of D.L., Tr. 305:12-13.
322
    Expert Report of Dr. Schubl, Ex. 25_000009.
323
    Testimony of K.L., Tr. 295:11-12, Testimony of D.L., Tr. 307:6-9.
324
    Expert Report of Dr. Schubl, Ex. 25_000009.
325
    Inflation has risen approximately 53% since May 2003 when Smith was decided to January 2022.
https://www.bls.gov/data/inflation_calculator.htm The court in Smith awarded the estate $7.5 million dollars for pain
and suffering ($2.5 million “for which all the defendant [were] jointly and severally liable. In addition, pursuant to §
2333, the al Qaeda defendants” were liable “for an additional $5 million”). Smith, 262 F.Supp.2d at 239.


                                                          49
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 50 of 161




                       (5) T.L. and R.L.

      202.        T.L. had an active imagination and loved to make his siblings laugh.326 R.L. was

         K.L.’s “mini me”; he looked like her and he refused to be separated from K.L. even

         sleeping in her bed at night.327

      203.        As to R.L., he experienced the emotional terror of the initial attack while his sister

         K.L. attempted to push him to safety underneath the seat.328 Although his conscious

         suffering was short, “there is no set formula for quantifying the pain and suffering” R.L.

         experienced.329

      204.        As to T.L., he experienced the emotional terror of the initial attack, hearing his

         mother yell, “Get down.”330 But before he could find safety, he died from a fatal gunshot

         wound to his head.331

      205.        Given that there is clear evidence that T.L. and R.L. survived the initial hail of

         bullets, that the ensuing time must have been emotionally and physically terrorizing, and

         that their death was very painful, this Court awards, after accounting for inflation and in

         line with Smith, $11,550,000.00 each to the Estates of T.L. and R.L. for pain and suffering

         damages.332




326
    Testimony of K.L., Tr. 302:22-23
327
    Id. at Tr. 294:21, 302:9-20, Testimony of David Langford, Tr. 325:1-4.
328
    Testimony of K.L., Tr. 295:18-19.
329
    Pugh v. Socialist People’s Libyan Arab Jamahiriya, 530 F. Supp. 2d 216, 263 (D.D.C. 2008) (awarding the
plaintiffs’ estates $18,000,000.00 for 89 to 179 seconds of suffering including aircraft decompression, the breakup
of the airplane at 35,000 feet, being hit by shards of shrapnel from the exploded aircraft, and plummeting to their
death while likely on fire from the explosion).
330
    Testimony of D.L., Tr. 307:6-9.
331
    Expert Report of Dr. Schubl, Ex. 25_000795.
332
    Inflation has risen approximately 54% since May 2003 when Smith was decided to February 2022.
https://www.bls.gov/data/inflation_calculator.htm; The court in Smith awarded the estate $7.5 million dollars for
pain and suffering ($2.5 million “for which all the defendant [were] jointly and severally liable. In addition, pursuant
to § 2333, the al Qaeda defendants” were liable “for an additional $5 million”). Smith, 262 F.Supp.2d at 239.


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           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 51 of 161




                    b. Survivor Damages Pain and Suffering

       206.         Pain and suffering damages for individuals who were injured in an attack but who

           did not succumb to their injuries are also available. Again, looking to precedent arising

           from FSIA cases demonstrates a range of values for pain and suffering damages in these

           circumstances. Many courts addressing damages in a “directly injured” situation followed

           what has been referred to as the Heiser framework.

       207.         A more recent decision set forth the criteria for applying the Heiser framework:

                    a court begins with baseline amounts and may adjust upward or downward
                    to account for individual circumstances. For a directly-injured claimant,
                    “[c]ourts generally ‘begin[] with the baseline assumption that persons
                    suffering substantial injuries in terrorist attacks are entitled to $5 million in
                    compensatory damages.’” Barry I, 410 F. Supp. 3d at 180 (quoting Wultz,
                    864 F. Supp. 2d at 37-38). An upward adjustment to the $7 to $12 million
                    range may be appropriate “in more severe instances of physical and
                    psychological pain, such as where victims suffered relatively more
                    numerous and severe injuries, were rendered quadriplegic, partially lost
                    vision and hearing, or were mistaken for dead.” Valore, 700 F. Supp. 2d at
                    84. Conversely, a downward departure to the $1.5 million to $3 million
                    range may be appropriate “where victims suffered relatively more minor
                    injuries, such as ‘minor shrapnel injuries,’ or ‘severe emotional injury
                    accompanied by relatively minor physical injuries.’” Barry I, 410 F. Supp.
                    3d at 180 (first quoting Valore, 700 F. Supp. 2d at 84, then quoting Estate
                    of Doe v. Islamic Republic of Iran (Estate of Doe II), 943 F. Supp. 2d 180,
                    186 (D.D.C. 2013)). Such awards for physical injuries “assume severe
                    psychological injuries.” Schertzman Cohen, 2019 U.S. Dist. LEXIS
                    115278, 2019 WL 3037868, at *6 (citing Wamai, 60 F. Supp. 3d at 92-
                    93).333

       208.         In litigation arising out of the terrorist attacks on September 11, 2001, injury

           judgments asserted against Iran have yielded an upward departure from the Heiser

           framework. In a more recent application of pain and suffering damages that arose as part

           of the September 11 Litigation, the Court “establishe[d] a baseline award of $7 million, an

           upward deviation of $10 million, and a downward deviation of $5 million. The Court,


333
      Barry v. Islamic Rep. of Iran, 437 F. Supp. 3d 15, 53 (D.D.C. 2020).


                                                           51
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 52 of 161




         however, reserves its discretion to award further upward departures in exceptional

         cases.”334

                      (1) F.M.J.

      209.        In Miller, this analysis would apply to the claims related to minor F.M.J. as the only

         Plaintiff who was present during the attack who was not killed as a result of the attack.

      210.        Seven-month-old F.M.J. was traveling with her mother on November 4, 2019, and

         during the attacks, her car seat was shot three times.335 It was reported for “a good three

         hours” that F.M.J. was dead.336

      211.        Fortunately, F.M.J. survived, “but barely.”337 “[S]he was [found] strapped into a

         car seat alone with her mother dead outside the car[,] … severely dehydrated”338 with “a

         tiny drop of blood on the top of her head … as if one of the bullets or a piece of plastic

         from the car seat or something where the bullet had whizzed past had nicked the very top

         of her head.”339

      212.        F.M.J. was strapped into that car seat alone and terrified “for a good eight, nine

         hours.”340

      213.        When she was found, and given to Shalom Tucker,341 F.M.J. “was limp, quiet and

         soaked in bodily fluids.”342 F.M.J. “was in total, complete shock and fear.”343




334
    Burnett v. Islamic Rep. of Iran, 2020 U.S. Dist. LEXIS 22849, at *606 (S.D.N.Y. Feb. 7, 2020) (Magistrate Judge’s
Report and Recommendation adopted by the District Judge).
335
    Photo of F.M.J.’s car seat, taken by Tyler Johnson, Ex. 11.
336
    Testimony of Tyler Johnson, Tr. 375:24-25.
337
    Testimony of Dr. Schubl, Tr. 150:7.
338
    Id. at Tr. 150:7-10.
339
    Testimony of Amelia Sedgwick, Tr. 253:9-13.
340
    Testimony of Tyler Johnson, Tr. 372:3.
341
    Family Photo of Shalom Tucker and F.M.J., Ex. 22.
342
    Declaration of Bathsheba Shalom Tucker, Ex. 37_000005, ¶ 33.
343
    Id.


                                                         52
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 53 of 161




      214.        The fact that F.M.J. was seven months old at the time of the attack does not,

         according to Dr. Schuurman,344 mean that she did not—nor will she not in the future—

         have to deal with the physical and mental pain and suffering associated with being present

         for, and a survivor of, this unconscionable attack on her and her mother. It is Dr.

         Schuurman’s expert opinion that F.M.J. “will likely grapple with the horrifying

         circumstances of her mother’s death, and more likely than not will need professional help

         to do so.”345

      215.        It is also Dr. Schuurman’s expert opinion that F.M.J. is a high risk for “continuing

         and persistent symptoms of trauma and grief, including depression, anger, sadness, anxiety,

         helplessness, and hopelessness.”346

      216.        In addition, some “have described F.M.J. living as a miracle”347 which may, in Dr.

         Schuurman’s expert opinion confer additional “pressure” on F.M.J. “to perform in ways

         that aren’t always consistent” with her personality.348

      217.        “Decisions to deviate from the starting points provided by the Heiser framework

         are committed to the discretion of the particular court in each case.”349 “An upward

         adjustment [for survivor pain and suffering damages… may be appropriate in more severe

         instances of physical and psychological pain, such as where victims … were mistaken for

         dead.”350

      218.        F.M.J. was mistaken for dead, severely dehydrated, terrified and alone strapped into

         her car seat for what must have felt like an entirety. Accordingly, and in no uncertain terms


344
    Testimony of Dr. Schuurman, Tr. 430:10-25.
345
    Expert Report of Dr. Schuurman, Ex. 26_000016.
346
    Expert Report of Dr. Schuurman, Ex. 26_000010.
347
    Testimony of Dr. Schuurman, Tr. 479:24-25.
348
    Id. at Tr. 480:3-6.
349
    Barry, 437 F. Supp. 3d at 53 (quoting Oveissi, 768 F.Supp.2d at 26).
350
    Id. (internal citation and quotations omitted).


                                                         53
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 54 of 161




         does F.M.J.’s inability to (currently) verbalize and express the sheer scope of the severe

         physical and psychological pain and suffering she endured on November 4, 2019,

         undermine her claim for, and upward departure to, survivor pain and suffering damages.

      219.       Nonetheless, the limited physical injuries sustained by F.M.J. may require the Court

         to temper an upward departure and instead, rely on the baseline value applied in the Burnett

         action arising out of the terrorist attacks on September 11, 2001.

      220.        Accordingly, the Court awards, after accounting for inflation, of $7,680,000.00 in

         compensatory non-economic, survivor pain and suffering damages to F.M.J.351

                     (2) C.L.

      221.       Eight-year-old C.L. was traveling with his mother and siblings on November 4,

         2019. During the attack, C.L. suffered grievous gunshot wounds, including a 4 x 6

         centimeter wound to his jaw, a puncture wound on his left leg, a puncture wound on his

         right chest, a puncture wound on his right forearm, and a 6 x 8 centimeter wound on his

         right leg.352. Additionally, he witnessed the gruesome murders of his mother, his brother

         T.L., and his brother R.L.353

      222.       With their mother dead and no means to contact their relatives, the children were

         on their own to tend to their wounds and to find help.354 C.L.’s suffering continued in the

         aftermath of the attack. His siblings held a pillow to his missing jaw to stanch his bleeding




351
    Inflation has risen approximately 9.6% since Burnett was decided in February 2020 to February 2022. See
https://www.bls.gov/data/inflation_calculator.htm
352
    Testimony of David Langford, Tr. 343-44:22-25; Declaration of C.L., Ex. 64; Supplemental Declaration of David
Langford, Ex. 72 at 70.
353
    Declaration of C.L., Ex. 64.
354
    Testimony of D.L., Tr. 309:7-9, 24-25.


                                                       54
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 55 of 161




         while carrying him down the mountain.355 He could not walk given the gaping gunshot

         wound on his right leg, exposing tendon and muscle.356

      223.       While waiting more than ten hours for his eventual rescue, he was unable to drink

         any water because it would leak through his jaw wound.357 Even after his rescue, he did

         not receive proper hydration and medical care until more than 14 hours after the attack.358

      224.       C.L. underwent seven surgeries to address his wounds, had his jaw wired shut, and

         remained in the hospital for two months after the attack.359 Even so, C.L. will require a

         future surgery to replace missing teeth—that is, if his jaw sufficiently regrows to hold new

         teeth.360

      225.       When C.L. was released from the hospital, he used a wheelchair.361 Through

         physical therapy he learned to walk again, albeit with a limp.362 To this day, he experiences

         pain in his hip from his injuries and permanent facial disfigurement.363

      226.       Not only does C.L. suffer from his permanent physical injuries, but he also suffers

         from witnessing the murders of his mother and siblings. C.L. continues to have nightmares

         about the day of the attack.364 Treating physicians acknowledged that C.L. and the other

         Langford children present for the attack will require “significant social support” due to the




355
    Id. at Tr. 310:16-18.
356
    Declaration of C.L., Ex. 64, Supplemental Declaration of David Langford, Ex. 72, at 5-6.
357
    Testimony of K.L., Tr. 300:21-23.
358
    Testimony of David Langford, Tr. 343:15-24.
359
    Declaration of C.L., Ex. 64; Supplemental Declaration of David Langford, Ex. 72 at 68; Testimony of David
Langford, Tr. 347:1-9.
360
    Testimony of David Langford, Tr. 347:10-15.
361
    Declaration of C.L., Ex. 64 at 10.
362
    Declaration of C.L., Ex. 64, at 10; Declaration of David Langford, Ex. 66 at 41.
363
    Declaration of C.L., Ex. 64, at 10.
364
    Declaration of David Langford, Ex. 66, at 39-41.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 56 of 161




         traumatic nature of their injuries as well as the injuries and deaths their mother and

         siblings.365

      227.         As all the case law demonstrates, “there is no exact comparison, and indeed, strict

         application of precedent could lead to conflicting conclusions about an appropriate

         award.”366 Evaluating each victim’s unique suffering is undeniably difficult and an inexact

         science.367 Considering all the circumstances, the court awards $12,000,000.00 to C.L. in

         accordance with the Burnett decision which, adjusted for inflation, totals $13,160,000.00

         in compensatory non-economic, survivor pain and suffering damages.

                        (3) K.L., M.L., X.L., and B.L.

      228.         Fourteen-year-old K.L., nine-year-old M.L., four-year-old X.L., and eight-month-

         old B.L. were also traveling with their mother and siblings on November 4, 2019.368 During

         the attack, K.L. suffered a gunshot wound to her foot369; M.L. suffered a gunshot wound

         to her back and forearm, causing nerve damage370; X.L. suffered a shoulder facture and a

         gunshot wound two inches in diameter to his shoulder371; and B.L. suffered a six-centimeter

         laceration across his chest, exposing his muscle, and a fractured wrist.372 Additionally, they

         witnessed the gruesome murders of their mother, their brother T.L., and their brother

         R.L.373




365
    Supplemental Declaration of David Langford, Ex. 72, at 136.
366
    Brewer v. Islamic Rep. of Iran, 664 F. Supp. 2d 43, 57 (D.D.C. 2009).
367
    Id.
368
    Testimony of D.L., Tr. 305-06:24-5.
369
    Testimony of David Langford, Tr. 345:1-4.
370
    Id. at Tr. 345:6-8.
371
    Supplemental Declaration of David Langford, Ex. 72, at 197.
372
    Testimony of David Langford, Tr. 346:21-24; Supplemental Declaration of David Langford, Ex. 72, p. 26.
373
    Declaration of K.L., Ex. 61; Declaration of M.L., Ex. 62; Declaration of David Langford, Ex. 66.


                                                       56
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 57 of 161




      229.       When the firing began, K.L. described fear resonating inside the vehicle, hearing

         her siblings screaming for the entire attack, and her mother praying.374 Similar to C.L. their

         suffering continued in the aftermath of the attack, K.L. carried her injured brothers, X.L.

         and B.L., down a rugged and mountainous road even though she was barefoot and had

         suffered a gunshot wound to her foot.375

      230.       They waited more than ten hours in freezing temperatures without food, water, or

         warmth for their rescue while fearing that the cartel would return to kill them.376

      231.       M.L. attempted to reach La Mora alone to save her siblings even though she was

         barefoot and injured.377 However, she became disoriented and made a wrong turn down an

         unused road to Bavispe.378 Undoubtedly, she experienced sheer terror wandering through

         the pitch-black desert lost for hours.

      232.       Each child was hospitalized to treat their injuries.379 Although their physical

         injuries healed, treating physicians acknowledged that all the Langford children present for

         the attack will require “significant social support” due to the traumatic nature of their

         injuries as well as the injuries and deaths of family members.380 Each of them acted to save

         each other and they all carry guilt that they could not save their brother T.L. and their baby

         brother R.L., who was sitting on K.L.’s lap at the moment of attack.381




374
    Declaration of K.L., Ex. 61, at 9, 13.
375
    Testimony of K.L., Tr. 297:14-18; 297:25-298:4.
376
    Declaration of K.L., Ex. 61, at 3.
377
    Declaration of K.L., Ex. 61.
378
    Testimony of Kenneth Miller, Tr. 62:10-24.
379
    Supplemental Declaration of David Langford, Ex. 72, at 25-228
380
    Id. at 136.
381
    Declaration of K.L., Ex. 61, at 12.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 58 of 161




      233.       Accordingly, the Court awards, accounting for inflation and in accord with the

         standard upward deviation in the Burnett decision, $10,970,000.00 each in compensatory

         non-economic, survivor pain and suffering to K.L., M.L., X.L., and B.L.

                      (4) D.L. and J.L.

      234.       Thirteen-year-old D.L. and six-year-old J.L. were also traveling with their mother

         and siblings on November 4, 2019. Miraculously, D.L. and J.L. avoided any gunshot

         wounds, but still suffered the physical and emotional trauma in the aftermath of the attack.

      235.       D.L. witnessed his mother, Dawna, slump over her steering wheel as she died from

         multiple gunshot wounds.382 During the attack, D.L. looked over to his brother T.L., who

         was missing the top of his skull from a gunshot wound and over to his brother R.L. who

         died on the floorboard from multiple gunshot wounds.383

      236.       After the attack, D.L. carried his brother C.L. and assisted with carrying X.L. for

         20 minutes towards La Mora.384 When D.L. could not carry C.L. any farther, he

         volunteered to continue the eight-mile journey to La Mora while his siblings waited near

         the road for help to arrive.385 Slowing his progress, the cartel actively shot at D.L., forcing

         him to hide in bushes and veer from the main road.386 During his entire run down the

         mountain, D.L. thought his siblings’ survival depended on him finding family to rescue

         them.387

      237.       J.L. waited on the mountain in the near-freezing temperatures with K.L., M.L.,

         X.L., and B.L. for D.L.’s return.388


382
    Declaration of D.L., Ex. 63 at 10; Expert Report of Dr. Schubl, Ex. 25_00009, 000788
383
    Declaration of D.L., Ex. 63 at 9-10.
384
    Testimony of D.L., Tr. 310-11:16-2.
385
    Id. at Tr. 310-11:24-2.
386
    Id. at Tr. 312-13:23-8.
387
    Id. at Tr. 314:4-5; Declaration of D.L., Ex. 63 at 14.
388
    Declaration of D.L., Ex. 63 at 13.


                                                       58
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 59 of 161




      238.        As with their siblings, D.L. and J.L. will require “significant social support” due to

         witnessing the traumatic injuries and deaths of his close family members.389 To this day,

         D.L. finds it difficult to talk about the events of the attack, often referring to the attack as

         “the tragedy that happened.”390 They suffer from the emotional toll of losing their loved

         ones in a horrific attack, from nightmares, and from anxiety upon hearing loud noises.391

      239.        Accordingly, the Court awards $10,000,000.00 each in compensatory non-

         economic, survivor pain and suffering to D.L. and J.L.

                  c. Pain and Suffering Damages for Survivors of Victims/Solatium Damages

      240.        In the terrorism context under the Antiterrorism Act, “non-economic damages are

         … available, including loss of companionship and society, and mental anguish experienced

         by the victim’s surviving family members.”392                   Put more plainly, “[c]ourts permit

         ‘[p]laintiffs to pursue claims for solatium [emotional] damages’ under the ATA.”393

      241.        “Courts addressing the availability and amount of solatium damages in terrorism

         cases … have considered damages awards in other terrorism cases, including those decided

         under the related terrorism exception to the Foreign Sovereign Immunities Act (‘FSIA’),

         28 U.S.C. § 1605A….”394

      242.        Under the FSIA, solatium damages are awarded to compensate “the mental anguish,

         bereavement, and grief that those with a close relationship to a decedent experience as the




389
    Supplemental Declaration of David Langford, Ex. 72, p. 136.
390
    Testimony of D.L., Tr. 313:22.
391
    Declaration of D.L., Ex. 63 at 22.
392
    Lelchook v. Islamic Rep. of Iran, 2020 U.S. Dist. LEXIS 221606, at *20 (E.D.N.Y. Nov. 23, 2020).
393
    Estate of Henkin, 495 F. Supp. 3d at 152; see also Weinstock v. Islamic Rep. of Iran, 2019 U.S. Dist. LEXIS 75532,
at *11-*12 (S.D. Fla. May 6, 2019) (addressing availability of solatium damages in default judgment against the
foreign terrorist organization Hamas).
394
    Weinstock, 2019 U.S. Dist. LEXIS 56937, at *12; see also Goldstein, 383 F. Supp. 3d at 19 (“courts strive to
maintain consistency for awards as between the specific plaintiffs and among plaintiffs in comparable situations.”).


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 60 of 161




         result of the decedent’s death, as well as the harm caused by the loss of the decedent’s

         society and comfort.”395

      243.        For the pain and suffering of relatives who were not present at the site of the attack,

         damages “must be determined by the nature of the relationship and the severity and

         duration of the pain suffered by the family member.”396 The factors that may be considered

         in assessing solatium damages are: “(1) whether the decedent’s death was sudden and

         unexpected; (2) whether the death is attributable to negligence or malice; (3) whether the

         claimants have sought medical treatment for depression or related disorders resulting from

         the decedent’s death; (4) the nature (i.e., closeness) of the relationship between the claimant

         and the decedent; and (5) the duration of the claimant’s mental anguish in excess of that

         which would have been experienced following the decedent’s natural death.”397

      244.        The Heiser decision created a framework also for solatium damages for the family

         members of individuals who were killed in terrorist attacks:

                  In determining the amount of compensatory damages awards to family
                  members of a surviving victim, this Court has held that these awards are
                  determined by the “nature of the relationship” between the family member
                  and victim, and “the severity of the pain suffered by the family
                  member.” Haim, 425 F. Supp. 2d at 75. Spouses typically receive greater
                  damage awards than parents, who, in turn, receive greater awards than
                  siblings. Compare, e.g., Anderson v. Islamic Republic of Iran, 90 F. Supp.
                  2d 107, 113 (D.D.C. 2000) (Jackson, J.) (awarding $10 million to the wife
                  of a hostage and torture victim); Sebago, 18 F. Supp. 2d at
                  70 (same), with Eisenfeld, 172 F. Supp. 2d at 8 (awarding $5 million each
                  to the parents and $2.5 million each to the siblings of victims of a suicide
                  bombing on a passenger bus); see also Flatow, 999 F. Supp. at 31 (awarding
                  parents each $5 million and siblings each $2.5 million of victim who was
                  killed in the same passenger bus bombing in which Seth was
                  injured). Moreover, “families of victims who have died are typically
                  awarded greater damages than families of victims who remain alive.” Id.

395
    Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52 (D. D.C. 2010).
396
    Brewer v. Islamic Republic of Iran, 664 F. Supp. 2d 43, 55 (citing Haim v. Islamic Republic of Iran, 425 F. Supp.
2d 56).
397
    Rosenberg, 2016 U.S. Dist. LEXIS 87724, at *104-*105, quoting Knox, 442 F. Supp. 2d at 78.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 61 of 161




                 While the loss suffered by the plaintiffs in these cases is undeniably difficult
                 to quantify, courts typically award between $8 million and $12 million for
                 pain and suffering resulting from the death of a spouse, approximately $5
                 million to a parent whose child was killed, and approximately $2.5 million
                 to a plaintiff whose sibling was killed.398

      245.       The September 11 Litigation altered the determination of solatium damages. In

         that litigation, the court adopted solatium values of $12.5 million for spouses, $8.5 million

         for parents, $8.5 million for children, and $4.25 million for siblings.399 In making its

         determination, the court stated that “[c]onsidering the extraordinarily tragic circumstances

         surrounding the September 11th attacks, and their indelible impact on the lives of the

         victims’ families” it was “appropriate to grant the upward departures from the Heiser

         framework.”400

      246.       The above precedent are solely guidelines, as departures in the baseline awards are

         available. “These numbers, however, are not set in stone.”401 Courts have discretion to

         “grant solatium damages based on the particular facts of each case, subject to abuse-of-

         discretion review for errors of law, clearly erroneous factual findings and faulty

         reasoning.”402

      247.       Deviations upward may be warranted when the evidence establishes: “an especially

         close relationship between the plaintiff and decedent, particularly in comparison to the

         normal interactions to be expected given the familial relationship; medical proof of severe




398
    Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229, 269.
399
    Havlish v. bin Laden, 2012 U.S. Dist. LEXIS 110673, at *105-*106 (S.D.N.Y. July 30, 2012). These awards were
upward departures of 56% for spouses and 70% for parents and siblings from Heiser.
400
    Id.
401
    Greenbaum v. Islamic Republic of Iran, 451 F.Supp.2d 90, 108 (D.D.C. 2006) (emphasis added).
402
    Warmbier v. Democratic People’s Rep. of Korea, 356 F. Supp. 3d 30, 58 (D.D.C. 2018) (internal citations
omitted).


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 62 of 161




         pain, grief or suffering on behalf of the claimant; and circumstances surrounding the

         terrorist attack which made the suffering particularly more acute or agonizing.”403

      248.       Furthermore, “families of torture and hostage-tak[en] victims are typically awarded

         greater damages than are the families of victims of a single attack because in the former

         cases, the afflicted party not only had to cope with the grief that follows the loss of a loved

         one, but—at the time of the event was also forced to endure unending anxiety and an

         extended period of extreme distress over the health and safety of their captive family

         member.”404

      249.       As stated by Adriana Jones, and family members infra, initial thoughts in this case

         were that their family members were kidnapped which was “still horrible to think about so

         [the families were] still devastated but [they were] devastated because they’re kidnapped.

         … [they were] thinking how [K.B.M.] must be feeling and are [the Cartel] going to take

         this little girl and … [a]re they going to rape Nita and [K.B.M.]”405

      250.       Such anguish and “first-hand observations and acute memories of their child’s

         death” led the court in Warmbier to award a 300% upward departure from Heiser to the

         decedent’s parents. 406

      251.       Additionally, as the court noted in Greenbaum, “larger awards are typically

         reserved for cases with aggravating circumstances that appreciably worsen the surviving

         spouse’s pain and suffering”.407 This may be indicated by things such as “[t]estimony




403
    Oveissi, 768 F. Supp. 2d at 26-27; see also Flanagan, 87 F. Supp. 3d at 118.
404
    Warmbier, 356 F.Supp.3d at59 (internal citation and quotations omitted).
405
    Testimony of Adriana Jones, Tr. 507:5-13.
406
    Warmbier, 356 F.Supp.3d at 59 (internal citations and quotations omitted); see also Pugh, 530 F.Supp.2d at 266
(325% upward departure from Heiser for spouse; 320% upward departure from Heiser for siblings).
407
    Greenbaum, 451 F.Supp.2d at 108.


                                                       62
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 63 of 161




         which describes a general feeling of permanent loss or change caused by decedent’s

         absence” or “[m]edical treatment for depression and related affective disorders.”408

      252.       Through report and testimony evidence, Dr. Donna Schuurman from The Dougy

         Center in Portland, Oregon proffered her expert opinions as to the grief, loss and

         bereavement of “two of the families who were impacted by the death of Rhonita and the

         death of Christina.”409

      253.       Dr. Schuurman discussed the four risk factors (all of which are present in this case)

         that affect children when a parent dies, as well as ten complicating factors that arise when

         a parent is murdered.410

      254.       The four risk factors include:

                    Higher risk for mental health problems, lower academic success, lower self-

                     esteem, and greater external locus of control (e.g. sensing oneself as a victim);

                    Higher risk for anxiety, depression, behavioral issues, and substance abuse;

                    Higher risk for depression among girls/aggression and acting out among boys;

                     and

                    Higher risk for depressive symptoms and future relationship challenges.411

      255.       There are ten “additional risk factors” (all of which are present in this case) that

         apply to children who lose a parent, parent who lose a child, and siblings who lose a sibling

         due to a “violent death”.412




408
    Flatow, 999 F.Supp at 31; Greenbaum, 451 F.Supp.2d at 108.
409
    Testimony of Dr. Schuurman, Tr. 438:13-15; Expert Report of Donna Schuurman, Ex. 26.
410
    Expert Report of Dr. Schuurman, Ex. 26_000005; see also Testimony of Dr. Schuurman, Tr. 450:5-451:6.
411
    Expert Report of Dr. Schuurman, Ex. 26_000005; see also Testimony of Dr. Schuurman, Tr. 450:5 – 451:6.
412
    Id. at Tr. 452:5-8.


                                                      63
           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 64 of 161




       256.         The ten complicating factors include:

                   The closeness of the relationship;

                   Whether the death was sudden and occurred without warning;

                   Whether the loss was untimely;

                   Whether the manner of death was violent;

                   Whether the manner of death caused trauma to the loved one’s body;

                   Whether the surviving family members believe that the loved one may have

                    suffered;

                   Whether the death was caused by someone else’s negligence;

                   Whether the death is regarded as unjust;

                   Whether the person or persons whose actions brought about the death are held

                    accountable for what happened; and

                   Whether the responsible party or parties show remorse for what happened413.

       257.         First, Dr. Schuurman discussed how the closeness of the family related to the

           families in this case. She stated: “And I have to say in this situation these three mothers,

           wives, sisters, daughters, everyone loved. Were beautiful, caring women. And their

           children with so much hope in front of them whose lives were just tragically ended that --

           and I think numerous people have said, you know, no one had a bad word about Rhonita.

           No one had a bad word about Christina, you know. And so the closeness of family,

           immediate family as well as extended family -- and I do -- I will add that I think a protective

           factor in this is the number of loving, caring family members and community members




413
      Expert Report of Dr. Schuurman, Ex. 26_000005-09; see also Testimony of Dr. Schuurman, Tr. 452:15-456:11.


                                                        64
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 65 of 161




         who have surrounded the families because not everyone has that; so that is a helpful and

         protective factor. And it doesn't bring them back.”414

      258.       Risk factors “4 through 6, deal with a violent nature or the suffering of the

         individual or the trauma caused to their body” and “the callousness and the ruthlessness

         and the horror of how [these innocent women and children] were killed, [] just adds another

         dimension” of risk and pain “that isn’t there when someone dies of a heart attack.”415

      259.       The impact to the Howard Miller and the entire LeBaron family, in particular,

         knowing that Rhonita and the kids were conscious and alive when their vehicle was

         incinerated beyond recognition “just adds more horror to the reality of what happened.”416

         As Rhonita’s mother, and H.M. Jr., K.B.M., T.A.M. and T.G.M.’s grandmother, Bathsheba

         Shalom Tucker, said the worst part of this all is that “it appears as if Nita and the kids knew

         they were going to die.”417

      260.       As Rhonita’s father said, “[i]t was horrible, it was sickening; I cannot imagine a

         more gruesome scene for a father and a family to have to encounter and … me, my wife

         and family were forced to do the unconscionable, collect our families bones and ashes.”418

      261.       As it relates to Christina Langford, a complicating risk factor for her husband (Tyler

         Johnson), children, mother and brother and sisters will be knowing that she exited her

         vehicle to attempt to show that she was an innocent woman and yet her she was still

         callously murdered.419




414
    Testimony of Dr. Schuurman, Tr. 457:22-458:-8.
415
    Id. at Tr. 458:10-18.
416
    Id. at Tr. 459:2-3.
417
    Declaration of Bathsheba Shalom Tucker, Ex. 37. ¶ 43.
418
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 37.
419
    Testimony of Dr. Schuurman, Tr. 459:11-25.


                                                       65
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 66 of 161




      262.       What happened to these families “is unjust. It is unfair. … [I]t is unlikely that every

         perpetrator will be found and will be brought to justice let alone express remorse for their

         behavior, and that is a reality that doesn’t end.”420 As Dr. Schuurman testified:

                 I think every parent, every father, every mother has it innately in them that
                 one of their roles is to protect their children. Every husband wants to protect
                 his wife and children, and the inability to do that in this horrific situation
                 adds to the complicating factors. It is unjust. It is unfair. … [I]t is unlikely
                 that every perpetrator will be found and will be brought to justice let alone
                 express remorse for their behavior, and that is a reality that doesn't end. You
                 don't some magical day say, "I think I'm okay with that." You know, it's
                 always there. And it's kind of like it's unresolvable. It fosters what we call
                 "rumination," which is a negative outcome actually. And rumination comes
                 from the word -- from animals that are ruminates that -- like cows that chew
                 their cud, chew their food but they never digest it. And so one of the
                 challenges here is there's not going to be some nice way to neatly wrap this
                 all in a package and tie a bow on it and say, "Okay. I think I'm done now.
                 It's all over." This has shaped and it will continue to shape every family
                 member who loved each of these children and each of these mothers.421

      263.       Many of the family members in this case check all ten of these boxes, or have all

         ten complicating factors present, and as such, they are at greater risk to experience, going

         forward:

             a. “[D]epression, major depressive disorder, certainly Posttraumatic Stress
                Disorder[,] … sense of helplessness”;422

             b. “[C]ertainly, … higher levels of anxiety”.423


             c. “[A] higher potential propensity for panic attacks,”424 which have already
                manifested themselves in Plaintiff’s Karen Woolley425 and Kerah Ray.426




420
    Id. at Tr. 460:10-14.
421
    Id. at Tr. 460:6-461:14.
422
    Id. at Tr. 461:19 – 462:8.
423
    Id. at Tr. 462:9-10.
424
    Id. at Tr. 462:18-19.
425
    Declaration of Karen Woolley, Ex. 48, ¶ 26.
426
    Declaration of Kerah Ray, Ex. 50, ¶ 28.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 67 of 161




             d. “[S]eparation anxiety” which “has been evidence by some of the children”: “‘I
                don’t want to sleep alone; I’m afraid to be alone; I don’t want to sleep alone; I want
                to be around people.’”427

             e. “[S]urvivor’s guilt. Why did I live and my sibling dies? … Why our family?” Why
                didn’t I do X, Y or Z?”428

      264.       As each family member expressed, through testimony and/or through sworn

         declarations accepted into evidence during the trial, the deaths of Christina, Dawna,

         Rhonita, and the children have had a profound effect on each of the family-member

         Plaintiffs since the attack causing each of them injury.

      265.       Plaintiffs in this action also had to, among other things, “load[] up” their deceased

         family members “into the back of a flatbed truck” and take them home and pack their

         bodies with ice429; and “collect and piece together the remains of [their] daughter and

         grandchildren”.430

      266.       Dr. Schubl’s report and testimony describe in-detail the agonizing horror, mental

         and physical pain and suffering Rhonita, H.M. Jr., K.B.M., T.A.M., T.G.M., and Christina

         Langford431 went through and as Dr. Schuurman testified, this only “adds more horror to

         the reality of what happened”432 for these families and will “complicate[] how [they] …

         find peace.”433

      267.       Plaintiffs have suffered great personal loss due to the suffering and death of their

         dearly loved family members. While some may have, and continue to suffer more than




427
    Testimony of Dr. Schuurman, Tr. 463:1-4.
428
    Id. at Tr. 463:11-13.
429
    Declaration of Justin Ray, Ex. 51, ¶¶ 15, 16.
430
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 46.
431
    See generally Expert Report of Dr. Schubl, Ex. 25; Testimony of Dr. Schubl, Tr. 141:13 – 149:18, 153:20 –
161:3.
432
    Testimony of Dr. Schuurman, Tr. 459:2-3.
433
    Id. at Tr. 459: 24-25.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 68 of 161




         others, all have suffered the particularly devastating and uniquely acute pain and suffering

         arising from these particular events warranting upward enhancement departures.434

      268.        The fundamental aim of terrorism is to instill fear and trepidation – and that was

         precisely what the Defendant’s objective was on November 4, 2019.435

      269.        Plaintiffs are those who paid the immediate price for this terrorist effect, and it is

         the Plaintiffs who are, and forevermore will be, reminded constantly of the cruel and

         terrible deaths their loved ones.

      270.        This case involves the murder of innocent women and children; not military

         personnel, members of a peace-keeping force or independent contractors on hostile foreign

         soil – these were innocent United States citizens in the prime of their lives traveling to be

         with friends and family.

      271.        Plaintiffs have also requested that this Court apply upward departures from the

         Havlish numbers for certain of the solatium awards sought to compensate for the litany of

         aggravating circumstances present in this case and to reinforce the objectives of the ATA

         that 1) United States citizens are off-limits and 2) that this Court, as will the courts

         following the wake of this Court, will “hold terrorists accountable where it hurts them most:

         at their lifeline, their funds.”436 Plaintiffs’ requests are discussed below.

      272.        The Court may also consider the rate of inflation that has occurred since these

         framework cases were decided. According to the Bureau of Labor Statistics, from when

         Havlish was decided in July 2012 to February 2022, inflation has risen 23%437; meaning

         that the present value of those claims evaluated ten years ago should be adjusted as follows:


434
    Valore, 700 F.Supp.2d at 86
435
    Testimony of Enrique Baeza, Tr. 115:10-12.
436
    Estates of Ungar, 304 F. Supp.2d at 238 (internal citation and quotations omitted).
437
    https://www.bls.gov/data/inflation_calculator.htm


                                                         68
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 69 of 161




                                             Havlish solatium values            Present Day solatium
                                                                                values, accounting for
                                                                                inflation438
             Spouses                         $12,500,000.00                     $15,300,000.00
             Parents                         $8,500,000.00                      $10,400,000.00
             Children                        $8,500,000.00                      $10,400,000.00
             Siblings                        $4,250,000.00                      $5,200,000.00



                        (1) Family of Rhonita LeBaron

                           (a) Howard Miller

      273.        United States citizen439 and North Dakota resident,440 Howard Miller is Rhonita

         LeBaron’s husband, and H.M., Jr., K.B.M, T.A.M., T.G.M, T.M., Z.M., and A.M.’s

         father.441 And on November 4, 2019, the Defendant with conscious indifference to human

         life, and an evil-depraved heart callously murdered his wife, the best person he had ever

         known,442 and his four children—H.M., Jr. (12), K.B.M. (10), T.A.M. (almost eight

         months), T.G.M (almost eight months)— and inflicted substantial, forever emotional and

         physical pain and suffering damages.

      274.        Rhonita and Howard met as teenagers443 and they knew immediately that they had

         found their soul mates.444 And just a few short months later, they were married on August

         2, 2006.445 It was “[y]oung love at its finest.”446




438
    https://www.bls.gov/data/inflation_calculator.htm
439
    Declaration of Howard Miller, Ex. 30, ¶ 2.
440
    Id.
441
    Id. at ¶ 3.
442
    Testimony of Howard Miller, Tr. 166:7-8.
443
    Declaration of Howard Miller, Ex. 30. at ¶ 4
444
    See Declaration of Howard Miller, Ex. 30 at ¶ 7; Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 9.
445
    Declaration of Howard Miller, Ex. 30, ¶ 8; Civil Registration of Marriage, Ex. 6.
446
    Testimony of Adriana Jones, Tr. 501:2-3.


                                                        69
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 70 of 161




      275.       Their family, and the LeBaron family, grew by one on July 17, 2007, with the birth

         of their first child H.M. Jr.447 H.M. Jr. “loved his cousins and his friends. He loved to play

         basketball and stay up late playing video games.”448

      276.       K.B.M. was born next on September 25, 2009.449 K.B.M. was the light of Howard’s

         life and his “favorite child by far.”450 “She was always a daddy’s girl. Every time [Howard]

         came home without fail she’d run up to [him] and g[i]ve [him] a big hug and big kiss and

         always had [Howard’s] back no matter what.”451

      277.       K.B.M. “loved her American Girl dolls and would make clothes for them. She

         wanted to be a fashion designer when she grew up.”452 But most impressive was “how

         much of a mother she was to her baby brothers and sisters and how much she loved to hep

         take care of them. … She was very good, helped out a lot with the twins. Helped A.M.

         every day get ready and get dressed. Just the sweetest thing.”453

      278.       Rhonita “was an amazing mother.”454 She like to “do arts and crafts” with the kids,

         “she like to teach them to serve the Lord”, “[s]he love taking them on all kinds of

         adventures”, “loved taking them swimming”, “to the park, to the lake.”

      279.       On November 3, 2019, Howard was “very much”455 looking forward to reuniting

         with his wife and children the next day in Phoenix, AZ after working in the oil fields in

         New Town, North Dakota.456



447
    Declaration of Howard Miller, Ex. 30, ¶ 10.
448
    Testimony of Howard Miller, Tr. 171:7-9.
449
    Declaration of Howard Miller, Ex. 30, ¶ 10.
450
    Testimony of Howard Miller, Tr. 172:13-14.
451
    Id. at Tr. 172:17-19.
452
    Declaration of Adriana Jones, Ex. 46, ¶ 27.
453
    Testimony of Howard Miller, Tr. 173:3-10.
454
    Id. at Tr. 176:19.
455
    Testimony of Howard Miller, Tr. 181:11.
456
    Id. at Tr. 181:4.


                                                  70
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 71 of 161




      280.       Via WhatsApp messages and phone calls, over a thousand miles away from his

         family in Mexico, Howard learned that the “unimaginable”457 happened—his four children

         and wife “burned to death” in what must have been “the most frightening thing that anyone

         has ever experienced.”458

      281.       He already had a flight booked to Phoenix to spend a few days there with Rhonita,

         H.M. Jr., K.B.M., T.G.M., and T.A.M.459 He frantically tried to get to Mexico sooner, but

         could not get a flight.460 After he reached Phoenix on his original flight, he drove through

         the night to reach La Mora with Doug Johnson, his brother-in-law.461

      282.       But even after seeing the videos462 and speaking with family members who

         confirmed that Rhonita and the kids were in the vehicle and had died—Howard held “out

         hope kind of in nonbelief … maybe hoping they [his family] could have got out or

         something.”463

      283.       That hope was shattered when Howard saw Rhonita, H.M. Jr., K.B.M., T.A.M. and

         T.G.M.’s remains in the vehicle.464

      284.       And even though Howard could not bear the sight of the scene he, along with his

         surviving children—T.M., A.M., and Z.M.—in keeping with their religious tradition, spent

         the night and slept with Rhonita and H.M. Jr., K.B.M., T.A.M. and T.G.M.’s remains465

         because he wanted to “spend one last night” together with his family.466



457
    Testimony of Dr. Schuurman, Tr. 481:12.
458
    Testimony of Howard Miller, Tr. 160:21, Tr. 161:2-3.
459
    Declaration of Howard Miller, Ex. 30 ¶ 17, 20; Testimony of Howard Miller, Tr. 181:2-9.
460
    Testimony of Howard Miller, Tr. 181:6-9.
461
    Id. at Tr. 183:11-17; Testimony of Douglas Johnson, Tr. 400:9-20.
462
    Video taken by Kenny Miller, “Nita is Shot Up”, Ex. 8.
463
    Testimony of Howard Miller, Tr. 185:10-13.
464
    Id. at Tr. 185:14-15; see Family Photos of Miller Attack Scene (Day), Ex. 18.
465
    Photos of Miller Family Remains, Taken by Douglas Johnson, Ex. 73.
466
    Testimony of Howard Miller, Tr. 186:5-14.


                                                       71
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 72 of 161




      285.          A piece of Howard feels as though it is missing after Rhonita’s death, as he testified:

         “I loved Rhonita with all of my heart; she was my everything. I’ve lost the person I was

         supposed to spend the rest of my life with and the mother to my children. I’m lost without

         her.”467

      286.          Howard continues to miss H.M. Jr.’s “company, kind heart and just the things [they]

         used to do together.”468 As for K.B.M, he misses “Everything. Her sweet smile. She's the

         most beautiful girl I've ever seen in my life.”469 Howard “will never get to see T.A.M. and

         T.G.M. take their first steps, or to hear them call [him] ‘Daddy.’ Th[is] pain is

         unbearable.”470

      287.          This pain, and hurt is ever-present in Howard’s eyes since the attacks.471 He is

         “numb”, “in shock,” and struggling “[b]e strong; be a man; be tough; keep [his] feelings

         inside.”472

      288.          Rhonita’s family also has noticed how this all has affected Howard. Adriana

         specifically told the Court how Howard goes to the gym constantly and will not drink

         coffee because of how bad his anxiety is, and she sees how much he is holding so much

         hurt and pain inside.473

      289.          Howard also reflected on the affect that this massacre has had, is having, and will

         continue to have on his surviving children.474 He knows they will hurt when they do not

         have their mother by their sides for big events like graduations, weddings, births of their



467
    Declaration of Howard Miller, Ex. 30 ¶ 53.
468
    Testimony of Howard Miller, Tr. 188:19-22.
469
    Id. at Tr. 188:23-25.
470
    Declaration of Howard Miller, Ex. 30 ¶ 56.
471
    Testimony of Douglas Johnson, Tr. 419:12-13.
472
    Testimony of Dr. Schuurman, Tr. 464:20 – 465:5.
473
    Testimony of Adriana Jones, Tr. 522: 1-12.
474
    Declaration of Howard Miller, Ex. 30, ¶¶ 54, 55.


                                                       72
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 73 of 161




         own children.475 He also sees their hurt the small moments they are missing: “the kids are

         missing out on the routine moments, too.”476

      290.       According to Howard’s father, Kenneth Miller, since the attacks Howard has

         “closed” “into himself” and whenever Mr. Miller has tried to speak with his son and see

         how he is doing, Howard “definitely [does not] want to talk about it.”477 As a result, to

         this day, Mr. Miller and his son have had only “surface” level discussions about what

         happened and have had “absolutely” zero “in-detail” conversations.478

      291.       Mr. Miller’s observation of his son being “closed into himself” was confirmed by

         the testimony of Douglas Johnson, who stated that after the attacks, Howard has “closed

         up” due to the pain and hurt that is ever-present and visible “in his eyes.”479

      292.       Dr. Schuurman also reflected on how Howard was doing. She stated that from her

         interviews with Howard and other family members, as well as the testimony she observed

         at trial, Howard’s coping mechanism is to internalize his feelings rather than to confide in

         someone. Such avoidance of his feelings may lead, in Dr. Schuurman’s expert opinion, to

         physical symptoms.480

      293.       Dr. Schuurman testified that Howard’s internalization of his feelings likely has

         something to do with how masculinity is portrayed in mainstream society as well as his

         smaller community. Dr. Schuurman believes that Howard feels the need to be strong for

         his children and not show his feelings.481 Dr. Schuurman opined that Howard’s behaviors




475
    Declaration of Howard Miller, Ex. 30 ¶ 55
476
    Id.
477
    Testimony of Kenneth Miller, Tr. 68:7-13.
478
    Id. at Tr. 68:20-21.
479
    Testimony of Douglas Johnson, Tr. 419:12-13.
480
    Testimony of Dr. Schuurman, Tr. 465:12-25, 466:1.
481
    Id. at Tr. 465:1-9.


                                                        73
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 74 of 161




         and symptoms are consistent with trauma reactions and PTSD, including dissociative

         reactions.482

      294.        Unfortunately, this places Howard at higher risk for longstanding emotional and

         physical difficulties.483

      295.        Mr. Miller has five solatium claims—one for his wife, and one for each of his four

         children murdered on November 4, 2019:

                           Havlish        Present Day solatium                    Present Day solatium
                           solatium       values, accounting for                  values, accounting
                           values         inflation (rounded to the               for inflation
                                          closest $100,000)484
      Spouse               $12,500,000.00 $15,300,000.00                          $15,300,000.00
      Parent               $8,500,000.00        $10,400,000.00                    $41,600,000.00485
      Total                                                                       $56,900,000.00



      296.        The Court addresses, infra., Plaintiffs’ request for an upward departure from these

         figures for Plaintiff Howard Miller for the loss of his wife Maria Rhonita LeBaron and the

         loss of his children—K.B.M., H.M. Jr., T.A.M., and T.G.M.

                           (b) T.M.

      297.        United States citizen486 and North Dakota Resident487 T.M. was born on March 22,

         2011. He was the third oldest of Howard and Rhonita’s seven children on November 3,

         2019.

      298.        But on November 4, 2019, everything shifted “in the family dynamics.”488


482
    Expert Report of Dr. Schuurman, Ex. 26_000011.
483
    Testimony of Dr. Schuurman, Tr. 465:21-24.
484
    https://www.bls.gov/data/inflation_calculator.htm
485
    $10,400,000.00 x 4 as Howard Miller lost four children on November 4, 2019.
486
    Declaration of Howard Miller, Ex. 30_000017
487
    Testimony of Howard Miller, Tr. 188:15-16.
488
    Testimony of Dr. Schuurman, Tr. 467:6-7.


                                                        74
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 75 of 161




      299.       “T.M. is now the oldest boy”489 because his mother, older brother (H.M. Jr.), older

         sister (K.B.M.) and youngest brother and sister (T.A.M. and T.G.M.) were, with wanton

         indifference to human life, murdered by the Defendant.

      300.       “T.M. [has] suffered the most”, “[a]nd he [has] suffered bad.”490 He was initially

         “crying himself to sleep for hours. He didn’t want to sleep alone. Even if he fell asleep

         alone, he would wake up and go”491 “pounding, … screaming, yelling”492 on the door of

         an adult’s bedroom door just to “crawl into the bed”493 next to them.

      301.       These “nightmares” are in addition to his being “afraid all the time,” being “scared

         to death at every noise” and his difficulty “coping” “when it gets dark.”494

      302.       In short, “[h]is sense of security is deep” and it is Dr. Schuurman’s expert opinion

         that “ultimately, that type of anxiety is not going to serve him well.”495

      303.       It is Dr. Schuurman’s expert opinion that T.M. “is suffering from symptoms

         consistent with [Post Traumatic Stress Disorder] PTSD … including recurrent distressing

         dreams related to the traumatic series of events that killed his mother and siblings, intense

         and persistent anxiety, and dissociative reactions. T.M. (like his father) appears to be

         ‘stuffing’ his feelings, and displaying anxiety, separation anxiety, and post-traumatic stress

         symptoms. While these responses are understandable given what he has experienced, the

         short-term as well as long-term impact will take a toll on his physical, emotional, and

         mental health.”496



489
    Id. at Tr. 467:5-6.
490
    Testimony of Douglas Johnson, Tr. 420:14, 17.
491
    Testimony of Dr. Schuurman, Tr. 468:1-3.
492
    Id. at Tr. 420:21.
493
    Id. at Tr. 420:24-25.
494
    Id. at Tr. 468:4; 468:12-15.
495
    Id. at Tr. 468:16:17.
496
    Expert Report of Dr. Schuurman, Ex. 26_000012.


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           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 76 of 161




       304.           T.M. has five distinct solatium claims—for the loss of his mother along with the

           loss of four of his siblings murdered on November 4, 2019.

                              Havlish       Present Day solatium              Present Day
                              solatium      values, accounting for            solatium values,
                              values        inflation (rounded to the         accounting for
                                            closest $100,000)497              inflation
              Child           $8,500,000.00 $10,400,000.00                    $10,400,000.00
              Sibling         $4,250,000.00 $5,200,000.00                     $20,800,000.00498
              Total                                                           $31,200,000.00



       305.           The Court addresses, infra., Plaintiffs’ request for an upward departure from these

           figures for Plaintiff T.M. for the loss of his mother Maria Rhonita LeBaron and four of his

           siblings. A similar request wil be discussed for each of the surviving children.

                             (c) A.M.

       306.           United States citizen499 and North Dakota resident500 A.M. was born on April 22,

           2014.501 She was the fourth oldest of Howard and Rhonita’s seven children.

       307.           Rhonita “played an important role in [A.M’s] life in terms of” “fostering … [her]

           interests, but also for her physical challenges to make sure that she was doing everything

           possible to help [A.M] be able to use her arm, her side of her body that has some

           paralysis.”502

       308.           A.M. has “cerebral palsy”503 which is affecting “the whole left side of her body.”504



497
      https://www.bls.gov/data/inflation_calculator.htm.
498
    $5,200,000.00 x 4, as T.M. lost four siblings on November 4, 2019.
499
    Declaration of Howard Miller, Ex. 30_000018.
500
    Testimony of Howard Miller, Tr. 188:15-16.
501
    Declaration of Howard Miller, Ex. 30, ¶ 10.
502
    Testimony of Dr. Schuurman, Tr. 469:2-6.
503
    Testimony of Howard Miller, Tr. 174:19.
504
    Id. at Tr. 174:21.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 77 of 161




      309.       And on November 4, 2019, A.M. “lost her mother, her caretaker, her protector”,505

         her oldest and youngest brothers and both of her sisters as a result of the depraved-evil

         hearts of the Defendant.

      310.       Rhonita was supposed to be there for A.M. as she “gr[e]w developmentally,

         everything from … all [her] successes, [her] recitals, [her] graduating from high school,

         [her] first dates, [her] getting attracted to a boy”; she was supposed to be there at “her

         wedding” and be a “grandmother” to A.M.’s children.506

      311.       A.M. will feel the pain and sorrow of her mother’s absence at all these events as

         she grows up.507 And while she is surrounded by a loving community, “[t]here’s a

         mother/daughter bond that no one else can completely fill.”508

      312.       Her loss will also, unfortunately, be compounded as she “struggle[s] with her

         physical disabilities and being different” because “sometimes kids can bully,” “be cruel to

         one another” or they may “just tease” her “as she goes through these different

         developmental ages.”509

      313.       It is Dr. Schuurman’s expert opinion that A.M. “is going to need specialized

         medical and psychological care as she grows up. Her mother was the driving force behind

         getting the physical therapy she needs, and although other family members have worked

         to help her, there is no substitute for her mother and her mother’s love. We know from

         studies of ‘motherless daughters’ that she will experience, and does already experience,

         estrangement from ‘feeling different’ from other girls who have their mothers. That,



505
    Declaration of Adriana Jones, Ex. 46, ¶ 38.
506
    Testimony of Dr. Schuurman, Tr. 469:19-25.
507
    Id. at Tr. 470:1; see also Declaration of Howard Miller, Ex. 30, ¶ 55 (A.M. will miss her mother making “cheesy
potatoes for her birthday”).
508
    Testimony of Dr. Schuurman, Tr. 470:3-4.
509
    Id. at Tr. 470:5-12.


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           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 78 of 161




           combined with her physical challenges, has been extremely difficulty and will continue to

           be an ongoing challenge as she grows through puberty and into adulthood.”510

       314.         A.M. has five distinct solatium claims—for the loss of her mother and four of her

           siblings who were murdered on November 4, 2019.

                         Havlish       Present Day solatium              Present Day solatium
                         solatium      values, accounting for            values, accounting for
                         values        inflation (rounded to the         inflation
                                       closest $100,000)511
        Child            $8,500,000.00 $10,400,000.00                    $10,400,000.00
        Sibling          $4,250,000.00 $5,200,000.00                     $20,800,000.00512
        Total                                                            $31,200,000.00



                             (d) Z.M.

       315.         United States citizen513 and North Dakota resident514 Z.M. was born on September

           22, 2016.515 He was fifth oldest of Howard and Rhonita’s children.

       316.         Z.M. was three years old when the Cartel brutally murdered his mother and four

           brothers and sisters.

       317.         Following his mother’s and siblings’ funerals, Z.M. asked his grandmother,

           Plaintiff Shalom Tucker, “Grandma, can we go and check and see if my mom’s in her room

           now?”516 And due to his age, there is a common misconception that he did not or could not




510
      Expert Report of Dr. Schuurman, Ex. 26_000013.
511
      https://www.bls.gov/data/inflation_calculator.htm.
512
    $5,200,000.00 x 4, as A.M. lost four siblings on November 4, 2019.
513
    Declaration of Howard Miller, Ex. 30_000019.
514
    Testimony of Howard Miller, Tr. 188:15-16.
515
    Declaration of Howard Miller, Ex. 30, ¶ 10.
516
    Testimony of Adriana Jones, Tr. 524:7-8.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 79 of 161




         understand and recognize the gravity of what happened and what was going on, thus the

         reason for the question.517

      318.      But as Dr. Schuurman testified, “if we as adults learned as many new words a day

         as your average three-year-old, we’d all be geniuses. So while [Z.M. couldn’t] verbalize as

         well” at three, he was certainty “observing” and “taking in what’s going” on.518

      319.      Irrespective of what Z.M. understood at “three, as he grows older, he will learn

         more and more and understand better what happened to his mother and siblings.”519 This

         will lead, in Dr. Schuurman’s expert opinion, to a feeling of being “cheated” for Z.M. “as

         opposed to [his] older siblings” because he will not “necessarily have memories of” his

         other and siblings.520 “People can show photos and they can talk about [Z.M.’s] mother

         and siblings,” but unlike T.M and A.M, Z.M will not “have the same memories.”521

      320.      It is Dr. Schuurman’s expert opinion that Z.M. “is incorporating the masculine

         stereotype that ‘men don’t cry’ as well as the ‘revenge attitude’ of getting ‘the bad guys.’

         Z.M. will need assistance to channel his anger and frustration in positive ways, as well as

         getting nurturing that he would have received from his mother. Z.M. appears to have

         internalized the ‘be strong’ and ‘keep it inside’ coping of his father and older brother T.M.,

         and the research suggests that children who do so are at risk for greater adverse

         outcomes.”522

      321.      It is also the expert opinion of Dr. Schuurman that the death of his brothers and

         sisters “carries high risk factors for [Z.M.] to have psychological, emotional, and relational



517
    Testimony of Dr. Schuurman, Tr. 470:15-21; Expert Report of Dr. Schuurman, Ex. 26_000013.
518
    Testimony of Dr. Schuurman, Tr. 470:22-471:2.
519
    Id. at Tr. 471:3-5.
520
    Id. at Tr. 471:8-10.
521
    Id. at Tr. 471:10-12
522
    Expert Report of Dr. Schuurman,Ex. 26_000013.


                                                     79
           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 80 of 161




           challenges throughout [his] lifetime[]. … Under these circumstances (horrific, mutilation

           [,] destruction [of his family]), the risk for the development of traumatic memories, images,

           and post-traumatic stress is elevated[ and] … is something [Z.M.] will struggle with as [he]

           grow[s] into adolescence and adulthood.”523

       322.         Z.M. has five distinct claims for solatium—for the loss of his mother and four of

           his siblings who were all killed on November 4, 2019:

                               Havlish       Present Day solatium                  Present Day solatium values,
                               solatium      values, accounting for                accounting for inflation
                               values        inflation (rounded to the
                                             closest $100,000)524
              Child            $8,500,000.00 $10,400,000.00                        $10,400,000.00
              Sibling          $4,250,000.00 $5,200,000.00                         $20,800,000.00525
              Total                                                                $31,200,000.00



                             (e) Adrian LeBaron-Soto and Bathseba Shalom Tucker

       323.         Adrian LeBaron-Soto and Batheseba Shalom Tucker are Maria Rhonita LeBaron’s

           father and mother and H.M. Jr., K.B.M., T.M., A.M., Z.M., T.A.M and T.G.M.’s maternal

           grandfather and grandmother.526

       324.         To Mr. LeBaron-Soto, his daughter “was perfect in every sense of the word. She

           was intelligent, passionate, beautiful, honest and caring. [He] trusted Nita and her

           judgment.”527 She was inquisitive, asked a lot of questions and that helped “buil[d] a very

           strong relationship between [Mr. LeBaron-Soto] and [Rhonita].”528



523
      Expert Report of Dr. Schuurman, Ex. 26_000014 (internal citation omitted).
524
      https://www.bls.gov/data/inflation_calculator.htm.
525
    $5,200,000.00 x 4, as Z.M. lost four siblings on November 4, 2019.
526
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 2; Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 3.
527
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 8.
528
    Testimony of Adrian LeBaron-Soto, Tr. 198:19-22.


                                                          80
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 81 of 161




      325.       Rhonita and her mother also had “a very special relationship.”529 Rhonita and Ms.

         Tucker “would share secrets with one another.”530

      326.        “While Nita’s family was growing, she always reminded [her mother], her father

         and her brothers and sisters how much she loved and cared about [them]. She would

         surprise [them] with visits, call and leave voice mails just to tell [them] that she loved

         [them] and was thinking about [them].”531

      327.       “Watching Nita grow as a mother was a blessing” to her mother who also stated

         that to her daughter, “family was the single most important thing in the world.”532

      328.       The last time Mr. LeBaron-Soto saw his daughter was on her birthday, which also

         happens to be Mexican Independence Day.533 Rhonita wanted to celebrate the day with her

         father; so, they went to the local plaza where there was a ceremony and the band started

         playing one of Mr. LeBaron-Soto’s favorite songs to which he and Rhonita danced and

         laughed.534

      329.       On November 4, 2019, approximately three and a half hours away from La Mora

         just outside of Colonia LeBaron,535 Mr. LeBaron-Soto and Ms. Tucker were together at a

         gas station when they first learned that something may have gone wrong with Rhonita and

         the kids.536




529
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 8
530
    Id.
531
    Id. at ¶ 13.
532
    Id. at ¶¶ 14, 16.
533
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 20.
534
    Testimony of Adrian LeBaron-Soto, Tr. 199:11 – 200:2; Declaration of Adrian LeBaron-Soto, Ex. 36, Exhibit D.
535
    Testimony of Kenneth Miller, Tr. 44:2.
536
    Testimony of Adrian LeBaron-Soto, Tr. 200:10-23.


                                                      81
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 82 of 161




      330.       “Immediate disbelief and shock set in.”537 “It was like hitting a brick wall.”538 Mr.

         LeBaron-Soto and Ms. Tucker “immediately began driving to where” their daughter and

         grandchildren had last been seen and known to be traveling.539 However, due to the security

         concerns they were twice stopped and the drive which should “have taken three hours …

         ended up taking an agonizing 8+ hours.”540

      331.       During this time, Mr. LeBaron-Soto and Ms. Tucker had seen the videos and heard

         the audio WhatsApp messages541 of what had happened to their daughter and grandchildren

         in the mountains and had received phone calls from their children pleading with them not

         to go542; Mr. LeBaron-Soto’s response to it all – “if [you] wanted to pray for [me], [] pray

         for [me] but [] [I] [am] going to get [my] baby girl.”543 Ms. Tucker’s response – “We have

         to do it. We have to go in there. Nobody else is going to go get them. Nobody else is going

         to, we have to go.”544 They “were going in regardless the cost to save [their] family.”545

      332.       Because of the direction they were traveling, the first scene they arrived at was

         where Christina, Dawna, T.L. and R.L. had been murdered and it was like “a scene from

         the worst horror movie [one] could imagine. Christina’s door was open, and she was lying

         in a pool of blood, dead in the middle of the road.”546




537
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 21.
538
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 21.
539
    Id.
540
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 22.
541
     Video taken by Kenny Miller “Nita is Shot Up”, Ex. 8; Testimony of Adrian LeBaron-Soto, Tr. 202:6-22;
WhatsApp from Kenny Miller, “Julian call Nitas Parents”, Ex. 74.
542
    Testimony of Adriana Jones, Tr. 508:11-12.
543
    Id. at 508:12-14.
544
    Id. at 508:16-18.
545
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 24.
546
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 26; Family Photos of Christina Langford Attack Scene, Ex. 20.


                                                      82
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 83 of 161




      333.       After a short time at the scene of Christina and Dawna’s attack on the “[p]itch black,

         no moon”547 evening around approximately 11:00p.m., Mr. LeBaron-Soto and Ms. Tucker

         arrived “at Nita’s car and what [they] couldn’t see, [they] could feel. [They] could feel, and

         smell the horrible crime scene. [They] could feel the death and destruction that had

         bestowed [their] family. From that moment [Mr. LeBaron-Soto’s] life was shattered.”548

      334.       Ms. Tucker continues to this day to smell “the fire and smoke” emanating from her

         family’s remains and vehicle that evening.549

      335.       Mr. LeBaron-Soto and Ms. Tucker were soon thereafter asked by authorities to

         leave the scene that evening550 and believed that they were prepared to see the scene in the

         day light— they were not.551

      336.       Mr. LeBaron-Soto described that what he saw “was horrible, it was sickening; [he]

         cannot imagine a more gruesome scene for a father and family to have to encounter and

         because of [his, and his family’s] religious beliefs and the authorities inaction – [he], [his]

         wife and family were forced to do the unconscionable, collect [their] families bones and

         ashes.”552

      337.       Mr. LeBaron-Soto and Ms. Tucker had to try to “piece-by-piece, bone-by-bone,

         collect [their] daughter and grandchildren.”553




547
    Testimony of David Langford, Tr. 340:10.
548
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶31; see Family Photos of Miller Attack Scene (Evening), Ex. 19;
Declaration of Bathsheba Shalom Tucker, Ex. 37_000027-32.
549
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 36.
550
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 34; Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 39.
551
    Id. at ¶¶ 35, 36.
552
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 37; Testimony of Adrian LeBaron-Soto, Tr. 223:7-10; see also
Declaration of Adrian LeBaron-Soto, Ex. 36_000046-63; Family Photos of Miller Attack Scene (Day), Ex. 18.
553
    Declaration of Bathsheba Shalom Tucker, Ex. 37, ¶ 41, Ex. 37_000034-51.


                                                      83
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 84 of 161




      338.      “Worse yet, it appears as if Nita and the kids knew they were going to die. H.M. Jr.

         was found half-in/half-out of the vehicle. … K.B.M. knew of and appreciated the danger

         she and her family were in.”554

      339.      Ms. Tucker could not process then, nor can she today, “the fear [her family] felt

         and the pain that they endured. It breaks [Ms. Tucker’s] heart thinking about this. At the

         same time, [Ms. Tucker] can’t not think about what happened and how it happened.”555

      340.      This horrible nightmare got even darker for Mr. LeBaron-Soto and his family

         because once they collected Rhonita and the children’s bones and ashes, they cleaned and

         prepared their bodies for burial.556

      341.      And just when it could not get any worse, Howard’s father said “the saddest

         thing”557 at the funeral – there were no bodies left “to touch, dress and kiss one last time;

         the sicarios [the Defendant] and their calloused evil stole” that from him and his family.558

      342.      Mr. LeBaron-Soto feels as though he “died on th[e] mountain”559 with Rhonita and

         his grandchildren and in order to deal with that, he feels “compelled to act on behalf of

         [his] daughter and all who were killed.”560

      343.      His compulsion, however, according to Dr. Schuurman does not, and will not,

         shield him from “more depressive symptoms, poorer wellbeing, more health problems and




554
    Id. at ¶¶ 43, 44.
555
    Id. at ¶ 45.
556
    Testimony of Adrian LeBaron-Soto, Tr. 224:20-24; see Photos of Miller Family Remains Taken by Douglas
Johnson, Ex. 73; Declaration of Bathsheba Shalom Tucker, Ex. 37_000057.
557
    Testimony of Adrian LeBaron-Soto, Tr. 225:24.
558
    Declaration of Adrian LeBaron-Soto, Ex. 36, ¶ 42; Ex. 76.
559
    Id. at ¶ 40.
560
    Testimony of Dr. Schuurman, Tr. 482:19-21.


                                                   84
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 85 of 161




         more marital conflict.”561 It is Dr. Schuurman’s expert opinion, that Mr. LeBaron-Soto is

         at risk for “enduring stress” and “anxiety”.562

      344.        Dr. Schuurman further stated that, in her opinion, she does not “think there’s really

         anything worse for a mother or a father than having a child die in such a horrific way.”563

         Ms. Tucker has “suffered from nightmares and trouble sleeping and trouble regulating

         emotion and anger, and all of those things … can be really challenging.”564

      345.        The sights and smells Mr. LeBaron-Soto and Ms. Tucker endured as two of the first

         individuals to both attack scenes, given that it was their family must have been of

         unconscionable weight and disturbance.

      346.        There is no question, based on the moving testimony, affidavits, expert reports, and

         evidence submitted in this case, that Mr. LeBaron-Soto and Ms. Tucker were close with

         their daughter and grandchildren and that they miss them greatly. Plaintiffs submit that it

         was agonizingly painful for Mr. LeBaron-Soto and Ms. Tucker to 1) see, smell and feel the

         scene of where their family was massacred; 2) have to collect their family’s remains and

         ashes from the scene and 3) have to clean and prepare their families remains for burial.

      347.        Furthermore, compounding their pain, Mr. LeBaron-Soto and Ms. Tucker initially

         believed their family was kidnapped, thus they were forced not only “to cope with the grief

         that follows the loss of a loved one, but—at the time of the event—w[ere] also forced to

         endure unending anxiety and an extended period of extreme distress over the health and

         safety of their captive family member[s].”565




561
    Id. at 483:22-24.
562
    Id. at 484:7-16.
563
    Id. at 482:7-9.
564
    Id. at 482:10-13.
565
    Warmbier, 356 F.Supp.3d at 59 (internal citation and quotations omitted).


                                                         85
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 86 of 161




      348.       Since Rhonita and her children’s death, Mr. LeBaron-Soto has followed a path of

         advocacy for victims of cartel violence to cope with his grief—what Dr. Schuurman called

         “instrumental” coping.566      This advocacy places him in (bodily) danger and causes his

         family to worry about him constantly.567 Mr. LeBaron-Soto has also acknowledged that

         the attacks have affected his relationship with his wife, Shalom, and his other children.568

         He thinks about Rhonita and his grandchildren a lot, especially knowing H.M. Jr. tried to

         escape the car—the whole thing is very powerful over him.569

      349.       Having examined closely the facts of this particular case, Mr. LeBaron-Soto and

         Ms. Tucker should be awarded solatium damages in line with those issued in Warmbier v.

         Democratic People’s Rep. of Korea, 356 F. Supp. 3d 20, 59 (D.D.C. 2018), adjusted for

         inflation.570 The values in Warmbier for parent solatium claims was $15,000,000.00, and

         adjusted for the 12% inflation since the Warmbier case was decided, the Court awards

         solatium damages in the amount of $16,800,000.00 each to Adrian LeBaron-Soto and

         Bathseba Shalom Tucker for the loss of their daughter Maria Rhonita LeBaron on

         November 4, 2019. No request for an upward departure has been requested for these

         awards.

                         (f) Rhonita’s Siblings— Rholena “Lian” Johnson, Melissa Conklin,
                             Adriana Jones, Laura LeBaron, William LeBaron, Ruthila
                             LeBaron, Dayer LeBaron, Miguel LeBaron, Javier LeBaron, and
                             Matthew LeBaron

      350.       As stated supra, Rhonita Maria LeBaron’s ten siblings are Plaintiffs in this case—

         Rholena Lian Johnson, Melissa Conklin, Adriana Jones, Laura Corina LeBaron, William


566
    Testimony of Dr. Schuurman, Tr. 482:14-22.
567
    Testimony of Adrian LeBaron-Soto, Tr. 231:5-25, 232:1-9.
568
    Id.
569
    Id. at Tr. 232:10-14.
570
    Inflation has risen approximately 12% since Warmbier was decided in December 2018 to February 2022.
https://www.bls.gov/data/inflation_calculator.htm


                                                      86
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 87 of 161




         LeBaron, Ruthila LeBaron, Dayer LeBaron, Miguel LeBaron, Javier LeBaron, and

         Matthew LeBaron.

      351.       There is not enough ink “to somehow express the relationships” between Rhonita

         and each of her siblings “because they were so deep, and [the LeBaron’s] just are a really

         united family that saw each other often. That made the effort to be with each other all the

         time. That talked to each other every day.”571

      352.       Rhonita and her siblings shared many experiences. Rhonita and her sisters shared

         many memories such as, shared pregnancies.572 They “told each other everything, and

         always discussed” their hopes and dreams.573 Lian, Melissa, Adriana, Corina, Ruthila, and

         Rhonita were each other’s “best friends.”574

      353.       Rhonita and her brothers had “an unspoken bond and connection”.575 Rhonita also

         helped her mother raise her younger brothers.576 She and her brothers “did almost

         everything together—school, chores, work and play.”577

      354.       Rhonita’s siblings were scattered all over the globe on November 4, 2019, when

         they learned Rhonita and the children “had been brutally murdered.”578 Lian and Matthew

         were in Colonia LeBaron579; Melissa and Ruthila were in Utah580; Adriana was in Canada

         for her 20th wedding anniversary581; Corina was in Minnesota582; William was in Italy



571
    Testimony of Adriana Jones, Tr. 500:7-10.
572
    Declaration of Rholena Lian Johnson, Ex. 47, ¶ 9; Testimony of Adriana Jones, Tr. 496:18-22.
573
    Declaration of Laura Corina LeBaron, Ex. 39, ¶ 5.
574
    Id. at ¶ 3; Declaration of Ruthila LeBaron, Ex. 44 ¶ 7.
575
    Declaration of William LeBaron, Ex. 41 ¶ 5.
576
    Testimony of Dayer LeBaron, Tr. 89:22 – 90:22; Declaration of Miguel LeBaron, Ex. 40, ¶¶ 4-5; Declaration of
Javier LeBaron, Ex. 42, ¶ 4; Declaration of Matthew LeBaron, Ex. 38, ¶ 7.
577
    Declaration of William LeBaron, Ex. 41 ¶ 4.
578
    Declaration of Rholena Lian Johnson, Ex. 47, ¶ 21.
579
    Id ; Declaration of Matthew LeBaron, Ex. 38, ¶ 6.
580
    Declaration of Melissa Conklin, Ex. 45, ¶ 12; Declaration of Ruthila LeBaron, Ex. 44 ¶ 11.
581
    Testimony of Adriana Jones, Tr. 506:7-8, Declaration of Adriana Jones, Ex. 46, ¶ 16.
582
    Declaration of Laura Corina LeBaron, Ex. 39, ¶ 10.


                                                       87
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 88 of 161




         celebrating his mother-in-law’s 60th birthday583; Dayer was in Texas584; and Miguel and

         Javier were in Colorado585. They all rushed to La Mora, Mexico to be together as a family

         and to be the “first responders” they had grown up to be.586

      355.       There was a lot of confusion in the beginning, no one really knowing what had

         happened. At first, they were unsure if “Nita and the kids had been taken hostage”. 587 As

         time passed, the gravity of the situation became clear.588

      356.       As they pieced together the information from WhatsApp messages589 and began to

         arrive at the scene, they all learned the gruesome and “horrific”590 nature of the murders of

         their sister, nieces, and nephews—they were shot at by countless Cartel members and

         intentionally burned alive.591

      357.       After the bodies of Rhonita and the children were collected from the scene by the

         LeBarons, each sibling assisted in the preparation of the bodies for the funeral—cleaning

         the bones and/or assisting in constructing caskets, and placing Rhonita, H.M. Jr., K.B.M.,

         T.A.M. and T.G.M.’s remains into their caskets.592




583
    Declaration of William LeBaron, Ex. 41, ¶ 9.
584
    Declaration of Dayer LeBaron, Ex. 43, ¶ 11.
585
    Declaration of Miguel LeBaron, Ex. 40, ¶¶ 16-17; Declaration of Javier LeBaron, Ex. 42, ¶ 12.
586
    Testimony of Adriana Jones, Tr. 508:19-24.
587
    Declaration of Adriana Jones, Ex. 36, ¶ 17; Testimony of Dayer LeBaron, Tr. 77:10-15; Declaration of Matthew
LeBaron, Ex. 38, ¶ 10.
588
    Declaration of Ruthila LeBaron, Ex. 44 ¶ 11.
589
    Id. at¶ 14; Declaration of William LeBaron, Ex. 41, ¶ 11; Declaration of Melissa Conklin, Ex. 45, ¶ 13;
Declaration of Rholena Lian Johnson, Ex. 47, ¶ 21.
590
    Declaration of Miguel LeBaron, Ex. 40, ¶ 14.
591
    Testimony of Dr. Schubl, Tr. 156:9; 160:1; Declaration of Matthew LeBaron, Ex. 38, ¶ 10; Rhonita LeBaron
1006 Summary Chart, Ex. 14; Mexican Government Apostille 2 Ex. 4 T_000153.
592
    Testimony of Douglas Johnson, Tr. 417:23-418:5; Declaration of Melissa Conklin, Ex. 45, ¶ 14; Testimony of
Adriana Jones, Tr. 515: 3-7, 16-21; Declaration of Laura Corina LeBaron, Ex. 39, ¶ 12; Declaration of William
LeBaron, Ex. 41, ¶ 12; Declaration of Ruthila LeBaron, Ex. 44 ¶ 15; Testimony of Dayer LeBaron, Tr. 117:10;
Declaration of Miguel LeBaron, Ex. 40, ¶ 19; Declaration of Matthew LeBaron, Ex. 38, ¶ 14.


                                                       88
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 89 of 161




      358.       Every day since, Lian’s husband sees the pain in her eyes593 as the November 4,

         2019, massacre has “changed everything” forever.594 Lian now only travels “during

         daylight hours” and lives in constant fear of “being kidnapped and held for ransom.”595

      359.       Melissa recalled a Christmas family tradition, and how it changed after the murders:

         “Every Christmas, to open a present, you have to sing. We always would go in age order.

         In 2019, the first Christmas without her, her absence was profoundly felt. As we passed

         around the mic that morning, my younger brother did not have his little sister, Rhonita, to

         sing after him. Every Christmas it is a reminder of her murder and the piece that is missing

         in our family.”596

      360.       In describing her grief after losing Rhonita and the children, Adriana testified: “So

         now there's all this, ‘How do we be more like Nita,’ you know. How do we -- how do we

         rise above our grief and that just paralyzing grief to be present in these moments because

         they matter so much. And we know we could be gone tomorrow, like, we really, really

         know, but it's so hard to rise above what you're feeling in that moment to be present for

         them.”597

      361.       Corina now lives “in constant fear” which has resulted in her inability to be “the

         mother or wife” she needs to be for her family, and her to “wonder what the point of

         dreaming is when it all can end so suddenly.”598

      362.       The deaths have affected William’s own relationships—he treasures them more but

         is afraid to burden his wife “with his emotions.”599 As William stated: “I am able to still be


593
    Id. at Tr. 422:4.
594
    Declaration of Rholena Lian Johnson, Ex. 47, ¶ 26
595
    Id. at ¶¶ 27, 28.
596
    Declaration of Melissa Conklin, Ex. 45, ¶ 10.
597
    Testimony of Adriana Jones, Tr. 504:3-9.
598
    Declaration of Corina LeBaron, Ex. 39, ¶¶ 19, 20.
599
    Declaration of William LeBaron, Ex. 41, ¶¶ 18-19.


                                                        89
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 90 of 161




         present with my children, but their relationship with other family members have changed.

         Not only did they lose an aunt and cousins, but they also lost their relationship with their

         grandparents. It is something that upsets me whenever I think about it.”600

      363.       Ruthila describes losing her “better half”601 and believes that she has yet to “fully

         grieve” what happened because “[i]t is a daily pain” she lives with but the guilt is profound,

         and wallowing in sadness is inescapable.602

      364.       Since November 4, 2019, Dayer has felt “unimaginable pain and just sadness from

         deep inside [his] soul”603 leaving him unable to “get a good night’s sleep. [He] would have

         to watch TV until [he] fell asleep. If [he] turned the TV off” he would “just start thinking

         about [the attack] and sometimes be up until four in the morning just contemplating what

         had occurred.”604

      365.       As Miguel put it, “[t]o this day, I still feel profound sadness and grief over her

         death. I find it hard to think about memories I had with her, as it makes me feel sad to

         know I will never make another memory with her. Every time I try to talk about her, I

         choke up and want to cry…”605

      366.       Javier and Rhonita were “extremely close” and in constant communication.606 After

         her death, and to this day, he continues to face “psychological, emotional, and relational

         challenges,”607 discussed by Dr. Schuurman.




600
    Id. ¶ 20.
601
    Declaration of Ruthila LeBaron, Ex. 44 ¶ 7.
602
    Id. at ¶ 17.
603
    Testimony of Dayer LeBaron, Tr. 77:18-21.
604
    Id. at Tr. 122:2-6.
605
    Declaration of Miguel LeBaron, Ex. 40, ¶ 25.
606
    Declaration of Javier LeBaron, Ex. 42, ¶¶ 4, 7.
607
    Expert Report of Dr. Schuurman, Ex. 26_000014.


                                                      90
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 91 of 161




      367.       And Matthew, the youngest of Rhonita’s siblings, no longer has his “second

         mother”608 who “frequently checked” on him to make sure he was pursuing his dreams.609

      368.       The Defendant’s depraved murder of Rhonita, H.M. Jr., K.B.M., T.G.M., and

         T.A.M. has “broke[n] the root of [their] support system” and caused “profound sadness”610

         that each one of them feel each and every day.

      369.       Dr. Schuurman, in her expert report, states that “[l]osing a sibling means the loss

         of a companion, confidante, role model, and friend. Siblings’ identities are intricately

         connected because they share similar histories so that when of them dies, the survivors

         essentially lose part of themselves.”611

      370.       The Havlish value for solatium damages for a sibling is $4,250,000.00, and adjusted

         for inflation,612 this amount rises to $5,200,000.00.

      371.       Difficult as it may be, “[b]efore plaintiffs can be awarded any relief” it is the

         obligation of the Court to ensure that Plaintiffs have “establish[ed] their claims by evidence

         satisfactory to the [C]ourt.”613

      372.       As shown infra, all ten of Rhonita LeBaron siblings have established their claims

         and each shall be awarded the relief they seek.

      373.       The Court addresses, infra., Plaintiffs’ request for an upward departure from these

         figures for Plaintiffs Rholena “Lian” Johnson, Melissa Conklin, Adriana Jones, Laura

         Corina LeBaron, William LeBaron, Ruthila LeBaron, Dayer LeBaron, Miguel LeBaron,

         Javier LeBaron, and Matthew LeBaron for the loss of their sister Maria Rhonita LeBaron.


608
    Declaration of Matthew LeBaron, Ex. 38, ¶ 3.
609
    Id. at ¶ 9.
610
    Declaration of Melissa Conklin, Ex. 45, ¶ 16-18.
611
    Expert Report of Dr. Schuurman, Ex. 26_000018 (internal citation and quotations omitted).
612
    Inflation has risen approximately 23% since Havlish was decided in July 2012 to February 2022.
https://www.bls.gov/data/inflation_calculator.htm.
613
    Flanagan , 87 F.Supp.3d at 114.


                                                       91
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 92 of 161




                     (2) Family of Christina Langford

                          (a) Tyler Johnson

      374.       When Plaintiff Tyler Edward Johnson first met Christina Langford, she “captured”

         him with her beauty and presence, Mr. Johnson would later say that it was “love at first

         sight.”614 Their love for one another grew exponentially quickly, and after just a few short

         months of dating, they were engaged and married.615

      375.       On February 14, 2007,616 before “[b]etween one and two hundred” people at Mr.

         Johnson’s mother’s house in Mexico, Tyler and Christina were married.617 This year, 2022,

         would have been Tyler and Christina’s fifteenth (15) wedding anniversary.

      376.       The District Court for the County of Cass, North Dakota recognized this marriage

         and “declared” on October 11, 2021, that Mr. Johnson is “the common law spouse of the

         decedent Christina Marie Langford.”618 Tyler was subsequently “appointed Personal

         Representative of the Estate of Christina Marie Langford.”619

      377.       Shortly after their wedding Tyler and Christina moved to Missouri where he

         worked “doing dry wall finishing on an Air Force base.”620 It was not all work and no fun

         though, as Tyler and Christina enjoyed camping, hiking, and fishing together. Christina

         may have been a better fisherman than Tyler, but as long as they were together and

         outdoors, they were happy.621




614
    Testimony of Tyler Johnson, Tr. 354:2-5.
615
    Id. at Tr. 354:6-9.
616
    Id. at Tr. 354:9.
617
    Testimony of Amelia Sedgwick, Tr. 240:20-25.
618
    Declaration of Tyler Johnson, Ex. 31_000013 (Judgment of Cass County District Court).
619
    Id. at Ex. 31_000016 (Letters of Administration).
620
    Testimony of Tyler Johnson, Tr. 355:7.
621
    Id. at Tr. 355:15 – 356:14.


                                                       92
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 93 of 161




      378.        Their happiness went to new levels one week shy of their first wedding

         anniversary—February 7, 2008—when their first child, their baby girl, C.J., was born.622

         Tyler and Christina would proceed to have a total of six (6) children together—J.J., a boy

         born on January 18, 2010; T.J. Jr., a boy born on July 24, 2012; H.J. a boy born on February

         4, 2015; E.J. a boy born on March 1, 2017; F.M.J. a girl born on April 9, 2019.623 Because

         they were both from big families, it was important to Tyler and Christina to have a large

         family of their own; Christina “wanted to have as many kids as God would send her.”624

      379.        Tyler worked in North Dakota and various other states, on the oil fields or doing

         construction, in order to provide for his family and allow Christina to be a stay-at-home,

         “very loving mother” to their children.625 Christina’s love for their children was “fierce.”626

         She was protective of their children, she “wanted [their] children to learn to be obedient

         and to be responsible and to love one another and to know God. Wanted them to be good

         people. She wanted to teach them that. She homeschooled them and didn’t like them

         watching TV. She didn’t want them playing video games. She didn’t want them eating junk

         food.”627 Christina was “[v]ery, very attentive” to the needs of her children.628

      380.        In the weeks before the November 4, 2019 massacre, Tyler was making

         arrangements so that he and his family could start their new lives together in North

         Dakota.629 This included, among other things: renting a house, furnishing it and, organizing




622
    Declaration of Tyler Johnson, Ex. 31, ¶ 9.
623
    Id. at ¶ 10.
624
    Testimony of Tyler Johnson, Tr. 358:17-20.
625
    Id. at Tr. 352:1-7, Tr. 355:6-14; Declaration of Tyler Johnson, Ex. 31, ¶¶ 11, 16-17.
626
    Testimony of Amelia Sedgwick, Tr. 242:9-10.
627
    Id. at Tr. 242:10-15.
628
    Id. at Tr. 242:19-20.
629
    Id. at Tr. 361:20-24.


                                                          93
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 94 of 161




         a business to make sure that he had a job and that his family would be provided for when

         they made the move.630

      381.        Tyler returned to Colonia LeBaron in the latter part of October 2019 to harvest the

         pecans in their orchard before he and his family moved to North Dakota.631 It was in this

         orchard on November 4, 2019, where the terror for Tyler first began632 with the

         bombardment of questions such as: “have you heard from your wife?”, “where is

         Christina?”, “did Christina get there to LeBaron?” “Where’s Christina, have you texted

         her, has she called you, it’s been a while.”633

      382.        Trying on the exterior to remain calm, the alarm bells and panic inside Tyler were

         going off as his WhatsApp messages and calls to Christina “weren’t going through.” This

         terror would metastasize into a five-alarm fire as minutes felt like hours634 for Tyler as he

         soon learned that “Rhonita and her kids had been killed.”635

      383.        Tyler did everything he could imagine to try and locate his wife and daughter,

         F.M.J. (who was traveling with Christina because she was still nursing at the time). He sent

         additional messages, he tried to track the vehicle using its built-in OnStar system and he

         even tried calling the government for answers and help.636 But while sitting on the balcony

         at his mother’s house, Tyler learned where they were and what had happened as he

         overheard an audio message to his mother which said, “Christina and her baby are dead.”637




630
    Id. at Tr. 362:6-15.
631
    Id. at Tr. 362:21-363:1; Declaration of Tyler Johnson, Ex. 31, ¶ 24.
632
    Testimony of Tyler Johnson, Tr. 365:21-24.
633
    Id. at Tr. 366:3-15; Declaration of Tyler Johnson, Ex. 31, ¶ 25.
634
    Declaration of Tyler Johnson, Ex. 31, ¶ 27.
635
    Testimony of Tyler Johnson, Tr. 366:12-24.
636
    Id. at Tr. 367:7-126.
637
    Id. at Tr. 367:20-368:6.


                                                          94
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 95 of 161




      384.       Tyler immediately stood up, “exited off the balcony,” “went and gathered all [his]

         children” and “locked [himself and his children] in the closet in one of the bedrooms and

         just fell apart.”638 But his children did not know why their father was deteriorating before

         their eyes, so he had to tell them that the unimaginable had occurred and that their mother

         and sister were dead as a result.639

      385.       Through the darkness, there was light as Tyler learned, “a good three hours”640

         later, that his daughter, F.M.J. was not dead but in-fact, she was alive.641 Due to the pain

         and chaos of the day, however, Tyler was skeptical and “didn’t want to get [his] hopes up”

         so he asked for proof, which he received via a “selfie” of Shalom Tucker holding F.M.J..642

      386.       F.M.J. was left alone, strapped in her bullet-riddled car seat for “a good eight, nine

         hours” without food and water, but she was alive, and when Mr. Johnson finally saw her a

         few days later, “[i]t was probably one of the happiest moments” of his life. When held her

         in his arms he “felt more joy that [he] probably [has] ever felt”.643

      387.       Before being reunited with his youngest daughter, Tyler stopped at the scene644

         where his wife had been murdered, and after the gravity of the situation passed and his

         clarity was regained, Tyler needed to answer two overarching questions.

      388.       First, he wanted to determine where the Cartel unleashed their hail of bullets and

         based upon “the way it looked on [Christina’s] vehicle it definitely showed that the bullets

         came from high above on the right. All of the bullets came in from an angle on the right




638
    Id. at 368:21-25.
639
    Declaration of Tyler Johnson, Ex. 31, ¶ 31.
640
    Testimony of Tyler Johnson, Tr. 375:24.
641
    Declaration of Tyler Johnson, Ex. 31, ¶ 32.
642
    Id.; Testimony of Tyler Johnson, Tr. 369:12-16; Family Photo of Shalom Tucker and F.M.J., Ex. 22.
643
    Testimony of Tyler Johnson, Tr. 375:21-376:1.
644
    Mexican Government Apostille 2, Ex. 4_000319, 320, 324, 328.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 96 of 161




         passenger’s side.”645 So, he hiked up the mountainside—this is after Mexican authorities

         had processed the scene—and found where the Cartel fired their bullets upon his wife and

         daughter. Tyler testified that he continued to find bullet casings and rounds for months

         after the attack on this hillside.646

      389.       Second, Mr. Johnson wanted to determine if this was an accident i.e., could the

         Defendant determine from where they shot whether it was a woman and child in Christina’s

         vehicle. Tyler measured the distance from where the shots were fired to Christina’s vehicle

         to be approximately 140 – 175 yards647, a distance consistent with the Mexican authorities’

         findings,648 and from this distance one could “very clearly” “see who was in the vehicles

         and if it was women and children.”649

      390.       Back in La Mora, “Christina needed to be embalmed because her body began to

         decompose quickly, and her funeral was not set to be held for another few days.”650 Mr.

         Johnson “didn’t think that the first time [he and his wife] went in a helicopter ride would

         be” so that Christina could be embalmed.651

      391.       Following Christina’s funeral, Mr. Johnson has “lost interest in a lot of things;” he

         doesn’t “want to go to [his] farms” or “to golf” because “[i]t’s hard to find joy in things

         following the attack. These days, [he is] just trying to keep it together for [his] kids and to

         help them move forward.”652




645
    Testimony of Tyler Johnson, Tr. 373:17-20.
646
    Id. at Tr. 373:21-374:7.
647
    Id. at Tr. 375:5-10.
648
    Christina Langford 1006 Summary Chart, Ex. 12_000001.
649
    Testimony of Tyler Johnson, Tr. 375:10-11.
650
    Declaration of Tyler Johnson, Ex. 31, ¶ 38.
651
    Testimony of Tyler Johnson, Tr. 376:24-25, 377:1
652
    Id. at ¶¶ 46, 47.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 97 of 161




      392.       Mr. Johnson’s “pain is palpable.”653 “He has regret and guilt about why he let

         Christina go back to get the passports rather than doing it himself,” he plays the

         “woulda/coulda/shoulda” stuff all the time”, and it is Dr. Schuurman’s expert opinion that

         Mr. Johnson “is experiencing symptoms of PTSD” as well as “Major Depressive Disorder,

         including loss of energy, diminished interest in activities (known as anhedonia), depressed

         mood, feelings of detachment from others, persistent inability to experience positive

         emotions, and self-blame.”654

      393.       At trial, Tyler testified:

                 I miss just having someone, a companion, someone around to talk to,
                 confide in. Someone to help me raise my kids and I miss her, her smile. Just
                 being able to -- I really miss listening to her play the piano. It's one of my
                 favorite things is just to lay on the couch and fall asleep while she plays the
                 piano; she played the most beautiful music. I miss seeing her with my kids
                 and how she treated them, how she loved them so much. The attention she
                 would give them and the patience she had with them.655

      394.       After Christina’s death, Tyler has tried to make special events more important,

         knowing his children are missing their mom.656

      395.       “Considering the extraordinarily tragic circumstances”657 surrounding the murder

         of Mr. Johnson’s wife on November 4, 2019, and following a thorough review of his

         declaration, his testimony, testimony of his mother-in-law and Dr. Schuurman’s expert

         report; Plaintiffs submit that Mr. Johnson has suffered, and will continue to suffer, “the

         exact sort of acute feeling of permanent loss or change caused by [Christina’s] absence that

         warrants an upward departure” from the standard Havlish valuation.658



653
    Expert Report of Dr. Schuurman, Ex. 26_000014.
654
    Id. at 000014-15
655
    Testimony of Tyler Johnson, Tr. 381:12-23.
656
    Id. at Tr. 359:21 - 360:1.
657
    Havlish, 2012 U.S. Dist. LEXIS 110673, at *105-*106.
658
    Oveissi, 768 F. Supp. 2d at 29-30.


                                                      97
         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 98 of 161




      396.       The Havlish value for solatium damages for a spouse is $12,500,000.00, and

         adjusted for inflation,659 this amount rises to $15,300,000.00.

      397.       The Court addresses, infra., Plaintiffs’ request for an upward departure from these

         figures for Plaintiff Tyler Johnson for the loss of his wife Christina Langford and the belief

         that he had lost his daughter F.M.J. in the attack.

                          (b) Solatium Damages for Tyler and Christina’s Six Children

      398.       On November 4, 2019, the Defendant not only brutally murdered Christina

         Langford but it also stole approximately “50.2 years”660 of precious, beautiful moments

         and memories that Christina and her children C.J., J.J., T.J. Jr., H.J., E.J., and F.M.J. would

         have undoubtably shared and left these children motherless and “with continuing and

         persistent symptoms of trauma and grief, including depression, anger, sadness, anxiety,

         helplessness, and hopelessness.”661

      399.       While C.J., J.J., T.J. Jr., H.J., E.J., and F.M.J. may be experiencing/displaying

         similar types of grief, every child has a “different personality,” is a different age, and

         therefore, necessarily will, and does, have different amounts and types of grief.662

                              i. C.J.

      400.       Tyler and Christina’s children are “trying to hide their feelings and they’re trying

         to act like they’re okay.”663 For example, C.J. “goes into the closet in her bedroom and

         cries. She doesn’t want people to see her crying. She doesn’t want to show how she’s

         feeling.”664 Dr. Schuurman testified that “there is a commonality in children that they want


659
    Inflation has risen approximately 23% since Havlish was decided in July 2012 to February 2022.
https://www.bls.gov/data/inflation_calculator.htm.
660
    Expert Report of Dr. Stan Smith, Ex. 27_000008.
661
    Expert Report of Dr. Schuurman, Ex. 26_000010.
662
    Testimony of Dr. Schuurman, Tr. 475:17.
663
    Id. at Tr. 474:3-5.
664
    Id. at Tr. 474:6-9.


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         Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 99 of 161




         their parent to feel better. They don’t want to add to their pain. … So it's not unusual for

         them to want to hide their feelings, to want to look like they’re okay because in their minds

         often it’s, like, that’s a way I can be helpful.”665

      401.       In Dr. Schuurman’s expert opinion, C.J. is exhibiting symptoms “consistent with

         PTSD including diminished interest in activities, feeling of detachment or estrangement

         from others, avoidance, and dissociative reactions” which will “take a physical and

         emotional toll on [C.J] over time.”666

      402.       C.J., who just turned 14 years old in February was once an upbeat girl, now

         frequently breaks down and cries because she does not understand why this happened.667

         She has been described as becoming very quiet and kind of numb since the attack.668 Ms.

         Sedgwick, C.J.’s grandmother, described C.J. as becoming more introverted and shy, not

         wanting to speak to anyone except her friends.669 Dr. Schuurman believes that C.J. does

         not want to add to the burden that her father is feeling, and her way of doing that is hiding

         her emotions.670 C.J. has also lost joy she used to find in playing piano, likely because of

         the association it has to her mother.671 Dr. Schuurman stated that C.J. seems to also be

         suffering from the detachment and diminished interest Tyler is feeling.672




665
    Id. at Tr. 474:15-23.
666
    Expert Report of Dr. Schuurman, Ex. 26_000015, 17.
667
    Declaration of Elizabeth Langford, Ex. 33 ¶ 16.
668
    Expert Report of Dr. Schuurman, Ex. 26_000015; Testimony of Dr. Schuurman, Tr. 474:5-11.
669
    Declaration of Amelia Sedgwick, Ex. 32 ¶ 35; Testimony of Amelia Sedgwick, Tr. 258:11-23.
670
    Testimony of Dr. Schuurman, Tr. 474:3-25.
671
    Expert Report of Dr. Schuurman, Ex. 26_000015; Testimony of Dr. Schuurman, Tr. 538:24-25, 539:1-2.
672
    Id. at Tr. 475:1-12.


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        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 100 of 161




                              ii. J.J.

      403.       J.J. was nine (9) years old when Christina was murdered,673 and he “was very

         angry” following her death.674 He would “lose[] his temper [and], throw fits” frequently,

         which in Dr. Schuurman’s expert opinion, is consistent with “PTSD, including irritable

         behavior and angry outbursts, verbal and physical aggression toward others, problems with

         concentration, reckless behavior, and depressed mood.”675 Unfortunately, the difficulties

         J.J. has faced, and the symptoms he is experiencing, have been made worse by “bullying

         from other kids.”676 While J.J. appears to be doing better now,677 finding constructive

         channels to express his emotions will be a lifelong challenge for J.J.678

                              iii. T.J. Jr.

      404.       Like his older brother, T.J. Jr.—seven (7) years old when Christina was murdered—

         has also been, following the death of his mother, teased by the other children and defiant

         when given instruction;679 contrary to what his mother tried to teach him.680 In short, T.J.

         Jr. has been a bit of “Dennis the Menace” in that he does things he knows that he should

         not do but does them anyways irrespective the cost.681 As T.J. Jr. grows older, he will

         experience “a recurring loss” “as literally a piece of [him] is missing that can’t be filled.”

         Dr. Schuurman concluded that T.J. Jr. is at high risk for “PTSD, including diminished




673
    Declaration of Amelia Sedgwick, Ex. 32, ¶ 36.
674
    Testimony of Amelia Sedgwick, Tr. 258:25.
675
    Expert Report of Dr. Schuurman, Ex. 26_000015.
676
    Testimony of Dr. Schuurman, Tr. 475:23-24.
677
    Testimony of Amelia Sedgwick, Tr. 259:3-12.
678
    Testimony of Dr. Schuurman, Tr. 476:9-16.
679
    Expert Report of Dr. Schuurman, Ex. 26_000015
680
    Testimony of Amelia Sedgwick, Tr. 242:10-11 (Christina “wanted her children to learn to be obedient and to be
responsible”).
681
    Testimony of Dr. Schuurman, Tr. 476:21-24.


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        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 101 of 161




         interest or participation in events, feelings of detachment or estrangement from others, and

         reckless behavior.”682

                             iv. H.J.

      405.       “From everything that H.J. does and says, he shows [everyone] that he is very sad,

         heartbroken. He was really attached to his mom … [and] [d]ifferent family members have

         caught him in Tyler and Christina’s bedroom kissing a picture of his mom on various

         occasions.”683 H.J., for the first several months following the attack, would not let his father

         out of his sight because of the significant fear that he would not come back.684 Dr.

         Schuurman opined that H.J. “is displaying symptoms of PTSD as outlined in the APA’s

         guidelines for children 6 years and younger, including recurrent, involuntary, and intrusive

         distressing memories of the traumatic death of his mother” “and dissociative reactions.”685

         Such high levels of anxiety and need for security, as such an early age, if not properly

         addressed may become chronic issues for H.J.686

                             v. E.J.

      406.       E.J. was two-years-old and “was very close to Christina” when she was

         murdered.687 He “[a]lways had to be right next to Christina on her lap or tight next to her.

         Wherever she was, she took him because he would not be left behind. And just having her

         gone from one minute to the next” “after the funeral” was “heart wrenching just because

         [E.J.] was so traumatized and he was so distraught. He just cried trying to let [his grand-

         mother, Amelia Sedgwick] know that he wanted his mom.”688


682
    Expert Report of Dr. Schuurman, Ex. 26_000016.
683
    Declaration of Amelia Sedgwick, Ex. 32, ¶ 38.
684
    Testimony of Dr. Schuurman, Tr. 477:18-20.
685
    Expert Report of Dr. Schuurman, Ex. 26_000016.
686
    Testimony of Dr. Schuurman, Tr. 477:21-23.
687
    Testimony of Amelia Sedgwick, Tr. 260:16-17.
688
    Id. at Tr. 260:18-25.


                                                     101
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 102 of 161




      407.       E.J. grew angry with his grandmother because she “wouldn’t go get [his mother],

         wouldn’t take him to her” and so, “the first night was an hour or two of him just crying and

         crying and screaming and crying and [Ms. Sedgwick] just held him, wouldn’t let him go.

         [Even though] [h]e wanted to just fight [Ms. Sedgwick] and run away. [She] wouldn’t let

         him go. [She] just held him and cried with him until he finally tried to settle down a little

         bit and went to sleep.”689

      408.       The issues and fears E.J. experience in the days and months immediately following

         his mothers murder, persist to this day. “On a recent road trip, [E.J. and his family] stopped

         at a store in Chihuahua where some National Guard vehicles and members had parked. E.J.

         enter the store panicked that they were going to shoot him. Another time when [he] saw

         the Federales (federal police) he asked, ‘are they going to shoot us?”690 It is Dr.

         Schuurman’s expert opinion that “[a]lthough E.J. is young, he is acutely aware of what

         happened to his mother and … is exhibiting anxiety and PTSD-related symptoms. While

         his anxiety is in some ways well-founded, carrying that king of anxiety has potential long-

         term physical and emotional harm.”691

                              vi. F.M.J.

      409.       F.M.J., who survived the attack in her carseat, similar to the other young children

         affected, will have no memories of her mother, which will affect her throughout her

         lifetime.692 F.M.J. does not remember her mother and sometimes refers to her grandmother,

         Ms. Sedgwick, as mom.693 Dr. Schuurman also discussed that F.M.J.’s grief and suffering




689
    Id. at Tr. 261:1-9.
690
    Expert Report of Dr. Schuurman, Ex. 26_000016.
691
    Id.
692
    Testimony of Dr. Schuurman, Tr. 479: 12-14.
693
    Declaration of Amelia Sedgwick, Ex. 32 ¶ 40; Testimony of Amelia Sedgwick, Tr. 261:17-25, 262:1-7.


                                                     102
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 103 of 161




         will be compounded by her coming to terms with the fact that she was involved in, and

         survived, the attack.694 Dr. Schuurman explained that society can put pressure on “miracle

         children,” such as F.M.J., to perform in ways that are not consistent with their

         personality.695 It is something that will present itself as she gets older.696

      410.       Again, it bears mentioning that C.J., J.J., T.J. Jr., H.J., E.J., and F.M.J. were

         between the ages of twelve and seven months when their mother was violently taken from

         them. They no longer have the opportunity to build new memories with their mother or

         have her present at their weddings, graduations, births of their children, or other key life

         events. They will also no longer be able to experience the love, support, and guidance their

         mother would provide for them.

      411.       As Dr. Schuurman stated in her report, “[t]here is no measure valid or reliable

         enough to fully calculate the depth of the loss” these children “have experienced through

         the traumatic murder[] of their mother. For the rest of their lives, they will grieve and miss

         their mother’s presence and [her] affection, support, protection, comfort, care, advice,

         assistance, solace, companionship. No one can fully ‘replace’ [Christina’s] role[] as

         mother[] and caretaker[] for [her] children, no matter how much love and support surrounds

         them. ”697

      412.       C.J., J.J., T.J. Jr., H.J., E.J., and F.M.J. each have distinct solatium claims arising

         from the murder of their mother on November 4, 2019.




694
    Testimony of Dr. Schuurman, Tr. 479:20-23.
695
    Id. at Tr. 480:3-6.
696
    Id. at Tr. 480: 3-11.
697
    Expert Report of Dr. Schuurman, Ex. 26_000017.


                                                     103
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 104 of 161




                                    Havlish         Present Day solatium values, accounting
                                    solatium values for inflation (rounded to the closest
                                                    $100,000)698
             Child                  $8,500,000.00   $10,400,000.00



      413.       The Court addresses, infra., Plaintiffs’ request for an upward departure from these

         figures for Plaintiffs C.J., J.J., T.J. Jr., H.J., E.J., and F.M.J. for the loss of their mother

         Christina Langford.

                         (c) Amelia Sedgwick

      414.       Plaintiff Amelia Sedgwick is Christina Langford’s mother.699 Ms. Sedgwick and all

         her children—five of whom are Plaintiffs in this case (Estate of Christina Langford,

         Elizabeth Langford, Serina Langford, Isaac Langford and E.L.)—are United States

         Citizens.700

      415.       Christina was a “super happy,” “[f]un and mischievous” child growing up.701 As a

         child, Christina liked to cut her own hair, help her mother with her brothers and sisters by

         covering them, their “crib, the walls, everything, her[self]” with “diaper ointment.”702 But

         she would help “sweep[] and mop[] the floors” afterwards because even at a young age

         “[s]he was responsible.”703




698
     Inflation has risen approximately 23% since Havlish was decided in July 2012 to February 2022.
https://www.bls.gov/data/inflation_calculator.htm.
699
    Declaration of Amelia Sedgwick, Ex. 32, ¶ 4.
700
    Testimony of Amelia Sedgwick, Tr. 234:20-21, 235:15-25; Amelia Sedgwick’s Children’s Passports, Ex. 15.
701
    Id. at Tr. 237:4-6.
702
    Id. at Tr. 237:7-11
703
    Id. at Tr. 239:21-25.


                                                   104
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 105 of 161




      416.       Christina fell “head-over-heels in love with [Tyler].”704 Shortly thereafter, on

         February 14, 2007, Christina married “her first boyfriend”705 at Mr. Johnson’s parents’

         house in Colonia LeBaron in a beautiful ceremony before 100-200 people.706

      417.       Fifty-one (51) weeks later, on February 7, 2008, Christina would give birth to her

         first child C.J. and she and her mother would share an impactful, cathartic moment. Her

         mother was present for the births of all of Christina’s children.707

      418.       Ms. Sedgwick loved her grandchildren but her relationship with them “was

         different then than it is now.”708 To say 2019 was a difficult year for Ms. Sedgwick and her

         family would be an understatement but for the first ten (10) months of the year there was

         one constant, Christina’s love and support.

      419.       In January 2019, Ms. Sedgwick’s son-in-law died in an unexpected plane crash and

         “the pain of seeing [her] daughter suffer and [her] sons who were very, very close to Alvin

         and Wesley who died that day was probably the hardest thing [Ms. Sedgwick] ever

         experienced at that point in [her] life as a mother.”709 But Christina was there and “was so

         supportive.”710

      420.       A few months later, Ms. Sedgwick’s husband and Christina’s father, contracted an

         “intestinal flu” and died within moments of reaching the hospital.711 But again, Christina

         was there. Every day “[s]he’d bounce through the door, ‘I’m here, Mom. What do you want

         to do today? [W]hatever she did it was to cheer people up, to bring some sunshine, to bring



704
    Declaration of Amelia Sedgwick, Ex. 32, ¶ 9.
705
    Id.
706
    Id. at ¶ 10; Testimony of Amelia Sedgwick, Tr. 240:19-25.
707
    Id. at Tr. 242:7-8.
708
    Id. at Tr. 242:24-25.
709
    Id. at Tr. 243:16-244:1.
710
    Id. at Tr. 244:5.
711
    Id. at Tr. 244:9-18.


                                                       105
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 106 of 161




         something positive. To lend support and if [Ms. Sedgwick] wasn’t feeling good or was

         down, she would put her arm around [Ms. Sedgwick] and say, ‘I’m so sorry, Mom.’”712

      421.       Ms. Sedgwick was the town schoolteacher in La Mora and on November 4, 2019,

         at 10:00 a.m. school started.713 Shortly after it began, Ms. Sedgwick’s days of being a

         teacher ended. Approximately twenty minutes into her lesson plan, someone ran into the

         classroom and told Amelia “that there was a car, that it was burning and that it what

         Rhonita’s vehicle.”714 Ms. Sedgwick “tried to call [Christina] over WhatsApp, but she

         didn’t answer.”715 She then reached out to Tyler and asked that he contact her if he heard

         from Christina.716

      422.       The terror of anticipation lasted all day for Ms. Sedgwick until “around sundown”

         when D.L. returned to La Mora and told everyone that his mother and Christina were

         dead.717 When she learned her daughter had been murdered, and assumed F.M.J. was also

         dead, Ms. Sedgwick was “devastated”718 because “when you lose one of your children, it’s

         a whole different story.”719

      423.       A glimmer of hope arrived when the earlier reports of F.M.J’s death were

         inaccurate. F.M.J. was alive—there was “joy” and “relief” on this most disastrous day.720

      424.       Christina was “loaded [] into the back of [a] pickup and carried” into Ms.

         Sedgwick’s house, “into [her] room and laid” “on a table.” Ms. Sedgwick and her daughters




712
    Id. at Tr. 244:25-245:7.
713
    Declaration of Amelia Sedgwick, Ex. 32, ¶ 16.
714
    Id.; Testimony of Amelia Sedgwick, Tr. 247:21-24.
715
    Id. at Tr. 249:20-250:1.
716
    Id.
717
    Declaration of Amelia Sedgwick, Ex. 32, ¶ 24.
718
    Testimony of Amelia Sedgwick, Tr. 251:10-11; 250:21.
719
    Id. at Tr. 254:3-4.
720
    Id. at Tr. 252:9-10.


                                                     106
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 107 of 161




         “cleaned [Christina] up and dressed her and combed her hair and washed her up….”721 Ms.

         Sedgwick slept by Christina’s body that evening.722

      425.       Ms. Sedgwick has now assumed the role of “mother” to C.J., J.J., T.J. Jr., H.J., E.J.

         and F.M.J.—a “difficult” process that has been “physically and mentally draining.”723

      426.       Ms. Sedgwick has “suffered from nightmares and trouble sleeping and trouble

         regulating emotion and anger” since her daughter’s murder.724 Dr. Schuurman testified that

         she could not imagine “anything worse for a mother … than having their child die in such

         a horrific way.”725 As a result, it is Dr. Schuurman’s expert opinion that Ms. Sedgwick is

         at risk for “more depressive symptoms, poorer wellbeing, more health problems” and

         “enduring distress” which may manifest in heightened “anxiety” and “fear.”726

      427.       Based upon Ms. Sedgwick’s gripping testimony and declaration, declarations from

         her children and Dr. Schuurman’s expert report and testimony, Plainitffs submit that Ms.

         Sedgwick was close with and misses her daughter immensely. Ms. Sedgwick endured the

         agonizing pain of receiving her daughter’s body, cleaning her, preparing her, packing her

         with ice and sleeping next to her on November 4, 2019.

      428.       As such, and having examined closely the facts of this particular case, Ms.

         Sedgwick should be awarded solatium damages in line with those issued in Warmbier v.

         Democratic People’s Rep. of Korea, 356 F. Supp. 3d 20, 59 (D.D.C. 2018), adjusted for

         inflation.727 The values in Warmbier for parent solatium claims was $15,000,000.00, and


721
    Id. at Tr. 254:11-16.
722
    Declaration of Amelia Sedgwick, Ex. 32, ¶¶ 30, 31.
723
    Testimony of Amelia Sedgwick, Tr. 256:12-15; see also Tr. 258:11 – 262:7 (testimony of how the children are
doing and their relationship with Ms. Sedgwick); Declaration of Amelia Sedgwick, Ex. 32 ¶¶ 33-40 (same).
724
    Testimony of Dr. Schuurman, Tr. 482:10-11.
725
    Id. at Tr. 482:7-9.
726
    Id. at Tr. 483:23-484:16.
727
    Inflation has risen approximately 12% since Warmbier was decided in December 2018 to January 2022.
https://www.bls.gov/data/inflation_calculator.htm


                                                      107
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 108 of 161




         adjusted for the 12% inflation since the Warmbier case was decided, the Court awards

         solatium damages in the amount of $16,800,000.00 to Plaintiff Amelia Sedgwick for the

         tragic loss of her daughter Christina Langford on November 4, 2019. Plaintiffs do not seek

         a request for an upward departure for Ms. Sedgwick’s judgment.

                          (d) Christina’s Siblings—Elizabeth Langford, Serina Langford, Isaac
                              Langford, and E.L.

      429.       As stated supra, four of Christina’s younger siblings—Elizabeth Langford, Serina

         Langford, Isaac Langford and E.L.—are Plaintiffs in this case. This section addresses their

         claims for solatium damages arising from the murder of their sister.

      430.       E.L., a minor under the guardianship of Amelia, Elizabeth Langford, and Serina

         Langford are Christina’s sisters728 and Isaac Langford is Christina’s brother.729

      431.       Christina, Isaac, Elizabeth, Serina and E.L., on paper were separated; but in reality,

         they were “very close,” “best friends,” each other’s confidants, connected and always

         interested in what each other were doing.730 This included among other things, Christina’s

         participation in Elizabeth’s wedding, daily check-ins on the “sisters chat” or getting

         together and spending time together over the holidays.731

      432.       Serina and Christina’s “thing” together was writing music and playing the piano

         together while Christina’s children danced in the living room.732 Because of this, Serina

         began to teach approximately “thirty (30) kids, ages three to fifteen, to dance” “three times

         a week” at the local dance studio.733 “Now, instead of preparing lesson plans” for her


728
    Declaration of Amelia Sedgwick, Ex. 32, ¶¶ 3-4; Declaration of Elizabeth Langford, Ex. 33, ¶1; Declaration of
Serina Langford, Ex. 34, ¶ 1.
729
    Declaration of Isaac Langford, Ex. 35, ¶ 3.
730
    Id. at ¶ 3; Declaration of Serina Langford, Ex. 34, ¶ 7; Declaration of Elizabeth Langford, Ex. 33, ¶¶ 3,7.
731
    Declaration of Isaac Langford, Ex. 35, ¶ 3; Declaration of Serina Langford, Ex. 34, ¶ 7; Declaration of Elizabeth
Langford, Ex. 33, ¶7.
732
    Declaration of Serina Langford, Ex. 34, ¶¶ 4, 5.
733
    Id. at ¶ 6.


                                                        108
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 109 of 161




         students, Serina spends her time helping her mom and her family with raising Christina’s

         children and “trying to restore some balance” to their lives.734

      433.       Elizabeth and Christina bonded, and had “a running joke,” over the birth of F.M.J.

         Elizabeth was present for the birth of F.M.J., the first person F.M.J. saw when she came

         into this world, and as a result, Elizabeth came to be known as F.M.J.’s “pseudo-mom.”735

         As a result of the Defendant’s brutal murder of Christina, the “joke” has become a reality

         as Elizabeth has been forced to “assum[e] the daunting task of trying to fill [Christina’s]

         shoes” and try and be F.M.J.’s mother.736

      434.       Isaac and Christina spoke weekly about their lives and what was going on.737 While

         E.L.’s relationship with Christina was different. Because of their age difference, E.L. was

         “raised pretty much as an only child” that didn’t like it when Christina’s kids came over

         and got “into her bedroom and into her things.”738 But Christina “was always such a

         sweetheart and a gem”, and E.L. and Isaac miss her terribly.739

      435.       E.L. was in class in La Mora with her mother, Serina was in La Mora, Elizabeth

         was in Wisconsin, and Isaac was in North Dakota, when the earth-shattering news first

         came in that “Nita’s truck had been blown up.”740 This caused Serina to become “violently

         ill and spike[] a fever,” and the rest of the day became a blur for Elizabeth.741




734
    Id.
735
    Declaration of Elizabeth Langford, Ex. 33, ¶ 8.
736
    Id. at ¶ 14.
737
    Declaration of Isaac Langford, Ex. 35, ¶ 3; Testimony of Amelia Sedgwick, Tr. 239:14-16.
738
    Testimony of Amelia Sedgwick, Tr. 257:4-10.
739
    Declaration of Isaac Langford, Ex. 35, ¶ 3.
740
    Testimony of Amelia Sedgwick, Tr. 249:9-10; Declaration of Serina Langford, Ex. 34, ¶ 12; Declaration of
Elizabeth Langford, Ex. 33, ¶ 9; Declaration of Isaac Langford, Ex. 35, ¶ 5.
741
    Declaration of Serina Langford, Ex. 34, ¶ 14; Declaration of Elizabeth Langford, Ex. 33, ¶ 10.


                                                      109
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 110 of 161




      436.       Several hours later, their fears, anxieties, and “now illness,” were “all magnified

         upon learning of Christina’s death.”742 Ms. Sedgwick, E.L,. and Serina “almost all three

         collapsed” upon hearing the news, and Serina’s illness, grief, and sadness, had grown so

         significant that she was “bed-ridden” for the rest of the evening.743 Their family will forever

         have “this ‘black cloud’ surrounding” them.744

      437.       The loss has impacted the siblings in additional ways: E.L. sold her horse (which

         she had saved up for),745 moved from La Mora, and went from being the equivalent of an

         only child to having Christina’s six children in the home with her.746 But E.L. has said to

         Ms. Sedgwick, “those are Christina’s kids, and they need us, Mom.”747 Isaac purchased

         Christina and Tyler’s home in La Mora, and he refuses to part with Christina’s piano.748

         Elizabeth struggles with trying to figure out how to care for all the children, her mom, and

         Tyler without it feeling like she is trying to replace Christina.749            Serina feels like her

         “home is forever shattered” by the attack and Christina’s death.750

      438.       It is Dr. Schuurman’s expert opinion that “the death of a sibling can have profound

         implications for surviving brothers and sisters” because “[l]osing a sibling means the loss

         of a companion, confidante, role model, and friend. Siblings’ identities are intricately

         connected because they share similar stores, histories so that when one of them dies, the

         survivors essentially lose a part of themselves.”751 As a result, it is Dr. Schuurman’s expert



742
    Declaration of Serina Langford, Ex. 34, ¶ 16.
743
    Testimony of Amelia Sedgwick, Tr. 243:22; Declaration of Serina Langford, Ex. 34, ¶ 16.
744
    Declaration of Serina Langford, Ex. 34, ¶ 20.
745
    Testimony of Amelia Sedgwick, Tr. 257:14-15.
746
    Declaration of Amelia Sedgwick, Ex. 32, ¶¶ 33, 43.
747
    Id. at ¶ 43.
748
    Declaration of Isaac Langford, Ex. 35, ¶ 8.
749
    Declaration of Elizabeth Langford, Ex. 33, ¶ 21.
750
    Declaration of Serina Langford. Ex. 34, ¶ 20.
751
    Expert Report of Dr. Schuurman, Ex. 26_000018.


                                                      110
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 111 of 161




         opinion that Elizabeth Langford, Serina Langford, Isaac Langford and E.L. are at risk for

         “serious physical and mental health problems” including “somatic symptoms, depression,”

         “sense of isolation and alienation from others,” and “elevated mortality risk.”752

      439.       Dr. Schuurman’s expert opinion that—as result of the Defendant’s violent murder

         of their sister Christina—Elizabeth Langford, Serina Langford, Isaac Langford and E.L.

         are at “high risk” of “hav[ing] psychological, emotional, and relational challenges

         throughout their lifetimes” which may include, but is not limited to, “the development of

         traumatic memories, images, and post-traumatic stress symptoms.”753

      440.       The Havlish value for solatium damages for a sibling is $4,250,000.00, and adjusted

         for inflation,754 this amount rises to $5,200,000.00.

      441.       The Court addresses, infra., Plaintiffs’ request for an upward departure from these

         figures for Plaintiffs Elizabeth Langford, Serina Langford, Isaac Langford, and E.L. for the

         loss of their sister Christina Langford on November 4, 2019.

                      (3) Family of Dawna Ray

      442.       Solatium damages, like damages for pain and suffering, are by their very nature

         unquantifiable.”755 As outlined above, courts have developed a commonly accepted

         standardized framework for awarding solatium damages to family members of deceased

         victims. Courts award half these amounts to family members of persons who are injured

         rather than killed.756 Accordingly, where the victim does not die, but instead suffers only

         injury, spouses receive $6.25 million, parents and children receive $4.25 million, and



752
    Id. at 26_000018-19.
753
    Id. at 26_000014.
754
    Inflation has risen approximately 23% since Havlish was decided in July 2012 to February 2022.
https://www.bls.gov/data/inflation_calculator.htm.
755
    Moradi v. Islamic Rep. of Iran, 77 F. Supp. 3d 57, 72 (D.D.C. 2015).
756
    Moradi, 77 F. Supp. 3d at 72.


                                                       111
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 112 of 161




         siblings receive $2.125 million.”757 These amounts are merely the baseline and may be

         subject to upward or downward adjustments as appropriate under the circumstances.758

      443.       The Langford family members claiming solatium damages arising from the murder

         of Dawna Ray are David Langford, Crystal Langford, Brandy Spenst, Joseph Cole

         Langford, Bryce Langford, K.L., D.L., M.L., C.L. X.L., J.L., B.L., Karen Woolley, Jaremy

         Ray, James Ray, Justin Ray, Jonathan Ray, Kerah Ray, and Amber Ray.

      444.       The Langford family members claiming solatium damages arising from the murder

         of T.L. and R.L. are David Langford, Crystal Langford, Brandy Spenst, Joseph Cole

         Langford, Bryce Langford, K.L., D.L., M.L., C.L. X.L., J.L., and B.L.

      445.       The Langford family members claiming solatium damages arising from injuries of

         the children present at the massacre are David Langford, Crystal Langford, Brandy Spenst,

         Joseph Cole Langford, Bryce Langford, K.L., D.L., M.L., C.L., X.L., J.L., and B.L.

                     (a) David Langford

      446.       On the day of the attack, David Langford was in Phoenix assisting a family

         member.759 While running errands, David received a Whatsapp message of a burning

         vehicle, but without any context, the burning vehicle alone did not concern him.760 Shortly

         after, David received a message from Kenny Miller that Rhonita’s vehicle had been

         intentionally set ablaze.761 David immediately jumped into his vehicle and began the eight-

         hour drive to La Mora, Mexico.762




757
    Id.
758
    Id.
759
    Testimony of David Langford, Tr. 328:16-18.
760
    Id. at Tr. 328:20-24.
761
    Id. at Tr. 328:24-329:1.
762
    Id. at Tr. 329:1-5


                                                  112
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 113 of 161




      447.        During the drive, David prayed that Dawna and his children had somehow avoided

         the attack, but Dawna failed to respond to any of David’s messages.763 Assuming the worst,

         David feared that he had lost Dawna and his nine children to an attack.764 Even after David

         arrived in Mexico, he “was preparing [himself] mentally for most likely what happened to

         [his] family.”765 As David traveled with the military to find the location of the attack, he

         received a call that the Cartel had murdered Dawna, an older child, and a younger child.766

         David had three hours to consider which of his children he would have to live without for

         the rest of his life.767

      448.        When David reached the site of the attack three hours later, he opened the front

         door of Dawna’s vehicle to find her dead, slumped over the steering wheel.768 Dawna’s

         lifeless body had been in that position for hours.769 David then opened the back door to

         find his “precious” T.L. “in a fetal position” and “blown to bits.”770 He also knew that

         inside the vehicle lay his baby, R.L., “full of holes and shot up.”771 But David’s nightmare

         did not end here. David next learned that M.L. was missing and his other children had

         sustained life-threatening injuries.772

      449.        Entering the hospital in Mexico where his children lay injured and crying was like

         walking into a military hospital; “it was horrific.”773 Because the hospital could not provide

         the required critical care, David and his injured children traveled by helicopter to the United


763
    Id. at Tr. 329:20-330:18.
764
    Id. at Tr. 332:7-9.
765
    Id. at Tr. 333:19-22.
766
    Id. at Tr. 334:23-335-3.
767
    Id. at Tr. 335:1-8.
768
    Id. at Tr. 336:3-10.
769
    Id. at Tr. 336:9.
770
    Id. at Tr. 336:10-15.
771
    Id. at Tr. 336:12-15.
772
    Id. at Tr. 336:16-19; 337:1-4.
773
    Id. at Tr. 339:1-12.


                                                   113
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 114 of 161




         States.774 During the 40-minute flight, B.L. laid on David bleeding from his chest wound,

         X.L. leaned on David bleeding from his shoulder, while C.L. received urgent medical

         attention in effort to keep him alive.775 Even after they arrived at the hospital and his injured

         children were stabilized, David endured anguish over his separation from D.L. and J.L.

         who remained in Mexico. 776 They had witnessed the murders of their mother and siblings,

         yet David could not console them while he attended to his other children’s injuries.777

      450.       Since the attack, David has moved his surviving children from their family home

         to the United States.778 C.L. continues to recover from his physical injuries, requiring

         ongoing treatment.779 All the surviving children exhibit signs of psychological trauma, such

         as refusing to sleep alone in their rooms, experiencing nightmares, and showing a trigger

         response to loud noises.780 David focuses on healing his children’s suffering instead of

         addressing his own grief and pain.781

      451.       The loss of T.L. and R.L. has caused David immense personal suffering and

         stripped his daily life of joy.782 He misses T.L.’s and R.L.’s companionship and mourns

         the fact that he never had the opportunity to watch T.L. and R.L. grow into young men.783

      452.       Accordingly, the court awards David Langford for solatium damages for the deaths

         of T.L. and R.L. and the injuries to his other children in the values set forth in Havlish and

         adjusted for inflation in the total amount of $57,200,000.00.



774
    Id. at Tr. 339:12-16.
775
    Id. at Tr. 340:7-18.
776
    Id. at Tr. 342:24-343:4.
777
    Id.
778
    Declaration of David Langford, Ex. 66, at 35.
779
    Id. at 39.
780
    Id. at 41-42.
781
    Testimony of David Langford, at Tr. 349-50:17-11.
782
    Declaration of David Langford, Ex. 66, at 48.
783
    Id. at 47.


                                                        114
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 115 of 161




 David Langford                                      Havlish solatium             Present Day solatium values,
 Solatium Claims                                     values                       accounting for inflation
                                                                                  (rounded to closest $100,000)
 T.L (deceased)                                      $8,500,000.00                $10,400,000.00
 R.L. (deceased)                                     $8,500,000.00                $10,400,000.00
 K.L. (physical and emotional injury)                $4,250,000.00                $5,200,000.00
 M.L. (physical and emotional injury)                $4,250,000.00                $5,200,000.00
 C.L. (physical and emotional injury)                $4,250,000.00                $5,200,000.00
 X.L. (physical and emotional injury)                $4,250,000.00                $5,200,000.00
 B.L. (physical and emotional injury)                $4,250,000.00                $5,200,000.00
 D.L. (emotional injury)                             $4,250,000.00                $5,200,000.00
 J.L. (emotional injury)                             $4,250,000.00                $5,200,000.00
 Total                                               $46,750,000                  $57,200,000.00


                      (b) K.L., D.L., M.L., C.L., J.L., X.L., and B.L.

      453.        As described in detail herein, K.L., D.L., M.L., C.L., J.L., X.L., and B.L., witnessed

         the murders of their mother, T.L., and R.L. They deeply miss their mother’s comfort and

         love, and they miss T.L.’s and R.L.’s companionship.784

      454.        Furthermore, in the immediate aftermath of the attack, the burden fell on them to

         find help and tend to each other’s injuries. Even now, they experience nightmares,

         flashbacks, sensitivity to loud noises, and physical reactions when discussing the terrorist

         attack.785

      455.        Because of the terrorist attack, the children no longer want to live in the family

         home in Mexico.786 Although the idea of living in La Mora terrifies them, they miss their




784
    Declaration of K.L., Ex. 61; Declaration of M.L., Ex. 62; Declaration of D.L., Ex. 63; Declaration of C.L., Ex.
64; Declaration of J.L., Ex. 65; Declaration of David Langford, Ex. 66.
785
    Declaration of David Langford, Ex. 66.
786
    Id.; Testimony of David Langford, Tr. 349:17-18.


                                                        115
           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 116 of 161




           family and friends; they miss the river running beside La Mora; and they miss taking hikes

           together.787

       456.         During their transition to a new home in the United States, they missed school and

           had difficulty finding new friends.

       457.         Accordingly, the Court awards K.L., D.L., M.L., C.L., J.L., X.L., and B.L. for

           solatium damages for the deaths of Dawna Ray, T.L., and R.L., and the injuries to their

           siblings in the values set forth in Havlish and adjusted for inflation in the total amount of

           $36,400,000.00 each. In lieu of a chart demonstrating solatium claims for each child who

           was present for the attack, the below chart serves as an example of the present children’s

           claims. Each child receives solatium for Dawna, T.L, R.L., and the other six surviving

           children, but does not receive solatium for him or herself.

          K.L. Solatium Claims                              Havlish baseline          Present day value,
                                                            solatium values           accounting for inflation
          Dawna (deceased)                                  $8,500,000.00             $10,400,000.00
          T.L (deceased)                                    $4,250,000.00             $5,200,000.00
          R.L. (deceased)                                   $4,250,000.00             $5,200,000.00
          M.L. (physical and emotional                      $2,125,000.00             $2,600,000.00
          injury)
          C.L. (physical and emotional injury)              $2,125,000.00             $2,600,000.00
          X.L. (physical and emotional injury)              $2,125,000.00             $2,600,000.00
          B.L. (physical and emotional injury)              $2,125,000.00             $2,600,000.00
          D.L. (emotional injury)                           $2,125,000.00             $2,600,000.00
          J.L. (emotional injury)                           $2,125,000.00             $2,600,000.00
          Total                                             $29,750,000.00            $36,400,000.00




787
      Testimony of K.L., Tr. 292:16-21, 293:3-4; Declaration of D.L., Ex. 63, at 3.


                                                           116
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 117 of 161




                      (c) Joseph Cole Langford, Bryce Langford, Crystal Langford, Brandy

                          Spenst

      458.         Each of the older children who were not present for the attack have suffered severe

         emotional distress since the date of the attack.788 Each member of the Langford family

         developed and maintained strong relationships with their mother and siblings. The

         evidence presented establishes that the violent circumstances of the attack, the deaths of

         the their mother and siblings, and the trauma of their siblings hospitalizations for their

         injuries continues to cause Joseph Cole, Bryce, Crystal, and Brandy grief and pain effecting

         their daily lives, their health, and their relationships.789 Accordingly, the Court awards

         Joseph Cole, Bryce, Crystal, and Brandy solatium damages adjusted for inflation in the

         amount of $39,000,000 each.

             Solatium Claims                                  Havlish baseline         Present day value,
                                                              solatium Values          accounting for inflation
             Dawna (deceased)                                 $8,500,000.00            $10,400,000.00
             T.L (deceased)                                   $4,250,000.00            $5,200,000.00
             R.L. (deceased)                                  $4,250,000.00            $5,200,000.00
             K.L. (physical and emotional injury)             $2,125,000.00            $2,600,000.00
             M.L. (physical and emotional injury)             $2,125,000.00            $2,600,000.00
             C.L. (physical and emotional injury)             $2,125,000.00            $2,600,000.00
             X.L. (physical and emotional injury)             $2,125,000.00            $2,600,000.00
             B.L. (physical and emotional injury)             $2,125,000.00            $2,600,000.00
             D.L. (emotional injury)                          $2,125,000.00            $2,600,000.00
             J.L. (emotional injury)                          $2,125,000.00            $2,600,000.00
             Total                                            $31,875,000.00           $39,000,000.00




788
    Declaration of Joseph Cole Langford, Ex. 57; Declaration of Bryce Langford, Ex. 58; Declaration of Crystal
Langford, Ex. 59; Declaration of Brandy Spenst, Ex. 60.
789
   Id.


                                                       117
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 118 of 161




                     (d) Karen Woolley

      459.       Karen Woolley is Dawna Ray’s mother.790 Dawna was the oldest of Ms. Woolley’s

         “seven children and she was a constant over-achiever. She learned to talk at ten months old

         and was up and walking by the time she was one.”791

      460.       Ms. Woolley is also the mother to, and legal guardian of, Jonathan Ray, a Plaintiff

         in this action.792 When Jonathan was born, Ms. Woolley deputized Dawna (nine (9) years

         old at the time) to be “little mama” of the house because Ms. Wooley would need to travel

         far and wide to ensure that Jonathan could (and would) receive the best medical care

         possible for his autism.793 Dawna “never hesitated” and “never questioned” Ms. Woolley

         about why she was being asked to be “little mama” of the house.794 Rather, Dawna made

         sure that she and her brothers and sisters did their “schoolwork, … that they ate, showered,

         and brushed their teeth.”795 “Because of this, Dawna and [Ms. Woolley] had a deep

         connection that is difficult to explain. She was more than [Ms. Woolley’s] daughter, she

         was also [her] best friend, [her] confidant, and the person whom [Ms. Woolley] trusted the

         most.”796

      461.       On November 4, 2019, Ms. Woolley was in Colonia LeBaron, Mexico for her

         grandchild’s wedding, and both she and Dawna were excited for the time they would get

         to spend together.797




790
    Testimony of Karen Woolley, Tr. 263:16.
791
    Declaration of Karen Woolley, Ex. 48, ¶ 6; Testimony of Karen Woolley, Tr. 266:15-18.
792
    Declaration of Karen Woolley, Ex. 48 ¶ 6, 9; Jonathan Ray Guardianship Documents, Ex. 23.
793
    Testimony of Karen Woolley, Tr. 269:19-21; Declaration of Karen Woolley, Ex. 48, ¶ 9.
794
    Declaration of Karen Woolley, Ex. 48, ¶ 10.
795
    Id.
796
    Id. at ¶ 11.
797
    Id. at ¶¶ 17-18.


                                                      118
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 119 of 161




      462.       That morning, however, Ms. Woolley had a mother’s intuition, a sort of feeling that

         something was not right.798 Ms. Woolley’s bad feeling proceeded to get progressively

         worse, particularly, when around “noonish,” Dawna should have but did not arrive in

         Colonia LeBaron.799

      463.       Soon thereafter, Ms. Woolley’s “daughter Amber, who was white as a sheet, told

         [Ms. Woolley] that Dawna, T.L., and R.L. were dead.”800 Ms. Woolley “suffer[s] from high

         blood pressure and upon hearing the news, it spiked, [Ms. Woolley] could not breath, and

         [she] collapsed. And once [Ms. Woolley] stabilized [her] blood pressure, [she] proceeded

         to suffer a debilitating panic attack.”801

      464.       Ms. Woolley has suffered two additional, three total, panic attacks as result of the

         November 4, 2019, massacre.802 Ms. Woolley has also experienced night terrors since

         November 4, 2019, and “[t]hese night terrors persist to this day.”803

      465.       And in April of 2021, Ms. Woolley suffered from a stroke that doctors believe was

         brought on by, among other things, the stress of her daughter and grandchildren’s

         murder.804

      466.       Ms. Woolley has seen a therapist which has helped “[t]o some degree.”805 Ms.

         Woolley’s therapist has diagnosed Ms. Woolley with PTSD “as she me[ets] all of the

         criteria, including intrusive thought, nightmares, increased arousal, unpleasant reminders,

         etc.”806 Dr. Schuurman concurs with this diagnosis, and it is Dr. Schuurman’s expert


798
    Testimony of Karen Woolley, Tr. 275:17-276:13.
799
    Testimony of Karen Woolley, Tr. 276:2-5.
800
    Declaration of Karen Woolley, Ex. 48, ¶ 19.
801
    Id. at ¶ 20.
802
    Testimony of Karen Woolley, Tr. 282:4-9.
803
    Declaration of Karen Woolley, Ex. 48, ¶ 26.
804
    Id. at Tr. 282:22-283:6.
805
    Id. at Tr. 282:14-17.
806
    Expert Report of Dr. Schuurman, Ex. 26_000018.


                                                      119
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 120 of 161




         opinion that Ms. Woolley is a greater risk for long-term “depressive symptoms, poorer

         well-being,” “more health problems” and “enduring stress.”807

      467.       Ms. Woolley said her family dynamics have changed since the attack, and that she

         and her whole family feel the profound loss of Dawna – “While the miles remain the same,

         without Dawna’s constant efforts to keep us together, our geographically dispersed family

         feels more apart than ever. We do what we can, but we are all kind of drifting asea. And

         knowing that we will never again receive that emoji string from Dawna has only

         exacerbated our distance.”808

      468.       Having examined closely the facts of this particular case, Ms. Woolley should be

         awarded solatium damages in line with those issued in Warmbier v. Democratic People’s

         Rep. of Korea, 356 F. Supp. 3d 20, 59 (D.D.C. 2018), adjusted for inflation.809 The values

         in Warmbier for parent solatium claims was $15,000,000.00, and adjusted for the 12%

         inflation since the Warmbier case was decided, the Court awards solatium damages in the

         amount of $16,800,000.00.

         (e)     Dawna’s Siblings—Jaremy Ray, Justin Ray, James Ray, Jonathan Ray, Kerah

         Ray, and Amber Ray

      469.       As stated supra, Dawna Ray was one of Karen Woolley’s seven children,810

         Dawna’s six (6) brothers and sisters—Jaremy Ray, Justin Ray, Jonathan Ray, James Ray,

         Kerah Ray, and Amber Ray (collectively, the “Ray’s”)—are Plaintiffs in this case.811



807
    Id.
808
    Testimony of Karen Woolley, Tr. 283:10-17; Declaration of Karen Woolley, Ex. 48 ¶ 30.
809
    Inflation has risen approximately 12% since Warmbier was decided in December 2018 to January 2022.
https://www.bls.gov/data/inflation_calculator.htm
810
    Declaration of Karen Woolley, Ex. 48, ¶ 6.
811
    Declaration of Jaremy Ray, Ex. 49, ¶ 3; Declaration of Justin Ray, Ex. 51, ¶ 3; Declaration of Jonathan Ray, by
and through, Legal Guardian Karen Woolley, Ex. 53, ¶ 3; Declaration of James Ray, Ex. 52, ¶ 3; Declaration of Kerah
Ray, Ex. 50, ¶ 3; Declaration of Amber Ray, Ex. 54, ¶ 3.


                                                       120
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 121 of 161




      470.       Jonathan “was born with autism and required [their] mother to focus much of her

         attention on his care.”812 So, not only was she Jaremy, Justin, Jonathan, James, Kerah and

         Amber’s sister, Dawna was also their pseudo-mother.813 Dawna would also, whenever

         called upon, “do whatever was needed to take care” of Jonathan because she was his

         “second mother” too.814 Dawna “never did anything but show unconditional love for

         Jonathan.”815

      471.       Dawna and Kerah shared another special relationship growing up: they were

         roommates.816 Naturally, they fought, “but it was during this time that [Kerah] developed

         a special, unique relationship with [her] sister. [Dawna] would tell [Kerah] about her hopes

         and dreams of one day meeting a Godly man, starting a family with him and having as

         many children as possible because to Dawna, children were life’s blessing. Children were

         constant reminders of God’s ever presence and love.”817

      472.       Dawna was the first of the Ray sisters to have a child so, she was able to (and did)

         spend hours talking on the phone with Amber and Kerah telling them what to expect, feel,

         and do during pregnancy and motherhood.818

      473.       Ms. Woolley and her children have one new family tradition – on the fourth (4th)

         of every month since November 4, 2019, they get together to “reminisce and remember

         [Dawna] and [to] honor her.”819



812
    Declaration of Amber Ray, Ex. 54, ¶ 4.
813
    Declaration of Kerah Ray, Ex. 50, ¶ 4; Declaration of Amber Ray, Ex. 54, ¶ 4; Declaration of Justin Ray, Ex. 51,
¶ 4.
814
    Declaration of Karen Woolley, Ex. 48, ¶ 10.
815
    Declaration of Jonathan Ray, by and through, Legal Guardian Karen Woolley, Ex. 53, ¶ 8; Declaration of Karen
Woolley, Ex. 48, ¶ 10.
816
    Declaration of Kerah Ray, Ex. 50, ¶ 5.
817
    Id. at ¶ 6
818
    Declaration of Kerah Ray, Ex. 50, ¶¶ 10, 11; Declaration of Amber Ray, Ex. 54, ¶ 17.
819
    Declaration of Amber Ray, Ex. 54, ¶ 18.


                                                       121
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 122 of 161




      474.        Kerah’s son was “getting married in Chihuahua, Mexico on November 8, 2019.”820

         So on November 4, 2019, Dawna and her children set out from La Mora for the wedding.821

      475.        But before she hit the road, Dawna called Kerah and they talked about how it had

         been too long and about how excited they were “to see each other, to have the family back

         together and to having the long overdue family cook out.”822 Dawna also messaged Amber

         and asked if she could make “an appointment for her to have a massage when she

         arrived.”823 And she called her brother Justin to discuss her and the kids staying with him

         for the week.824

      476.        “[A]round 11:00 a.m.” when Dawna and the children should have been arriving in

         Colonia LeBaron, the Rays learned “that Rhonita LeBaron’s truck was found on fire and

         that Dawna and Christina Langford were missing.”825 Amber called Justin “to see if he had

         additional information” because, in addition to the shocking news about Rhonita, it was

         Amber’s belief “that a cartel had kidnapped Dawna and her children and Christina.”826

      477.        Rather than sit and wait for answers and endure the ensuing chaos and confusion,

         Justin left to search for his sister, nieces, and nephews.827 Kerah, Amber and their “family

         and friends went to the Church to pray.”828

      478.        “Things soon took a turn for the worst and began snowballing. [The Rays] learned

         that Nita and her children [were] killed and burned. And then, around 5 p.m., [D.L.] (who

         was traveling with Dawna) made it back to La Mora and confirmed that Dawna, Christina,


820
    Declaration of Kerah Ray, Ex. 50, ¶ 16.
821
    Testimony of Kenneth Miller, Tr. 41:24-25.
822
    Declaration of Kerah Ray, Ex. 50, ¶ 17.
823
    Declaration of Amber Ray, Ex. 54, ¶ 8.
824
    Declaration of Justin Ray, Ex. 51, ¶ 5.
825
    Id. at ¶ 6; Declaration of Amber Ray, Ex. 54, ¶ 9.
826
    Declaration of Amber Ray, Ex. 54, ¶ 10.
827
    Declaration of Justin Ray, Ex. 51, ¶ 8.
828
    Declaration of Kerah Ray, Ex. 50, ¶ 20.


                                                         122
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 123 of 161




         [T.L.] and [R.L.] were all dead and that his brothers and sisters were still out there-alone,

         shot and afraid. Everything, in that moment, forever changed. Everything was turned-

         upside-down, wringed-out and hung-out-to-dry.”829

      479.       Justin was informed that his rescue mission had turned into one of recovery. He

         was now “going to retrieve [his] sister’s and nephews’ bodies, which was the worst

         experience[s]” of his life.830 Justin saw his sister “slouched over her steering wheel” with

         “two gunshots in her head and eleven others throughout her body.”831 He saw his nephew

         T.L. “dead in the second row with his head blown out.”832 And he saw his nephew R.L.

         “on the front floorboard” with “two or three bullets in him.”833

      480.       Justin “loaded up Dawna and her kids into the back of a flatbed truck,” drove to

         Dawna’s house in La Mora, “turned the air conditioning in the master bedroom down as

         low as it would go, placed the bodies of Dawna, [T.L.] and [R.L.] on the master bed and

         packed them with ice.”834

      481.       Back in Colonia LeBaron, Dawna’s sisters were “inconsolable” and trying to help

         their mother who was suffering from a panic attack835 while Dawna’s brothers in Utah and

         North Dakota836 rushed as quickly as possible to La Mora.




829
    Id. at ¶¶ 21, 22.
830
    Declaration of Justin Ray, Ex. 51, ¶ 8; see also Declaration of Adrian LeBaron, Ex. 36_000041-44 (photographs
from Dawna’s vehicle on evening of November 4, 2019).
831
    Declaration of Justin Ray, Ex. 51, ¶ 11; see also Declaration of Adrian LeBaron, Ex. 36_000041-44 (photographs
of Dawna Ray).
832
    Declaration of Justin Ray, Ex. 51, ¶ 12; see also Declaration of Adrian LeBaron, Ex. 36_000043 (photograph of
T.L.).
833
    Declaration of Justin Ray, Ex. 51, ¶ 13; see also Declaration of Adrian LeBaron, Ex. 36_000044 (photograph of
R.L.).
834
    Declaration of Justin Ray, Ex. 51, ¶¶ 15-16.
835
    Declaration of Kerah Ray, Ex. 50, ¶ 23; Testimony of Karen Woolley, Tr. 280:13-21.
836
    Declaration of James Ray, Ex. 52, ¶ 4 (Utah); Declaration of Jaremy Ray, Ex. 49, ¶ 5 (North Dakota).


                                                      123
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 124 of 161




      482.       Dawna’s murder has “created a hole” in the Rays’ lives.837 It has caused, among

         other things, Kerah to suffer from anxiety so bad that she was hospitalized for six weeks;

         Amber to suffer insomnia; and Justin and James to suffer deep depression and loneliness.838

         “Dawna was the glue that held all the family” together, and now that she is gone, the “hurt”

         and pain can be seen in all the Rays’ “eyes” and it can be felt in their presence.839

      483.       Based upon a thorough review of the record and Dr. Schuurman’s expert opinion,

         that Dawna’s death has had, and will continue to have, “profound implications” on the

         Rays,840 including but not limited to, “somatic symptoms, depression, and painful feelings

         of grief,” “an elevated mortality risk,” and “sense of isolation and alienation from others.”

      484.       The Havlish value for solatium damages for a sibling is $4,250,000.00, and adjusted

         for inflation,841 this amount rises to $5,200,000.00.

      485.       The Court addresses, infra., Plaintiffs’ request for an upward departure from these

         figures for Plaintiffs Jaremy Ray, Justin Ray, Jonathan Ray, Kerah Ray, and Amber Ray

         for the loss of their sister Dawna Ray.

                      (4) Requests for Upward Departures for Solatium Judgments

      486.       The Havlish numbers are “not set in stone” rather, they “act as a center of gravity

         for solatium awards, around which a court may vary the final amount based on the facts




837
    Declaration of Amber Ray, Ex. 54, ¶ 13.
838
    Declaration of Jaremy Ray, Ex. 49, ¶ 10; Declaration of Justin Ray, Ex. 51, ¶ 18; Declaration of James Ray, Ex.
52, ¶¶ 12, 13; Declaration of Kerah Ray, Ex. 50, ¶ 28; Declaration of Amber Ray, Ex. 54, ¶ 19.
839
    Testimony of Douglas Johnson, Tr. 422:2-8.
840
    See e.g. Declaration of Amber Ray, Ex. 54, ¶ 7 (Amber lost her role model); Declaration of Kerah Ray, Ex. 50, ¶
28 (Kerah hospitalized for six-weeks).
841
    Inflation has risen approximately 23% since Havlish was decided in July 2012 to February 2022.
https://www.bls.gov/data/inflation_calculator.htm.


                                                       124
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 125 of 161




         and circumstances of a particular case.”842 Deviations upward or downward from the

         Havlish baseline are “committed to the discretion of the particular court in each case.”843

      487.       “Factors pertinent to the determination of damage enhancements are largely derived

         from common sense” and departures “are generally small relative to the award specified

         by the developed framework, absent circumstances that appreciably worsen a claimant’s

         pain and suffering, such as cases involving torture or kidnapping.”844

      488.       “In such cases, greater awards are justified because the afflicted party not only had

         to cope with the grief that follows the loss of a loved one, but—at the time of the event—

         was also forced to endure unending anxiety and an extended period of extreme distress

         over the health and safety of their captive member.”845

      489.       Furthermore, “[c]ourts have previously recognized that whether the victim’s death

         was ‘sudden and unexpected’ is an issue to consider in the calculation of solatium

         damages.”846 Because “where the death of a loved one is unforeseen, it can render the shock

         and grief suffered by family members all the more intense.”847

      490.       Plaintiffs here were “simply living” their lives when their siblings, children, wives

         and/or children were brutally murdered and “[t]hese circumstances warrant an

         enhancement” to the standard Havlish numbers.848

      491.       A comparison with other terrorist cases suggests that the Court temper its total

         enhancement in this case. In Valore, the court found that the one family member suffered



842
    Oveissi, 768 F.Supp.2d at 26; see also Valore, 700 F.Supp.2d at 85-86; Murphy v. Islamic Republic of Iran, 70
F.Supp.2d 51, 79 (D.D.C. 2010).
843
    Id.
844
    Id. at 26- 27 (internal citation and quotations omitted); see also Greenbaum, 451 F.Supp.2d at 108.
845
    Id. at 27.
846
    Oveissi, 768 F.Supp.2d at 28 (citing Stethem v. Islamic Republic of Iran, 201 F.Supp.2d 78, 90 (D.D.C. 2002)).
847
    Id.
848
    Id. at 29.


                                                        125
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 126 of 161




         “several nervous breakdowns”, while another lost both her husband and brother in the

         attack yet it found a 25% upward departure to be more reasonable than the plaintiffs’

         requested 100% departure.849 Similarly, courts have found “that 40% upward departures

         were warranted in (1) a case where one family member testified that her life was

         irrevocably changed by the attack, and (2) a cases where the family member was forced to

         quit her job and become a full-time caretaker of her now quadriplegic child”; and that

         where the decedent’s death was the result of “the heinous murder that defendants planned

         and ordered”, a 50% upward departure was warranted.850

                          (a) Miller/LeBaron Family Plaintiffs

      492.       In the case of Rhonita and her children, it was initially believed that the decedents

         were kidnapped851 which caused Plaintiffs to worry whether the Defendant Juárez Cartel

         was “going to rape Nita and K.B.M.”852 As stated previously, while no upward departure

         is being sought for Rhonita’s parents, upward departures are being sought for Rhonita’s

         husband, her surviving children, and her siblings.

                              i. Howard Miller

      493.       Howard Miller learned that the “unimaginable”853 happened via WhatsApp

         message and phone calls from over a thousand miles away from his wife and children in

         Mexico. He learned that his wife and four of his children were “burned to death” in what

         must have been “the most frightening thing that anyone has ever experienced.”854




849
    Valore, 700 F.Supp.2d at 86.
850
    Oveissi, 768 F.Supp.2d at 30 (internal citations and quotations omitted).
851
    Declaration of Laura Corina LeBaron, Ex. 39, ¶ 11; Declaration of Adriana Jones, Ex. 46, ¶ 17;Testimony of
Adrian LeBaron-Soto, Tr. 202:6-13.
852
    Testimony of Adriana Jones, Tr. 507:5-13.
853
    Testimony of Dr. Schuurman, Tr. 481:12.
854
    Testimony of Dr. Schubl, Tr. 160:21-161:3.


                                                       126
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 127 of 161




      494.       Even after seeing the videos855 and speaking with family members who confirmed

         that Rhonita and the kids were in the vehicle and had died—Mr. Miller held “out hope kind

         of in nonbelief … maybe hoping they [his family] could have got out or something.”856

      495.       His hope was shattered when he saw Rhonita, H.M. Jr., K.B.M., T.A.M. and

         T.G.M.’s remains in the vehicle.857 The tragic loss of his wife, first son, eldest daughter

         and youngest twins, in such a barbaric and sadistic manner, warrants an enhancement to

         the standard Havlish numbers.

      496.       The intensity of this pain, and hurt is ever-present in Mr. Miller’s eyes since the

         attacks.858 He is “numb”, “in shock,” and struggling “[b]e strong; be a man; be tough; keep

         [his] feelings inside.”859 He is struggling with the fact that the Defendant murdered his soul

         mate860 and stole from him the opportunity to teach H.M. Jr. how to golf,861 walk his

         daughter (and favorite child) down the aisle at her wedding862 and opportunity to hear

         T.A.M. and T.G.M. call him “Daddy.”863

      497.       According to his family, before the attack Howard was “a happy, goofy giant,

         always laughing, smiling, just full of life.864 “After the attacks he changed.”865 “He’s closed

         up”866 and “[closed] into himself.”867 According to Dr. Schuurman, this places Mr. Miller

         at higher risk of longstanding emotional and physical difficulties.868


855
    Video taken by Kenny Miller, “Nita is Shot Up” Ex. 8.
856
    Testimony of Howard Miller, Tr. 185:10-13.
857
    Id. Tr. 185:14-15; see Family Photos of Miller Attack Scene (Day), Ex. 18.
858
    Testimony of Douglas Johnson, Tr. 419:12-13.
859
    Testimony of Dr. Schuurman, Tr. 464:20 – 465:5.
860
    See Declaration of Howard Miller, Ex. 30 at ¶¶ 7, 53.
861
    Declaration of Howard Miller, Ex. 30, ¶ 56.
862
    Id.
863
    Id.
864
    Testimony of Douglas Johnson, Tr. 419:10-12; see also Testimony of Adriana Jones, Tr. 505:18.
865
    Testimony of Douglas Johnson, Tr. 419:12.
866
    Id. at Tr. 419:13.
867
    Testimony of Kenneth Miller, Tr. 68:7.
868
    Testimony of Dr. Schuurman, Tr. 465:21-24.


                                                      127
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 128 of 161




      498.        It is Dr. Schuurman’s expert opinion that Mr. Miller “behaviors and ‘symptoms’

         are consistent with trauma reactions and PTSD, including dissociative reactions, and

         persistent avoidance of reminders that arouse memories or thoughts associated with the

         traumatic events” of November 4, 2019.869

      499.        As detailed above, Mr. Miller’s “lifetime of suffering constitutes the exact sort of

         acute feeling of permanent loss or change caused by decedent’s absence that warrants an

         upward departure” from the standard Havlish valuation.870

      500.        This is not a situation where the connexity between the murder and the family

         member is attenuated. Howard Miller arrived on the scene to see the charred remains of his

         wife and four of his children as they had not yet been removed—by other family members

         in conjunction with the Mexican authorities—from the scene. He slept with his three

         surviving children in the room with his murdered family’s remains that night.871

      501.        As set forth, supra., the Havlish numbers—taking into consideration an adjustment

         for inflation, places Howard Miller’s pain and suffering for the loss of his wife at

         $15,300,000.00 and for the loss of each of his four children at $10,400,000.00 for a total

         pain-and-suffering judgment of $56,900,000.00.                  Plaintiffs herein have requested an

         upward departure in the range of 10-20% given the egregious circumstances surrounding

         this event and Mr. Miller’s suffering. Such an upward departure would render his solatium

         damages for the loss of his wife between $16,830,000.00 and $18,360,000.00 and his

         solatium damages for the loss of his four children between $45,760,000.00 and




869
    Expert Report of Dr. Schuurman, Ex. 26_000011.
870
    Oveissi, 768 F.Supp.2d at 29 (citing Valore, 700 F.Supp.2d at 86) (internal quotations omitted).
871
    Testimony of Howard Miller, Tr. 186:5-14.


                                                         128
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 129 of 161




         $49,920,000.00 for a total solatium damages of between $62,590,000.00 and

         $68,280,000.00.

      502.       In the exercise of the Court’s discretion, the Court here determines that it will apply

         a __% upward departure for the solatium-damages judgments for Plaintiff Howard Miller

         rendering his solatium-damages judgment amount $______________________ for the loss

         of his wife, K.B.M., H.M. Jr., T.A.M., and T.G.M..

                              ii. T.M., A.M., and Z.M.

      503.       Rhonita’s surviving children have also significantly suffered followed the death of

         their mother and four siblings. T.M. “[has] suffered bad.”872 He was initially “crying

         himself to sleep for hours. He didn’t want to sleep alone. Even if he fell asleep alone, he

         would wake up and go”873 “pounding, … screaming, yelling”874 on the door of an adult’s

         bedroom door just to “crawl into the bed”875 next to them. These “nightmares” are in

         addition to his being “afraid all the time,” being “scared to death at every noise” and his

         difficulty “coping” “when it gets dark.”876 In short, “[h]is sense of security is deep” and it

         is Dr. Schuurman’s expert opinion that “ultimately, that type of anxiety is not going to

         serve him well.”877

      504.       It is also Dr. Schuurman’s expert opinion that T.M. “is suffering from symptoms

         consistent with PTSD … including recurrent distressing dreams related to the traumatic

         series of events that killed his mother and siblings, intense and persistent anxiety, and

         dissociative reactions. T.M. (like his father) appears to be ‘stuffing’ his feelings, and



872
    Testimony of Douglas Johnson, Tr. 420:14, 17.
873
    Testimony of Dr. Schuurman, Tr. 468:1-3.
874
    Id. Tr. 420:21.
875
    Id. Tr. 420:24-25.
876
    Testimony of Dr. Schuurman, Tr. 468:4; 468:12-15.
877
   Id. at Tr. 468:16:17.


                                                        129
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 130 of 161




         displaying anxiety, separation anxiety, and post-traumatic stress symptoms. While these

         responses are understandable given what he has experienced, the short-term as well as

         long-term impact will take a toll on his physical, emotional, and mental health.”878

      505.       A.M. has “cerebral palsy”879 which is affecting “the whole left side of her body”880,

         and on November 4, 2019, A.M. “lost her mother, her caretaker, her protector”,881 her

         oldest and youngest brothers and both of her sisters as a result of the depraved acts of the

         Defendant. Her mother was supposed to be there for A.M. as she “gr[e]w developmentally,

         everything from … all [her] successes, [her] recitals, [her] graduating from high school,

         [her] first dates, [her] getting attracted to a boy”; she was supposed to be there at “her

         wedding” and be a “grandmother” to A.M.’s children.882 A.M. will feel the pain and sorrow

         of her mother’s absence at all these events as she grows up.883

      506.       “A.M. is going to need specialized medical and psychological care as she grows

         up. Her mother was the driving force behind getting the physical therapy she needs, and

         although other family members have worked to help her, there is no substitute for her

         mother and her mother’s love.884 As such, “she will experience, and does already

         experience, estrangement and ‘feeling different’ from other girls who have their mothers.

         That, combined with her physical challenges, has been extremely difficult and will

         continue to be an ongoing challenge as she grows through puberty and into adulthood.”885




878
    Expert Report of Dr. Schuurman, Ex. 26_000012.
879
    Testimony of Howard Miller, Tr. 174:19.
880
    Id. Tr. 174:21.
881
    Declaration of Adriana Jones, Ex. 46, ¶ 38.
882
    Testimony of Dr. Schuurman, Tr. 469:19-25.
883
    Id. Tr. 470:1; see also Howard Miller Declaration, Ex. 30, ¶ 55 (A.M. will miss her mother making “cheesy
potatoes for her birthday”).
884
    Expert Report of Dr. Donna Schuurman, Ex. 26_000013.
885
    Id.


                                                       130
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 131 of 161




      507.      While Z.M. was “only” three years old when his mother and siblings were

         murdered, Dr. Schuurman testified, “if we as adults learned as many new words a day as

         your average three-year-old, we’d all be geniuses. So while [Z.M. couldn’t] verbalize as

         well” at three, he was certainty “observing” and “taking in what’s going” on.886 In addition,

         irrespective of what Z.M. understood at “three, as he grows older, he will learn more and

         more and understand better what happened to his mother and siblings.”887 This will lead,

         in Dr. Schuurman’s expert opinion, to a feeling of being “cheated” for Z.M. “as opposed

         to [his] older siblings” because he will not “necessarily have memories of” his mother and

         siblings.888 “People can show photos and they can talk about [Z.M.’s] mother and siblings,”

         but unlike T.M and A.M, Z.M will not “have the same memories.”889

      508.      “Z.M. will need assistance to channel his anger and frustration in positive ways, as

         well as getting nurturing that he would have received from his mother. Z.M. appears to

         have internalized the ‘be strong’ and ‘keep it inside’ coping of his father and older brother

         T.M., and the research suggests that children who do so are at risk for greater adverse

         outcomes.”890 Dr. Schuurman further opines that Z.M. is at elevated risk for “development

         of traumatic memories, images, and post-traumatic stress symptoms” as well as

         “psychological, emotional, and relational challenges.”891

      509.      As set forth supra the Havlish numbers—taking into consideration an adjustment

         for inflation, places T.M.’s, A.M.’s, and Z.M.’s solatium damages for the loss of their

         mother at $10,400,000.00 and for the loss of each of their four siblings at $5,200,000.00



886
    Testimony of Dr. Schuurman, Tr. 470:22 – 471:2.
887
    Id. at Tr. 471:3-5.
888
    Id. at Tr. 471:8-10.
889
    Id. at Tr. 471:10-12
890
    Expert Report of Dr. Donna Schuurman, Ex. 26_000013.
891
    Id. at Ex. 26_000014.


                                                    131
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 132 of 161




         for a total solatium-damages judgment of $31,200,000.00 each. Plaintiffs herein have

         requested an upward departure in the range of 10-20% given the egregious circumstances

         surrounding this event and the suffering of these three minor children. Such an upward

         departure would render their solatium damages for the loss of their mother between

         $11,440,000.00 and $12,480,000.00 and their solatium damages for the loss of their four

         siblings between $22,880,000.00 and $24,960,000.00 for a total solatium damages

         judgment of between $34,320,000.00 and $37,440,000.00 each.

      510.       In the exercise of the Court’s discretion, the Court here determines that it will apply

         a __% upward departure for the solatium-damages judgments for Plaintiffs T.M., A.M.,

         and       Z.M.        rendering         their         solatium-damages         judgment          amounts

         $______________________ each for the loss of their mother and their siblings K.B.M.,

         H.M. Jr., T.A.M., and T.G.M..

                               iii. Rhonita’s Siblings

      511.       Taken together, the circumstances detailed supra, along with the heinous murder

         of Rhonita, H.M. Jr., K.B.M., T.A.M. and T.G.M. has had a profound impact on all of

         Rhonita’s siblings.892 It is Dr. Schuurman’s expert opinion, which the Court shares, that

         “[l]osing a sibling means the loss of a companion, confidante, role model, and friend.

         Siblings’ identities are intricately connected because they share similar histories so that

         when of them dies, the survivors essentially lose part of themselves.”893 Rhonita’s death

         “also carries high risk factors for … psychological, emotional, and relational challenges”



892
    See Declaration of Rholena Lian Johnson, Ex. 47, ¶¶ 26 - 28; Declaration of Melissa Conklin, Ex. 45, ¶¶ 15-19;
Testimony of Adriana Jones, Tr. 504: 3-9; Declaration of Laura Corina LeBaron, Ex. 39, ¶¶ 19, 20; Declaration of
William LeBaron, Ex. 41, ¶¶ 18-20; Declaration of Ruthila LeBaron, Ex. 44, ¶¶ 17, 18; Dayer LeBaron Transcript,
Tr. 123:10-12; Miguel LeBaron Declaration, Ex. 40, ¶¶ 24, 25. Declaration of Javier LeBaron, Ex. 42, ¶¶ 16, 17;
Declaration of Matthew LeBaron, Ex. 38, ¶ 19.
893
    Expert Report of Dr. Schuurman, Ex. 26_000018 (internal citation and quotations omitted).


                                                         132
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 133 of 161




         for Rhonita’s siblings and because of the brutality of her murder, they are also at an

         elevated risk for “the development of traumatic memories, images, and post-traumatic

         stress symptoms.”894

      512.       The LeBaron siblings were forced as a result of the Defendant’s abhorrent massacre

         on November 4, 2019, to literally attempt to piece-by-piece, collect, remove debris from,

         clean and prepare for burial, the remains of their sister Rhonita and nieces and nephews

         H.M. Jr., K.B.M., T.A.M. and T.G.M. The smells and sights of this cannot and will not

         ever be forgotten.895

      513.       A number of these siblings also assisted in the construction of the caskets used to

         bury their sister, nieces, and nephews.896

      514.       The testimony and evidence demonstrates the close nature of the relationship

         between Rhonita and her siblings and the continuing impact of her loss to her siblings.

         “This lifetime of suffering constitutes the exact sort of acute feeling of permanent loss or

         change caused by decedent’s absence that warrants an upward departure” from the standard

         Havlish valuation.897

      515.       As set forth, supra., the Havlish numbers—taking into consideration an adjustment

         for inflation, places Rhonita’s siblings’ solatium damages for the loss of their sister at

         $5,200,000.00. Plaintiffs herein have requested an upward departure in the range of 10-

         20% given the egregious circumstances surrounding this event and the suffering endured

         by Rhonita’s family including the hands-on nature of helping to prepare her remains for



894
    Id. at 000014.
895
    See Testimony of Douglas Johnson, Tr. 414:7-8; Declaration of Adrian LeBaron, Ex. 36_000046-63; Photos of
Miller Family Remains Taken by Douglas Johnson, Ex. 73.
896
    Declaration of Dayer LeBaron, Ex. 43, ¶ 17; Declaration of Miguel LeBaron, Ex. 40, ¶ 19; Testimony of Dayer
LeBaron, Tr. 118:2-10.
897
    Oveissi, 768 F.Supp.2d at 29 (citing Valore, 700 F.Supp.2d at 86) (internal quotations omitted).


                                                      133
           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 134 of 161




            burial. Such an upward departure would render each sibling’s solatium damages for the

            loss of their sister between $5,720,000.00 and $6,240,000.00.

       516.          In the exercise of the Court’s discretion, the Court here determines that it will apply

            a __% upward departure for the solatium-damages judgments for each of Rhonita’s siblings

            rendering their solatium-damages judgment amount $______________________ each for

            the loss of their sister Maria Rhonita LeBaron.

                              (b) Johnson/Langford Family Members

       517.          In the case of Christina and her daughter F.M.J., little was known at first because

            the only information that anyone was providing was with regard to Rhonita’s family and

            what happened to them. It was only later that information began to trickle down about

            what happened to Christina, but at that time, it was believed that Christina and Tyler’s

            baby, F.M.J., had also perished in the attack. While no upward departures are being sought

            for Christina’s mother Amelia Sedgwick; Christina’s husband, her surviving children, and

            her siblings are seeking such an upward departure.

                                  i. Tyler Johnson

       518.          On November 4, 2019, Mr. Johnson was bombarded with questions such as: “have

            you heard from your wife?”, “where is Christina?”, “did Christina get there to LeBaron?”

            “Where’s Christina, have you texted her, has she called you, it’s been a while.”898 Trying

            on the exterior to remain calm, the alarm bells and panic inside Mr. Johnson were going

            off as his WhatsApp messages and calls to Christina “weren’t going through.” This terror

            would metastasize into a five-alarm fire as minutes felt like hours.899




898
      Id. at Tr. 366:3-15; Declaration of Tyler Johnson, Ex. 31, ¶ 25.
899
      Declaration of Tyler Johnson, Ex. 31, ¶ 27.


                                                            134
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 135 of 161




      519.       It would be hours “until that evening before”900 Mr. Johnson would hear “the

         message say[ing] that Christina and her baby [were] dead.”901 Mr. Johnson “at the time of

         the event” was “forced to endure unending anxiety and an extended period of extreme

         distress over the health and safety" of his (presumed) captive wife and daughter.902

      520.       Upon hearing the initial news that his wife and daughter had been murdered, Mr.

         Johnson “exited off the balcony,” “went and gathered all [his] children” and “locked

         [himself and his children] in the closet in one of the bedrooms and just fell apart.”903 But

         his children did not know why their father was deteriorating before their eyes, so he had to

         tell them that the unimaginable had occurred and that their mother and sister were dead.904

      521.       Christina and F.M.J.’s (presumed) murder was unequivocally “unforeseen” and as

         a result “the shock and grief” Mr. Johnson and his children experienced that evening and

         in that closet, and to this day renders Mr. Johnson’s pain and suffering “all the more

         intense.”905

      522.       Mr. Johnson’s “pain is palpable.”906 Mr. Johnson battles the “regret and guilt” he

         feels about allowing Christina to make the drive by herself.907 And all of Mr. Johnson’s

         “dreams are gone; everything [he] valued doesn’t mean anything. [He] feel[s] like [he is]

         limbo, just trying to raise [his] kids well. But [he] feels like [he] ha[s] no real purpose on a

         personal level.”908




900
    Testimony of Amelia Sedgwick, Tr. 250:18.
901
    Testimony of Tyler Johnson, Tr. 368:5-6.
902
    Oveissi, 768 F.Supp.2d at 27.
903
    Testimony of Tyler Johnson, Tr. 368:21-25.
904
    Declaration of Tyler Johnson, Ex. 31, ¶ 31.
905
    Oveissi, 768 F.Supp.2d at 28.
906
    Expert Report of Dr. Schuurman, Ex. 26_000014.
907
    Id.; Testimony of Tyler Johnson, Tr. 372:8-12.
908
    Expert Report of Dr. Schuurman, Ex. 26_000014.


                                                     135
           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 136 of 161




       523.            It is Dr. Schuurman’s expert opinion that Mr. Johnson “is experiencing symptoms

           of PTSD a[s] well as Major Depressive Disorder, including loss of energy, diminished

           interests in activities (known as anhedonia), depressed mood, feelings of detachment from

           others, persistent inability to experience positive emotions, and self-blame.”909

       524.            As set forth supra the Havlish numbers—taking into consideration an adjustment

           for inflation—places Tyler Johnson’s solatium damages for the loss of his wife at

           $15,300,000.00. Plaintiffs herein have requested an upward departure in the range of 10-

           20% given the egregious circumstances surrounding this event and Mr. Johnson’s belief

           on the day of the attack that his baby daughter, F.M.J., had also perished with his wife

           Christina. Such an upward departure would render his solatium damages for the loss of his

           wife between $16,830,000.00 and $18,360,000.00.

       525.            In the exercise of the Court’s discretion, the Court here determines that it will apply

           a __% upward departure for the solatium-damages judgments for Plaintiff Tyler Johnson

           rendering his solatium-damages judgment amount $______________________ for the loss

           of his wife Christina Langford.

                                  ii. C.J., J.J., T.J. Jr., H.J., E.J., and F.M.J.

       526.            C.J., J.J., T.J. Jr., H.J., E.J., and F.M.J. were between the ages of twelve and seven

           months when their mother was violently taken from them. They no longer will have the

           opportunity to build new memories with their mother or have her present at their weddings,

           graduations, births of their children, or other key life events. They will also no longer be

           able to experience the love, support, and guidance their mother would provide for them.




909
      Id. at 000015.


                                                        136
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 137 of 161




      527.       They will also know that their mother did everything she could to protect one of

         her children by emerging from her vehicle during the attack to identify herself as a woman

         in hopes of mercy. Her children will know that the Defendant Juárez Cartel disregarded

         this fact and murdered their mother after she emerged from the vehicle.

      528.       Taken together, the circumstances detailed supra, along with the heinous murder

         of their mother Christina Langford has had a profound impact on all her children.910 It is

         Dr. Schuurman’s expert opinion, which this Court shares, that “[t]here is no measure

         valid or reliable enough to fully calculate the depth of the loss” these children “have

         experienced through the traumatic murder[] of their mother. For the rest of their lives,

         they will grieve and miss their mother’s presence and [her] affection, support, protection,

         comfort, care, advice, assistance, solace, companionship. No one can fully ‘replace’

         [Christina’s] role[] as mother[] and caretaker[] for [her] children, no matter how much

         love and support surrounds them. ”911

      529.       As set forth supra the Havlish numbers—taking into consideration an adjustment

         for inflation, places C.J.’s, J.J.’s, T.J. Jr.’s, H.J.’s, E.J.’s, and F.M.J.’s solatium damages

         for the loss of their mother at $10,400,000.00. Plaintiffs herein have requested an upward

         departure in the range of 10-20% given the egregious circumstances surrounding this event

         and the suffering of these six minor children. Such an upward departure would render their




910
    Testimony of Dr. Schuurman, Tr. 474:6-9 (C.J. “goes into the closet in her bedroom and cries.”); Testimony of
Amelia Sedgwick, Tr. 258:25 (J.J. “was very angry; very, very angry” following the death of his mother); Expert
Report of Dr. Schuurman, Ex. 26_000015 (T.J. Jr. has been defiant when given instruction, contrary to what his
mother tried to teach him); Declaration of Amelia Sedgwick, Ex. 32, ¶ 38 (H.J. is “very sad, heartbroken” since the
death of his mother); Testimony of Amelia Sedgwick, Tr. 260:18-25 (E.J. has been “traumatized” and “distraught”
since his mother’s murder)
911
    Expert Report of Dr. Schuurman, Ex. 26_000017; Testimony of Dr. Schuurman, Tr. 479: 12-14 (F.M.J. will have
no personal memories of her mother to remember, which will affect her throughout her lifetime).


                                                       137
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 138 of 161




         solatium damages for the loss of their mother between $11,440,000.00 and $12,480,000.00

         each.

      530.        In the exercise of the Court’s discretion, the Court here determines that it will

         apply a __% upward departure for the solatium-damages judgments for Plaintiffs C.J.,

         J.J., T.J. Jr., H.J., E.J., and F.M.J. rendering their solatium-damages judgment amounts

         $______________________ each for the loss of their mother Christina Langford.

                               iii. Christina’s Siblings—Elizabeth Langford, Serina Langford,
                                    Isaac Langford, and E.L.

      531.        In this case, it was believed for seven hours, “that Christina had been kidnapped

         and was being held for ransom by the cartel.”912

      532.        The circumstances detailed supra, along with the heinous murder of Christina

         Langford has had a profound impact on all of Christina’s siblings.913 It is Dr. Schuurman’s

         expert opinion, which this Court shares, that ““[l]osing a sibling means the loss of a

         companion, confidante, role model, and friend. Siblings’ identities are intricately

         connected because they share similar histories so that when of them dies, the survivors

         essentially lose part of themselves.”914 As a result, it is Dr. Schuurman’s expert opinion

         that Elizabeth Langford, Serina Langford, Isaac Langford and E.L. are at risk for “serious

         physical and mental health problems” including “somatic symptoms, depression,” “sense

         of isolation and alienation from others,” and “elevated mortality risk.”915

      533.        Christina’s siblings all play a role in assisting Tyler and their mother, Plaintiff

         Amelia Sedgwick, with raising Christina and Tyler’s six surviving children.916


912
    Declaration of Isaac Langford, Ex. 35, ¶ 6.
913
    See Declaration of Isaac Langford, Ex. 35, ¶¶ 8-10; Declaration of Serina Langford, Ex. 34, ¶¶ 20-21;
Declaration of Elizabeth Langford, Ex. 33, ¶¶ 15-22.
914
    Expert Report of Dr. Schuurman, Ex. 26_000018 (internal citation and quotations omitted).
915
    Id. at 26_000018-19.
916
    Testimony of Amelia Sedgwick, Tr. 256:12-23; Declaration of Elizabeth Langford, Ex. 33, ¶¶ 14-19.


                                                        138
          Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 139 of 161




       534.        E.L.—who is still a minor herself—has been uprooted from her home to move with

           her mother to assist in caring for her nieces and nephews and has been deprived of the

           normalcy of a traditional upbringing.917

       535.        Elizabeth Langford, Serina Langford, Isaac Langford and E.L. are at “high risk” of

           “hav[ing] psychological, emotional, and relational challenges throughout their lifetimes”

           which may include, but is not limited to, “the development of traumatic memories, images,

           and post-traumatic stress symptoms.”918

       536.        As set forth supra the Havlish numbers—taking into consideration an adjustment

           for inflation, places Christina’s siblings’ solatium damages for the loss of their sister at

           $5,200,000.00. Plaintiffs herein have requested an upward departure in the range of 10-

           20% given the egregious circumstances surrounding this event and the suffering endured

           by Christina’s family. Such an upward departure would render each sibling’s solatium

           damages for the loss of their sister between $5,720,000.00 and $6,240,000.00.

       537.         In the exercise of the Court’s discretion, the Court here determines that it will apply

           a __% upward departure for the solatium-damages judgments for Elizabeth Langford,

           Serina Langford, Isaac Langford, and E.L. rendering their solatium-damages judgment

           amount $______________________ each for the loss of their sister Christina Langford.

                            (c) Langford/Ray Family Members

                                i. Dawna’s Surviving Children—Crystal Langford, Brandy
                                   Spenst, Joseph Cole Langford, Bryce Langford, K.L., D.L.,
                                   M.L., C.L.X.L., J.L., and B.L.

       538.        K.L., D.L., M.L., C.L., X.L., J.L., and B.L. were between the ages of eight months

           and 14 years old when the Cartel murdered their mother and their siblings T.L. and R.L. as


917
      Testimony of Amelia Sedgwick, Tr. 256:24-25, 257:1-22.
918
      Expert Report of Dr. Schuurman, Ex. 26_000014.


                                                       139
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 140 of 161




         they helplessly watched.919 They experienced and continue to experience mental anguish

         and grief as result of their own experiences during the massacre and also the heinous

         murders of their mother and brothers.920

      539.        They witnessed their mother riddled with bullets, T.L.’s head blown off, and R.L.

         suffer multiple gunshot wounds.921 They then tended each other’s wounds before painfully

         trekking their way down the mountain to find help for each other.922

      540.        Crystal, Brandy, Joseph Cole, Bryce, K.L., D.L, M.L., C.L., X.L., J.L., and B.L.

         miss the comfort of their mother and the special attention she bestowed upon them.923 They

         miss their brothers’ company and the opportunity to watch them grow up.924 They have

         been uprooted from their family home in Mexico, resulting in a physical rift from family

         and friends who used to live beside them.925

      541.        As set forth supra the Havlish numbers—taking into consideration an adjustment

         for inflation, places Crystal, Brandy, Joseph Cole, Bryce, K.L., D.L, M.L., C.L., X.L., J.L.,

         and B.L.’s solatium damages for the loss of their mother at $10,400,000.00. Plaintiffs

         herein have requested an upward departure in the range of 10-20% given the egregious

         circumstances surrounding this event and the suffering of these children. Such an upward

         departure would render their solatium damages for the loss of their mother between

         $11,440,000.00 and $12,480,000.00 each. Additionally, the Havlish numbers—taking into

         consideration an adjustment for inflation, places Crystal, Brandy, Joseph Cole, Bryce, K.L.,


919
    Declaration of K.L., Ex. 61; Declaration of M.L., Ex. 62; Declaration of D.L., Ex. 63; Declaration of C.L., Ex.
64; Declaration of J.L., Ex. 65; Declaration of David Langford, Ex. 66.
920
    Id.
921
    Testimony of K.L., Tr. 295:21-22, 296:23-25; Declaration of Justin Ray, Ex. 51, ¶¶ 11-13; see also Declaration
of Adrian LeBaron, Ex. 36_000041-44.
922
    Testimony of K.L., Tr. 299:10-13, 297-98:25-14.
923
    Exs. 57-66.
924
    Id.
925
    Testimony of K.L, Tr. 292-93:25-7.


                                                        140
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 141 of 161




         D.L, M.L., C.L., X.L., J.L., and B.L.’s solatium damages for the loss of their brothers T.L.

         and R.L. at $5,200,000.00 each. Plaintiffs herein have requested an upward departure in

         the range of 10-20% given the egregious circumstances surrounding this event and the

         suffering of these children. Such an upward departure would render their solatium damages

         for the loss of their brothers between $5,720,000.00 and $6,240,000.00 each.

      542.       In the exercise of the Court’s discretion, the Court here determines that it will apply

         a __% upward departure for the solatium-damages judgments for Plaintiffs Crystal,

         Brandy, Joseph Cole, Bryce, K.L., D.L, M.L., C.L., X.L., J.L., and B.L. rendering their

         solatium-damages judgment amounts $______________________ each for the loss of

         their mother Dawna Langford, $______________________each for the loss of their

         brother T.L., and $______________________each for the loss of their brother R.L.

                                  ii.      David Langford

      543.       Similar to his children, David Langford experienced severe mental anguish and

         grief as the result of the murders of his sons and the corresponding loss of society.926 He

         must provide guidance and comfort to his children that not only lost their brothers but also

         their mother.927

      544.       David also suffered immense mental anguish as he traveled to the scene of the

         massacre, knowing that an older child and a younger child had died.928 He had three hours

         to think about which children the Cartel had forced him to live without for the remainder




926
    Declaration of David Langford, Ex. 66.
927
    Testimony of David Langford, Tr. 322:5-19.
928
    Id. at Tr. 335:1-8.


                                                  141
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 142 of 161




         of his life. 929 Given that he was a first responder, his last memory of T.L. and R.L. are

         them “blown to bits.” 930

      545.        The massacre has uprooted his family.931 David left behind his orchards which he

         had considered a family legacy that his children would continue to foster for generations.932

         But he cannot live near the area that has devastated their lives.933

      546.        As set forth supra the Havlish numbers—taking into consideration an adjustment

         for inflation, places David’s solatium damages for the loss of his children T.L. and R.L. at

         $10,400,000.00 each. Plaintiffs herein have requested an upward departure in the range of

         10-20% given the egregious circumstances surrounding this event and the suffering of

         these children. Such an upward departure would render his solatium damages for the loss

         of his children T.L. and R.L. between $11,440,000.00 and $12,480,000.00.

      547.        In the exercise of the Court’s discretion, the Court here determines that it will apply

         a __% upward departure for the solatium-damages judgments for Plaintiff David rendering

         his solatium-damages judgment amounts $______________________ for the loss of his

         son T.L. and $______________________ for the loss of his son R.L.

                               iii. Dawna’s Siblings—Jaremy Ray, James Ray, Jonathan Ray,
                                    Justin Ray, Kerah Ray, and Amber Ray

      548.        It was initially believed that the Cartel had “kidnapped Dawna and her children.”934

         But these reports were wrong as Justin Ray (one of the first on the scene) would, later in

         the evening of November 4, 2019, recover his sister “slouched over her steering wheel”




929
    Id. at 335:1-8.
930
    Id. at 336:10-15.
931
    Id. at Tr. 349-50:17-11.
932
    Id. at Tr. 321-22:19-3.
933
    Id. at Tr. 349:17-20.
934
    Declaration of Amber Ray, Ex. 54, ¶ 10; Declaration of Justin Ray, Ex. 51, ¶ 6.


                                                        142
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 143 of 161




         with “two gunshots in her head and eleven others throughout her body.”935 He recovered

         his nephew T.L. who was “dead in the second row with his head blown out.”936 And he

         recovered his nephew R.L. who was “on the front floorboard” with “two or three bullets in

         him.”937

      549.       Justin and his brothers and sisters here were “simply living”938 their lives, excited

         to see Dawna at the upcoming wedding and excited to be getting together again for a

         family cook-out when their sister was brutally murdered.

      550.       As Dr. Schuurman testified, “[t]hese deaths cannot be viewed as anything less than

         unjust”939 and the “the lack of trust in ‘justice’ in this case is pervasive.”940

      551.       The closeness of the family and their reliance upon Dawna as a source of wisdom

         and guidance has been forever lost and replaced with a new family tradition – on the fourth

         (4th) of every month since November 4, 2019, they get together (using the technology

         Dawna taught them) to “reminisce and remember [Dawna] and [to] honor her.”941

      552.       As set forth supra the Havlish numbers—taking into consideration an adjustment

         for inflation, places Dawna’s siblings’ solatium damages for the loss of their sister at

         $5,200,000.00. Plaintiffs herein have requested an upward departure in the range of 10-

         20% given the egregious circumstances surrounding this event and the suffering endured




935
    Declaration of Justin Ray, Ex. 51, ¶ 11; see also Declaration of Adrian LeBaron, Ex. 36_000041-44 (photographs
of Dawna Ray).
936
    Declaration of Justin Ray, Ex. 51, ¶ 12; see also Declaration of Adrian LeBaron-Soto, Ex. 36_000043
(photograph of T.L.).
937
    Declaration of Justin Ray, Ex. 51, ¶ 13; see also Declaration of Adrian LeBaron-Soto, Ex. 36_000044
(photograph of R.L.).
938
    Oveissi, 768 F.Supp.2d at 29
939
    Expert Report of Dr. Schuurman, Ex. 26_000008.
940
    Id.
941
    Declaration of Amber Ray, Ex. 54, ¶ 18.


                                                      143
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 144 of 161




         by Dawna’s family. Such an upward departure would render each sibling’s solatium

         damages for the loss of their sister between $5,720,000.00 and $6,240,000.00.

      553.       In the exercise of the Court’s discretion, the Court here determines that it will apply

         a __% upward departure for the solatium-damages judgments for Jaremy Ray, James Ray,

         Jonathan Ray, Justin Ray, Kerah Ray, and Amber Ray rendering their solatium-damages

         judgment amount $______________________ each for the loss of their sister Dawna Ray.

                 d. Pecuniary Loss

      554.       In addition to their emotional suffering, certain Plaintiffs also sustained economic

         or pecuniary damages. This includes lost wages, funeral expenses, lost benefits, loss of

         household services, and loss of enjoyment of life.

                 (1) Miller Plaintiffs

      555.       The Miller Plaintiffs’ economic expert, Dr. Stan V. Smith, offered evidence by

         affidavit that calculated the economic loss for each deceased victim—Maria Rhonita

         LeBaron, Christina Langford, H.M., Jr., K.B.M., T.G.M. and T.A.M.942

      556.       In calculating pecuniary damages resulting from the deaths of Rhonita and

         Christina, Dr. Smith considered several factors: loss of household/family services; loss of

         value of life; and loss of society or relationship. 943 Dr. Smith considered estimated life

         expectancy if they had not been killed by the Defendant on November 4, 2019, among

         other factors, to calculate the damages that resulted from their murders.944

      557.       For the loss of household/family services, Dr. Smith analyzed contributions to the

         household through housekeeping and household management services; advice and



942
    Expert Report of Dr. Stan Smith, Ex. 27.
943
    See Id. Ex. 27_000009-18 (Christina); 000188-000199 (Rhonita).
944
    See Id. Ex. 27_000008 (Christina); 000187 (Rhonita).


                                                      144
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 145 of 161




         guidance the adult decedents would have given their surviving families; accompaniment

         services they would have participated in with their surviving families.945

      558.      For Rhonita, Dr. Smith also analyzed the contribution she made to A.M’s therapy

         for cerebral palsy.946

      559.      For H.M. Jr., K.B.M., T.A.M., and T.G.M., the pecuniary damages include loss of

         household/family services, loss of value of life, and loss of society or relationship discussed

         above.947 In addition, loss of wages and employee benefits are part of the calculation for

         the deceased children. Dr. Smith’s methodology for calculating each child’s lost wages

         and benefits included looking at the parents’ education level and career.948 He set up two

         scenarios based on Rhonita’s and Howard Miller’s education levels and estimated the

         average earnings based on information from the U.S. Department of Labor.949 Dr. Smith

         then accounted for personal consumption to offset the income total.950 He applied the

         personal consumption offset to both wage scenarios and created a chart to reference

         depending on the age the child stopped working.951

      560.      Due to the uncertainty of how much schooling the children would have pursued,

         Dr. Smith provided two scenarios in his calculations.952

      561.      In the report provided for Rhonita LeBaron, Dr. Smith provides the monetary

         damages that would be award to the estates of the deceased victims as well as the damages

         for their surviving family members.



945
    Id. at Ex. 27_000009-15 (Christina); 000188-000194 (Rhonita).
946
    Id. at 000194-195.
947
    Id. at 000447-454 (H.M. Jr.); 000555-562 (K.B.M.); 000647-654 (T.A.M.); 000741-74A8 (T.G.M.).
948
    Id. at 000445-447 (H.M. Jr.); 000553-555 (K.B.M.); 000645-647 (T.A.M.); 000739-741 (T.G.M.).
949
    Id.
950
    Id.
951
    Id.
952
    Id.


                                                    145
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 146 of 161




      562.        In the analysis of pecuniary damages for each of the Miller Plaintiffs, Dr. Smith

         used well-accepted methodologies in economics to calculate the losses using multiple

         categories and scenarios to account for differences in age, educations, and lifestyle.

      563.        The analysis conducted by Dr. Smith in this case is similar to that which Dr. Smith

         performed in Havlish, and as the court in Havlish found, this Court finds Dr. Smith’s

         calculations to be “reasonable, and yield economic damages comparable to those in other

         cases.” 953 Dr. Smith calculated the Miller economic damages to the victims as follows.

      564.        The economic damages related to the death of Rhonita LeBaron:



         Rhonita LeBaron
         Plaintiff                                         Total    Economic Citation
                                                           Loss to Plaintiff
         Estate                                            $7,970,160.00954            Ex 27_000209-10
         Adrian LeBaron-Soto                               $726,149.00955              Ex 27_000209-10
         Bathsheba Tucker                                  $950,819.00                 Ex 27_000209-10
         Rholena Johnson                                   $1,240,675.00               Ex 27_000209-10
         Melissa Conklin                                   $1,308,506.00               Ex 27_000209-10
         Adriana Jones                                     $1,299,899.00               Ex 27_000209-10
         Laura LeBaron                                     $1,330,552.00               Ex 27_000209-10
         William LeBaron                                   $1,325,583.00               Ex 27_000209-10
         Ruthila LeBaron                                   $1,437,822.00               Ex 27_000209-10
         Dayer LeBaron                                     $1,424,945.00               Ex 27_000209-10
         Javier LeBaron                                    $1,462,555.00               Ex 27_000209-10
         Miguel LeBaron                                    $1,497,138.00               Ex 27_000209-10
         Matthew LeBaron                                   $1,545,638.00               Ex 27_000209-10


953
    Havlish, 2012 U.S. Dist. LEXIS 110673, at *98-*99, adopted in its entirety by Havlish v. bin Laden, 2012 U.S.
Dist. LEXIS 143525 (S.D.N.Y. Oct. 3, 2012).
954
    The value of pecuniary loss attributed to the estate claimants reflects the totals of Loss of Wages & Benefits, Net
of Personal Consumption, Loss of Household/Family Housekeeping and Home Management Services, and Loss of
Value of Life.
955
    The value of pecuniary loss attributed to family members of decedents includes Loss of Household/Family
Guidance Services, Loss of Household/Family Accompainment Services, and Loss of Society and Relationship.


                                                         146
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 147 of 161




      565.        The economic damages to the Estate related to the death of H.M. Jr.:

        H.M. Jr.
        Plaintiff                            Total Economic Loss to Citation
                                             Plaintiff
        Estate - Scenario 2956               $8,153,448.00                    Ex 27_000465


      566.        The economic damages to the Estate related to the death of K.B.M.:

        K.B.M.
        Plaintiff                          Total Economic Loss to Citation
                                           Plaintiff
        Estate – Scenario 2                $7,784,430.00          Ex 27_000573


      567.        The economic damages to the Estate related to the death of T.A.M.:

        T.A.M.
        Plaintiff                          Total Economic Loss to Citation
                                           Plaintiff
        Estate - Scenario 2                $8,861,742.00          Ex 27_000665


      568.        The economic damages to the Estate related to the death of T.G.M.:

        T.G.M.
        Plaintiff                          Total Economic Loss to Citation
                                           Plaintiff
        Estate - Scenario 2                $8,337,358.00                       Ex 27_000759


      569.        Plaintiff Howard Miller’s economic damages related to the death of his wife,

         Rhonita LeBaron, and his four deceased children—H.M. Jr., K.B.M., T.A.M., and T.G.M.:

             Howard Miller                          Total Figure               Citation
             Rhonita                                $2,744,453.00              Ex 27_000209-10
             H.M. Jr.                               $1,352,118.00              Ex 27_000465
             K.B.M.                                 $1,325,168.00              Ex 27_000573

956
   The Court hereby endorses “Scenario 2” for each of the children who were killed as it maximizes the damages for
these horrific events and accounts for some level of post-secondary education for each child.


                                                      147
  Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 148 of 161




       T.A.M.                          $1,194,348.00         Ex 27_000665
       T.G.M.                          $1,194,348.00         Ex 27_000759
       Total Loss to Howard Miller Sr. $7,810,435.00



570.        Plaintiff T.M.’s economic damages related to the death of his mother, Rhonita

   LeBaron, and four brothers and sisters—H.M. Jr., K.B.M., T.A.M., and T.G.M.:

         T.M.                           Total Figure         Citation
         Rhonita LeBaron                $3,194,656.00        Ex 27_000209-10
         H.M. Jr.                       $1,783,485.00        Ex 27_000465
         K.B.M.                         $1,798,632.00        Ex 27_000573
         T.A.M.                         $1,626,644.00        Ex 27_000665
         T.G.M.                         $1,626,644.00        Ex 27_000759
         Total Economic Loss to T.M.    $10,030,061.00


571.        Plaintiff A.M.’s economic damages related to the death of her mother, Rhonita

   LeBaron, and four brothers and sisters—H.M. Jr., K.B.M., T.A.M., and T.G.M.:

         A.M.                           Total Figure         Citation
         Rhonita LeBaron                $3,734,033.00        Ex 27_000209-10
         H.M. Jr.                       $1,858,107.00        Ex 27_000465
         K.B.M.                         $1,909,405.00        Ex 27_000573
         T.A.M.                         $1,794,686.00        Ex 27_000665
         T.G.M.                         $1,794,686.00        Ex 27_000759
         Total Economic Loss to A.M.    $11,090,917.00


572.        Plaintiff Z.M.’s economic damages related to the death of his mother, Rhonita

   LeBaron, and four brothers and sisters—H.M. Jr., K.B.M., T.A.M., and T.G.M.:

         Z.M.                          Total Figure          Citation
         Rhonita                       $3,538,881.00         Ex 27_000209-10
         H.M. Jr.                      $1,836,347.00         Ex 27_000465
         K.B.M.                        $1,887,645.00         Ex 27_000573
         T.A.M.                        $1,769,450.00         Ex 27_000665


                                         148
  Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 149 of 161




       T.G.M.                         $1,769,450.00          Ex 27_000759
       Total Economic Loss to
                                      $10,801,773.00
       Z.M.


573.      The economic damages related to the death of Christina Langford:

       Christina Langford
       Plaintiff                Total Economic Loss to       Citation
                                Plaintiff
       Estate                   $7,710,017.00                Ex 27_000028
       Tyler Johnson Sr.        $4,132,610.00                Ex 27_000028-29
       C.J.                     $3,020,645.00                Ex 27_000028-29
       J.J.                     $3,081,303.00                Ex 27_000028-29
       T.J. Jr.                 $3,229,694.00                Ex 27_000028-29
       H.J.                     $3,423,974.00                Ex 27_000028-29
       E.J.                     $3,551,362.00                Ex 27_000028-29
       F.M.J.                   $3,747,500.00                Ex 27_000028-29
       Amelia Sedgwick          $914,662.00                  Ex 27_000028-29
       E.L.                     $1,630,834.00                Ex 27_000028-29
       Elizabeth Langford       $1,524,309.00                Ex 27_000028-29
       Serina Langford          $1,544,444.00                Ex 27_000028-29
       Isaac Langford           $1,432,556.00                Ex 27_000028-29


574.      While Dr. Smith was not asked to opine on the economic impact of Dawna’s death

   on her surviving family members, it is possible to use the numbers established with

   Rhonita, K.B.M., H.M. Jr., T.A.M., T.G.M., and Christina’s estates to extrapolate the

   following general guidelines for the Ray family members who are Plaintiffs in the Miller

   case (Karen Woolley, Jaremy Ray, James Ray, Justin Ray, Jonathan Ray, Kerah Ray, and

   Amber Ray) and the economic awards to the various members of the family:




                                         149
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 150 of 161




                   Dawna Ray
                   Plaintiff                              Total Economic Loss to
                                                          Plaintiff
                   Karen Woolley                          $517,644.00957
                   Jaremy Ray                             $982,722.00958
                   Justin Ray                             $1,079,486.00959
                   James Ray                              $1,126,347.00960
                   Jonathan Ray                           $1,172,228.00961
                   Kerah Ray                              $1,172,228.00962
                   Amber Ray                              $1,304,210.00963


      575.      In addition to Dr. Smith’s evaluation of the losses to Plaintiffs, Plaintiff Dayer

         LeBaron also submitted evidence by affidavit and live testimony to the lost wages—

         totaling $308,648.00—he experienced after the November 4, 2019 attack.964 Based on the

         evidence submitted, the Court shall award economic-loss damages to Plaintiff Dayer

         LeBaron in the amount of $150,000.

         (2)    Langford Plaintiffs

      576.      Langford Plaintiffs’ economic expert, J. Matthew Sims, offered evidence by

         affidavit that calculated the economic loss for each deceased victim—Dawna Langford,

         T.L., and R.L.965 Mr. Sims also evaluated the vocational and rehabilitation losses for K.L.,


957
    Loss of Household/Family Guidance Services: $43,014.00; Loss of Household/Family Accompaniment Service:
$40,494.00; Loss of Relationship: $434,136.00.
958
    Loss of Household/Family Guidance Services: $77,282.00; Loss of Household/Family Accompaniment Service:
$72,739.00; Loss of Relationship: $832,701.00.
959
    Loss of Household/Family Guidance Services: $86,208.00; Loss of Household/Family Accompaniment Service:
$81,140.00; Loss of Relationship: $912,138.00.
960
    Loss of Household/Family Guidance Services: $90,637.00; Loss of Household/Family Accompaniment Service:
$85,309.00; Loss of Relationship: $950,401.00.
961
    Loss of Household/Family Guidance Services: $95,045.00; Loss of Household/Family Accompaniment Service:
$89,458.00; Loss of Relationship: $987,725.00.
962
    Loss of Household/Family Guidance Services: $95,045.00; Loss of Household/Family Accompaniment Service:
$89,458.00; Loss of Relationship: $987,725.00.
963
    Loss of Household/Family Guidance Services: $108,138.00; Loss of Household/Family Accompaniment Service:
$101,782.00; Loss of Relationship: $1,094,290.00.
964
    Declaration of Dayer LeBaron, Ex. 43_000003, ¶ 18.
965
    Expert Report of J. Matthew Sims, Ex. 28.


                                                    150
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 151 of 161




         D.L., M.L., C.L., J.L., X.L., and B.L. who witnessed the traumatic murders of Dawna, T.L.,

         and R.L.

      577.           For the loss of Dawna Langford’s household services, Mr. Sims considered the time

         Dawna Langford devoted to her family and her contributions to caring for the household,

         such as cooking, cleaning, gardening, making household purchases, and caring for other

         household members.966 Mr. Sims used Dawna Langford’s life expectancy if she had not

         been murdered on November 4, 2019, to reach a final value for those contributions.967 For

         the minor surviving plaintiffs, Mr. Sims calculated the cost of vocational rehabilitation to

         compensate for the lingering psychological symptoms that effect schooling and lifelong

         earning capacity.968 For the deceased minor plaintiffs, T.L. and R.L., Mr. Sims calculated

         the loss of earning capacity minus personal consumption.969

      578.           The tables below capture the vocational economic damages calculated by Mr. Sims

         for the Langford Plaintiffs.

      579.           As with Dawna’s mother and adult siblings supra, the expert did not opine on (1)

         loss of family guidance services, (2) loss of accompaniment, or (3) loss of family society

         and relationship as economic damages for the deaths of Dawna, T.L., and R.L. However,

         case law recognizes that the court should “strive to maintain consistency of awards among

         plaintiffs in comparable situations.” Goldstein v. Islamic Rep. of Iran, 383 F. Supp. 3d 15,

         19 (D.D.C. 2019). Equity compels that the Langford Plaintiffs receive economic damages

         for loss of guidance, accompaniment, and society for the deaths of Dawna, T.L., and R.L.

         as established by Dr. Smith. Id. Accordingly, the below tables demonstrate the loss of


966
    Id. at 14.
967
    Id.
968
    Id. at 28-29.
969
    Id. at 125-26.


                                                    151
          Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 152 of 161




           guidance, accompaniment, and relationship as extrapolated from Dr. Smith’s calculations

           and rounded down.

                         David               Guidance, Accompaniment,
                                             and Relationship
                         T.L.                $1,110,000.00
                         R.L.                $750,150.00
                         Total
                                             $1,860,150.00
                         Economic
                         Loss


                         Crystal,            Guidance, Accompaniment,
                         Brandy,             and Relationship
                         Joseph Cole,
                         and Bryce
                         Dawna               $1,200,000.00
                         T.L.                $1,320,000.00
                         R.L.                $1,180,000.00
                         Total
                                             $3,700,000.00
                         Economic
                         Loss


                         K.L.            Guidance,                Vocational      Combined
                                         Accompaniment, and                       Total
                                         Relationship
                         Dawna           $2,248,000.00            $32,354.00970
                         T.L.            $1,680,000.00
                         R.L.            $1,520,000.00
                         Totals          $5,448,000.00            $32,354.00      $5,480,354.00



                         D.L.            Guidance,                Vocational      Combined
                                         Accompaniment, and                       Total
                                         Relationship
                         Dawna           $2,990,00.00             $33,562.00971
                         T.L.            $1,680,000.00

970
      Expert Report of J. Matthew Sims, Ex. 28, at 29-33.
971
      Id. at 43-48.


                                                            152
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 153 of 161




                     R.L.     $1,520,000.00
                     Totals   $6,190,000.00        $32,562.00      $6,222,562.00



                     M.L.     Guidance,            Vocational      Combined
                              Accompaniment, and                   Total
                              Relationship
                     Dawna    $3,046,000.00        $35,667.00972
                     T.L.     $1,680,000.00
                     R.L.     $1,520,000.00
                     Totals   $6,246,000.00        $35,667.00      $6,281,667.00



                     C.L.     Guidance,            Vocational      Combined
                              Accompaniment, and                   Total
                              Relationship
                     Dawna    $3,170,611.00        $37,220.00973
                     T.L.     $1,680,000.00
                     R.L.     $1,520,000.00
                     Totals   $6,370,611.00        $37,220.00      $6,407,831.00



                     J.L.     Guidance,            Vocational      Combined
                              Accompaniment, and                   Total
                              Relationship
                     Dawna    $3,377,000.00        $38,026.00974
                     T.L.     $1,781,000.00
                     R.L.     $1,600,000.00
                     Totals   $6,577,000.00        $38,026.00      $6,796,026.00




972
    Id. at 58-63.
973
    Id. at 73-78.
974
    Id. at 118-23.


                                          153
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 154 of 161




                      X.L.            Guidance,                       Vocational                  Combined
                                      Accompaniment, and                                          Total
                                      Relationship
                      Dawna           $3,468,000.00                   $35,685.00975
                      T.L.            $1,781,000.00
                      R.L.            $1,600,000.00
                      Totals          $6,849,000.00                   $35,685.00                  $6,884,685.00



                      B.L.            Guidance,                       Vocational                  Combined
                                      Accompaniment, and                                          Total
                                      Relationship
                      Dawna           $3,746,500.00                   $37,752.00976
                      T.L.            $1,781,000.00
                      R.L.            $1,600,000.00
                      Totals          $7,127,500.00                   $37,752.00                  $7,165,252.00



                      Estates         Household Services              Total
                                      and Vocational
                      Dawna           $740,030.00977                  $740,030.00
                      T.L.            $497,188.00978                  $497,188.00
                      R.L.            $485,712.00979                  $485,712.00


                 e. Treble Damages

      580.       Finally, 18 U.S.C. § 2333(a) specifically provides that Plaintiffs “shall recover

         threefold the damages he or she sustains and the cost of the suit, including attorney’s fees.”

         The trebling applies not only to economic, but also to non-economic damages

         (solatium/pain and suffering). 980


975
    Id. at 88-93.
976
    Id. at 103-08.
977
    Id. at 14-16.
978
    Id. at 125-32.
979
    Id. at 141-48.
980
    See, e.g., Caballero v. FARC, 2020 U.S. Dist. LEXIS 89839, at *14 (S.D. Fla. May 20, 2020).


                                                      154
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 155 of 161




                 f. Pre-Judgment Interest

      581.       This Court has discretion to award Plaintiffs’ pre-judgment interest from November

         4, 2019, until the date of final judgment, “and how to compute—prejudgment interest rests

         within the sound ‘discretion of the court subject to equitable considerations.’”981

      582.       Courts dealing with other terrorism-related claims arising from the terrorist attacks

         on September 11, 2001 and the bombings of EgyptAir Flight 648 and UTA Flight 772 have

         awarded prejudgment interest to “compensate the victims for any delay due to litigation”

         and to prevent terrorists “from profiting from [their] terrorist attacks.”982 “[E]ven where

         statutory treble damages are available, any erosion of the trebling on account of a denial

         of interest undermines the deterrent force of the [ATA]…. The denial of prejudgment

         interest systematically undercompensates victims and undeters putative offenders. We

         should allow, indeed require, such awards.”983

      583.       Prejudgment interest is one of the general principals against which Congress

         created the ATA; as such, this Court chooses to follow its fellow North Dakota district

         court in LexMac Energy, L.P.,984 and looks to North Dakota law which allows for the

         recovery of pre-judgment interest, in the discretion of the Court, “in every case of

         oppression, fraud, or malice.”985




981
    Pugh, 530 F.Supp.2d at 263 (D.D.C. 2008) (internal citation omitted); see also Turn Key Gaming v. Oglala Sioux
Tribe, 313 F.3d 1087, 1093 (8th Cir. 2002), quoting Cargill, Inc. v. Taylor Towing Serv., Inc., 642 F.2d 239, 241-43
(8th Cir. 1981) (holding “the award of prejudgment interest, in the absence of statutory directives, rests in the
discretion of the district court…. Prejudgment interest is to be awarded whenever damages lawfully due are
withheld, unless there are exceptional circumstances to justify the refusal”).
982
    Baker v. Socialist People’s Libyan Arab Jamahiriya, 775 F.Supp.2d 48, 86 (D.D.C. 2011) (emphasis added); see
also Pugh, 530 F.Supp.2d at 264; Havlish v. bin Laden, 2012 U.S. Dist. LEXIS 143525, at *82-*83 (S.D.N.Y. Oct.
3, 2012).
983
    Pugh, 530 F.Supp.2d at 264 (internal citation and quotations omitted) (emphasis added).
984
    LexMac Energy, L.P. v. Macquarie Bank Ltd., Case No. 4:08-cv-048 (D.N.D.), 2014 U.S. Dist. LEXIS 188438,
at *127 (D.N.D. Feb. 19, 2014).
985
    N.D.C.C. § 32-03-05 (emphasis added).


                                                       155
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 156 of 161




      584.       The facts as stated supra will not be restated; however, the outrageous conduct of

         Defendant here exceeds the standard for awarding prejudgment interest.

      585.       Therefore, the Court awards Plaintiffs’ prejudgment interest, on Plaintiffs

         “economic and non-economic damages,”986 at a rate of 6.5 percent987 from November 4,

         2019, until the date of this judgment. Under North Dakota law, such prejudgment interest

         amounts are subject to simple, and not compound, interest.988

                 g. Post-Judgment Interest

      586.       Section 1961(a) of Title 28 of the United States Code provides that post-judgment

         “[i]nterest shall be allowed on any money judgment in a civil case recovered in a district

         court.”989 “Such interest shall be calculated from the date of the entry of the judgment, at a

         rate equal to the weekly average 1-year constant maturity Treasury yield, as published by

         the Board of Governors of the Federal Reserve System, for the calendar week preceding

         the date of the judgement.”990

      587.       Post-judgment interest “shall be compounded annually.”991

      588.       Accordingly, and as the court in Caballero v. Fuerzas Armadas Revolucionarias de

         Colombia,992 this Court finds that Plaintiffs are entitled to post-judgment interest,

         compounded annually, at a rate equal to the weekly average 1-year constant maturity

         Treasury yield for the calendar week preceding the date of this final judgment.993



986
    Gonzalez v. Tounjian, 665 N.W.2d 705, 717 (N.D. 2003) (internal citation omitted).
987
    N.D.C.C. § 28-20-34; “Interest Rate on Judgments,” State of North Dakota Courts, located at
https://www.ndcourts.gov/state-court-administration/interest-rate-on-judgments (last visited Mar. 17, 2022).
988
    N.D.C.C. § 28-20-34.
989
    28 U.S.C. § 1961(a) (emphasis added).
990
    Id.
991
    28 U.S.C. § 1961(b) (emphasis added).
992
    Caballero, 2020 U.S. Dist. LEXIS 89839, at *7.
993
    Market Yield on U.S. Treasury Securities at 1-year Constant Maturity may be found on the Board of Governors
of the Federal Reserve System’s website: https://www.federalreserve.gov/releases/h15/default.htm.


                                                      156
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 157 of 161




                 h. Attorney’s Fees and Costs

      589.       Under 18 U.S.C. § 2333(a), prevailing plaintiffs “shall recover threefold the

         damages he or she sustains and the cost of the suit, including attorney’s fees.”

      590.       Under a similar statutory scheme utilizing this same language for recovery of

         “threefold the damages … and the cost of the suit, including attorney’s fees”, the Eighth

         Circuit has stated that “an award of reasonable attorney’s fees and costs under [this

         verbiage] is mandatory….”994

      591.       The Miller and Langford Plaintiffs have stated their intention to move this Court

         for an award of attorney’s fees and costs and shall submit such motion along with an

         Affidavit of Attorney’s Fees and Costs pursuant to 18 U.S.C. § 2333(a) within twenty (20)

         days of the Court entering this Order unless such motion and affidavit has already been

         filed in advance of the entry of this judgment.

                                               CONCLUSION

         For the foregoing reasons, this Court enters these Findings of Fact and Conclusions of Law

and awards damages in the following amounts to each Plaintiff in the Miller action. Both economic

and non-economic damages shall be trebled under the 18 U.S.C. § 2333(a), and the judgment

issued in conjunction with these Findings of Fact and Conclusions of Law will set forth those

trebled amounts:




994
   United HealthCare Corp. v. American Trade Ins. Co., 88 F.3d 563, 575 (8th Cir. 1996) (interpreting identical
language contained in 18 U.S.C. § 1964(c) relating to claims under RICO).


                                                       157
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 158 of 161




 Plaintiff     Economic       Non-             Solatium         10-20%             Total Damages
               Damages        Economic         Damages          Departure          Prior to
                              Damages          (Relatives Only) Value(s)           Trebling Under
                              Value                             Solatium           18 U.S.C.
                              (Decedent/                        Award              2333(a)
                              Survivor)                         (Relatives Only)
                                           Miller Family
Estate of    $7,970,160.00    $45,390,000.00                                       $53,360,160.00
Maria
Rhonita
LeBaron
Estate of    $8,153,448.00    $45,390,000.00                                       $53,543,448.00
H.M. Jr.
Estate of    $7,784,430.00    $45,390,000.00                                       $53,174,430.00
K.B.M.
Estate of    $8,861,742.00    $45,390,000.00                                       $54,251,742.00
T.A.M.
Estate of    $8,337,358.00    $45,390,000.00                                       $53,727,358.00
T.G.M.
Howard       $7,810,435.00                     $56,900,000.00   $62,590,000.00 -   $70,400,435.00 -
Miller                                                          $68,280,000.00     $76,090,435.00
T.M.         $10,030,061.00                    $31,200,000.00   $34,320,000.00 -   $44,350,061.00 -
                                                                $37,440,000.00     $47,470,061.00
A.M.         $11,090,917.00                    $31,200,000.00   $34,320,000.00 -   $45,410,917.00 -
                                                                $37,440,000.00     $48,530,917.00
Z.M.         $10,801,773.00                    $31,200,000.00   $34,320,000.00 -   $45,121,773.00 -
                                                                $37,440,000.00     $48,241,773.00
Adrian       $726,149.00                       $16,800,000.00   $16,800,000.00     $17,526,149.00
LeBaron-
Soto
Bathsheba    $950,819.00                       $16,800,000.00   $16,800,000.00     $17,750,819.00
Shalom
Tucker
Rholena      $1,240,675.00                     $5,200,000.00    $5,720,000.00 -    $6,960,675.00 -
Lian                                                            $6,240,000.00      $7,480,675.00
Johnson




                                               158
           Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 159 of 161




Plaintiff       Economic        Non-            Solatium         10-20%            Total Damages
                Damages         Economic        Damages          Departure         Prior to
                                Damages         (Relatives Only) Value(s)          Trebling Under
                                Value                            Solatium          18 U.S.C.
                                (Decedent/                       Award             2333(a)
                                Survivor)                       (Relatives Only)
Melissa         $1,308,506.00                   $5,200,000.00   $5,720,000.00 -    $7,028,506.00 -
Conklin                                                         $6,240,000.00      $7,548,506.00
Adriana         $1,299,899.00                   $5,200,000.00   $5,720,000.00 -    $7,019,899.00 -
Jones                                                           $6,240,000.00      $7,539,899.00
Laura           $1,330,552.00                   $5,200,000.00   $5,720,000.00 -    $7,050,552.00 -
Corina                                                          $6,240,000.00      $7,570,552.00
LeBaron
William         $1,325,583.00                   $5,200,000.00   $5,720,000.00 -    $7,045,583.00 -
LeBaron                                                         $6,240,000.00      $7,565,583.00
Ruthila         $1,437,822.00                   $5,200,000.00   $5,720,000.00 -    $7,157,822.00 -
LeBaron                                                         $6,240,000.00      $7,677,822.00
Dayer           $1,424,945.00                   $5,200,000.00   $5,720,000.00 -    $7,144,495.00 -
LeBaron                                                         $6,240,000.00      $7,664,945.00
Javier          $1,462,555.00                   $5,200,000.00   $5,720,000.00 -    $7,182,555.00 -
LeBaron                                                         $6,240,000.00      $7,702,555.00
Miguel          $1,497,138.00                   $5,200,000.00   $5,720,000.00 -    $7,217,138.00 -
LeBaron                                                         $6,240,000.00      $7,737,138.00
Matthew         $1,545,638.00                   $5,200,000.00   $5,720,000.00 -    $7,265,638.00 -
LeBaron                                                         $6,240,000.00      $7,785,638.00
                                           Johnson Family
Estate of       $7,710,017.00   $11,550,000.00                                     $19,260,017.00
Christina
Langford
Tyler           $4,132,610.00                   $15,300,000.00 $16,830,000.00 -    $20,962,610.00 -
Johnson                                                        $18,360,000.00      $22,492,610.00
C.J.            $3,020,645.00                   $10,400,000.00 $11,440,000.00 -    $14,460,645.00 -
                                                               $12,480,000.00      $15,500,645.00
J.J.            $3,081,303.00                   $10,400,000.00 $11,440,000.00 -    $14,521,303.00 -
                                                               $12,480,000.00      $15,561,303.00
T.J. Jr.        $3,229,694.00                   $10,400,000.00 $11,440,000.00 -    $14,669,694.00 -
                                                               $12,480,000.00      $15,709,694.00
H.J.            $3,423,974.00                   $10,400,000.00 $11,440,000.00 -    $14,863,974.00 -
                                                               $12,480,000.00      $15,903,974.00
E.J.            $3,551,362.00                   $10,400,000.00 $11,440,000.00 -    $14,991,362.00 -
                                                               $12,480,000.00      $16,031,362.00
F.M.J.          $3,747,500.00   $7,680,000.00   $10,400,000.00 $11,440,000.00 -    $22,867,500.00 -
                                                               $12,480,000.00      $23,907,500.00
Amelia          $914,662.00                     $16,800,000.00 $16,800,000.00      $17,714,662.00
Sedgwick
Isaac           $1,432,556.00                   $5,200,000.00   $5,720,000.00 -    $7,152,556.00 -
Langford                                                        $6,240,000.00      $7,672,556.00
Elizabeth       $1,524,309.00                   $5,200,000.00   $5,720,000.00 -    $7,244,309.00 -
Langford                                                        $6,240,000.00      $7,764,309.00



                                                159
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 160 of 161




Plaintiff    Economic         Non-              Solatium         10-20%               Total Damages
             Damages          Economic          Damages          Departure            Prior to
                              Damages           (Relatives Only) Value(s)             Trebling Under
                              Value                              Solatium             18 U.S.C.
                              (Decedent/                         Award                2333(a)
                              Survivor)                            (Relatives Only)
Serina       $1,544,444.00                      $5,200,000.00      $5,720,000.00 -    $7,264,444.00 -
Langford                                                           $6,240,000.00      $7,784,444.00
E.L          $1,630,834.00                      $5,200,000.00      $5,720,000.00 -    $7,350,834.00 -
                                                                   $6,240,000.00      $7,870,834.00
                                             Ray Family
Karen        $517,644.00                       $16,800,000.00      $16,800,000.00     $17,317,644.00
Woolley
Jaremy Ray   $982,722.00                        $5,200,000.00      $5,720,000.00 -    $6,702,722.00 -
                                                                   $6,240,000.00      $7,222,722.000
Kerah Ray    $1,079,486.00                      $5,200,000.00      $5,720,000.00 -    $6,799,486.00 -
                                                                   $6,240,000.00      $7,319,486.00
Justin Ray   $1,126,347.00                      $5,200,000.00      $5,720,000.00 -    $6,846,347.00 -
                                                                   $6,240,000.00      $7,366,347.00
James Ray    $1,172,228.00                      $5,200,000.00      $5,720,000.00 -    $6,892,228.00 -
                                                                   $6,240,000.00      $7,412,228.00
Jonathan     $1,172,228.00                      $5,200,000.00      $5,720,000.00 -    $6,892,228.00 -
Ray                                                                $6,240,000.00      $7,412,228.00
Amber Ray    $1,304,210.00                      $5,200,000.00      $5,720,000.00 -    $7,024,210.00 -
                                                                   $6,240,000.00      $7,544,210.00

        The Court further awards damages in the following amounts to each Plaintiff in the

Langford action. Both economic and non-economic damages are subject to trebling of damages

under the 18 U.S.C. § 2333(a), and the judgment issued in conjunction with these Findings of

Fact and Conclusions of Law will set forth those trebled amounts:

     Plaintiff      Economic           Non-               Total             10-20%              Total
                    Damages          Economic            Solatium          Departure          Damages
                                     Damages             Damages            Value(s)          Prior to
                                                                           Solatium           Trebling
                                                                            Award             Under 18
                                                                         (Relatives Only)      U.S.C.
                                                                                               2333(a)
                                           Langford Family
 K.L.              $5,480,354.00   $10,970,000.00     $36,400,000.00     $38,480,000.00 -   $54,930,354.00 -
                                                                         $40,560,000.00     $57,010,354.00
 M.L.              $6,281,667.00   $10,970,000.00     $36,400,000.00     $38,480,000.00 -   $55,731,667.00 -
                                                                         $40,560,000.00     $57,811,667.00
 X.L.              $6,884,685.00   $10,970,000.00     $36,400,000.00     $38,480,000.00 -   $56,334,685.00 -
                                                                         $40,560,000.00     $58,414,685.00




                                                160
        Case 1:20-cv-00132-CRH Document 58 Filed 04/07/22 Page 161 of 161




 Plaintiff         Economic        Non-                  Total Solatium 10-20%                   Total
                   Damages         Economic              Damages        Departure                Damages
                                   Damages                              Value(s)                 Prior to
                                                                        Solatium                 Trebling
                                                                        Award                    Under 18
                                                                          (Relatives Only)       U.S.C.
                                                                                                 2333(a)
 B.L.              $7,165,252.00   $10,970,000.00        $36,400,000.00   $38,480,000.00     -   $56,615,252.00 -
                                                                          $40,560,000.00         $58,695,252.00
 C.L.              $6,407,831.00   $13,160,000.00        $36,400,000.00   $38,480,000.00     -   $58,047,831.00 -
                                                                          $40,560,000.00         $60,127,831.00
 D.L.                              $7,680,000.00         $36,400,000.00   $38,480,000.00     -   $52,382,562.00 -
                   $6,222,562.00
                                                                          $40,560,000.00         $55,036,026.00
 J.L.                              $7,680,000.00         $36,400,000.00   $38,480,000.00     -   $52,956,026.00 –
                   $6,796,026.00
                                                                          $40,560,000.00         $55,036,026.00
 Crystal           $3,700,000.00   N/A                   $39,000,000.00   $41,080,000.00     -   $44,780,000.00 -
 Langford                                                                 $43,160,000.00         $46,860,000.00
 Brandy Spenst     $3,700,000.00   N/A                   $39,000,000.00   $41,080,000.00 -       $44,780,000.00 -
                                                                          $43,160,000.00         $46,860,000.00
 Joseph Cole    $3,700,000.00      N/A                   $39,000,000.00   $41,080,000.00 -       $44,780,000.00 -
 Langford                                                                 $43,160,000.00         $46,860,000.00
 Bryce Langford $3,700,000.00      N/A                   $39,000,000.00   $41,080,000.00 -       $44,780,000.00 -
                                                                          $43,160,000.00         $46,860,000.00
 Estate of         $740,030.00      $15,361,500.00       N/A              N/A                    $16,101,530.00
 Dawna Ray
 Estate of T.L.    $497,188.00      $11,550,000.00       N/A              N/A                    $12,047,188.00
 Estate of R.L.    $485,712.00      $11,550,000.00       N/A              N/A                    $12,035,712.00
 David             $1,860,150.00                         $57,200,000.00   $59,280,000.00 -       $61,140,150.00 -
 Langford                                                                 $61,360,000.00         $63,220,150.00



        The Court further awards prejudgment interest to all economic and non-economic damages

(including solatium damages) from November 4, 2019 through the date of this final judgment at a

rate of 6.5% applied annually, non-compounding.

        The Court further awards postjudgment interest to the final judgment amounts in the

percentage as permitted pursuant to 28 U.S.C. § 1961(a).




                                                   161
